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     Regulation 351-2, Table 1-1, Level of Punishment Guideline annotates the nature of offenses and
     the level at which those offenses should be adjudicated. The two offenses that I highlighted are
     both Type IV offenses (Company level). Given the nature and type of offenses, punishment was
     indeed excessive: 1) the verbal altercation, in its nature of offense, regarded behavior, such
     behavior that was of Type IV, Disrespect/disobedient. I received a battalion board for this and
     was given max punishment, 30 hours and 30 demerits. 2) the battalion maintenance tracker issue,
     in its nature of offense, regarded Duty, such behavior that was of Type IV, Failure to do duty
     (minor). I received a company level board and was given max punishment for an offense that
     was classified as minor, 20 hours and 20 demerits. Please refer to figure 3.




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     Figure 3 - Table 1-1

     b) My sentiments regarding my punishments were not sentiments that reflected a mere lack of
     ownership, or direct personal attacks against those holding me accountable; furthermore, arguing
     the excessiveness of a punishment and arguing the nullification of a punishment completely are
     two different things. When arguing the excessiveness of a punishment, I in essence acknowledge
     that punishment was necessary, therefore taking ownership, but also acknowledge that the

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punishment was not necessary to the extent that it was given. In fact, I felt so strongly about the
excessiveness of my punishments that I consulted with the IG on multiple occasions regarding
my company tactical team, contradicting my tactical officer's claim in Figure 10 that "[I] often
wait until consequences escalate to a point that is personally intolerable to [me] before deciding
to challenge or appeal". I would also like to point out that such a statement reflects angst over the
fact that I have ever challenged or appealed a punishment (retaliatory). CPT Eaton-Ferenzi
mentions my appealing of punishments, yet, the only punishment I ever chose to appeal was my
regimental board in regards to the TAPs allegation. Over Spring Break (week of 08 March 2013)
my parents drove me to the IG's office to discuss these continuous patterns of harassment
towards me by my company tactical team. Please refer to the following email and figure 4 (note
the dates of my protected communication and compare that to the date of the disposition written
by my company and regimental tactical officers on 01 April, 2013):



-----Original Message-----

From: Doolen, Isiah        M   CADET MIL USA USMA

Sent: Wednesday, March 20, 2013 11:42 PM

To: Eaton, Elizabeth S CPT MIL USA USMA

Cc: Carlson, Ashli N CADET MIL USA USMA; Steffy, Barton R CADET MIL USA

USMA; Crofford, Clifford D CADET MIL USA USMA; 'concepcion.doolen@ssa.gov'

Subject: IG



Ma'am,



I wanted to let you know that I'm going to bring all of the conduct

matters that you have brought up against me to IG. I feel like the

punishment you gave me in regards to the supply maintenance tracker was a

double dipping of demerits in which you categorized all of the issues that

I had prior to that in to one lump charge, but then proceeded to punish me

for those issues on separate occasions so that the demerits would be

multiplicative. You then had CDT Schubert write me a COR for missing class

because I went to talk to the RXO about Spring Break. I think the issue

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with that is that you are wanting to make it seem as though it been a CDT

generated issue and that you were merely acting on a chain of command

action and not an issue that you brought up on your own (what I believe to

be a retaliatory measure for me talking to the RXO about my perceptions of

you). Much like my conduct, there is a clear pattern with what is going on

here, and that is that every time I have stubbed my toe, you have been

there watching to make sure that I am getting punished. To me, this is

becoming an issue of harassment; it's like walking on egg shells.



Very Respectfully,



Cadet Isiah Doolen

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INFORMATION-·PERTAIN1NG TO THIS REQUEST (BaCkl}ro.und.: Use Bddlilonal :rh&ets lfnece88&0';· JJ.8.tenc1Ds.uTe3 trappJicabJe.J
SFC. Ro'\vley"s S'\.vorn Statement:

See Enclosure A.

 SFC. Rowley's statement is not true in that he never opened my door at 2330 to check and see if! was in my room or noL He has
admitted ,-erbally, with witnesses to account for his statements, that the door was locked and that I did not answer the door, which
 does not account for ,vhe.ther .or not I ""·as in m.y room. USCC. SOP requires cadets to lock their door after 2315. Furthermore, in
re.gards to questioning, Chapter 3- Investigations and Disciplinary Hearing Procedures, •cadets should not be questioned about
potential violations of this regulation for, Vlitich there does not already exist re.asonable cause to indicate that a delinquency was
 committed. For example, it would not be proper to ask a cadet whether he or she had been drinking alcohol merely because be or
 she was reported absent from taps inspection•. According to the procedures and guidelines :for USMA, m.y rights have been
violated in reg~ds to rm, being questioned about \\"here I was for TAPS given that there was no prior evidence to suggest that I was
 not in m.y room. The fact that my door ,vas. locked :for T_4Ps is a compliance W'ith USCC SOP_ No evidence indicates that I was. not
 in my room, but there is ample evidence that suggests tbat I was in my roonL As a cadet, I still have rights under UCMJ, and those
 rights indicate that I have the ability to not answer interrogatory questions {Article 31 ). Furthermore, I feel my UCMJ right.. to
·keep quiet have been used against me to determine a matter of guilt in regards to the T APs allegation. LTC Cross, l st regiment
RTO, made the following stateme!lt, to the effects of: 'This is a fuclcing yes or no question, "'ere you in your room for TAPs•.
After not saying anything for a while,. he said to the effects of•J do not want you to htl\>""e to lie, you can choose not to answer this~
but if you do choose not to answer then I will assume the answer to be no and you will be :found guilty". I still chose not to answer.
 Witnesses in th-e room \vill attest to LTC. Cross' assertions. Additionally~ SFC. Rowley1s statement has been used as
 "O'\.renvhelming" evidence to punish me for not being in :my room {his statement is mis.leading and does not verify anything in
regards to me being in m.y room or not).

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Figure 4- Complaint to IG following regimental board for TAPs Allegation

Given the nature of my offenses leading to my conduct investigation, the submission of protected
communication, and a pattern of unethical behavior on behalf of my company tactical team and

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regimental tactical officer, I argue that the recommendation of my separation with recoupment
from the Academy be reevaluated. For the sake of specificity, I will ask that reference be given
to my initial submission to Senator Claire McCaskill's office, addressed as "CDT Doolen-
Matters for Congressional Inquiry". My company tactical team's actions, regarding the TAPs
allegation and the reprisal showed towards me following protected communication, clearly
reflect multiple violations of law and regulation. The merits of my claim can, at the very least,
and ironically so, be validated at the bottom of Figure 4 where it discusses the potential punitive
and administrative actions that be taken in regards to false statements. SFC. Rowley's violations
ofUCMJ articles 80, 107, and 131 should be investigated with the weight that those violations
deserve. Consider the implications of his lie and the amount of money that I am being required to
pay in recoupment ($203,000).

c) In the court case, Philips v. 0 Marsh, Mary Ann Philips brought suit against the defendant
(United States Military Academy) involving a statement elicited in violation of her right against
self-incrimination. She further argued that the statement elicited was improperly relied upon in
the proceedings which culminated in her separation from the Academy.2 As I have stated on
multiple occasions, my rights afforded to me were violated regarding self-incrimination as it
relates to the T APs allegation. While Mary Ann Philips was unable to argue the basis for her
separation from the Academy, my challenges for separation are numerous. I argued the
excessiveness of at least two of my charges at my conduct hearing, requested investigation of
those charges by the IG, challenged the fact that reprisal was indeed an issue regarding the
recommendation for separation with recoupment from the Academy, and I argue that a
punishment for the T APs allegation was imposed against me because of my desire to remain
silent. The issue regarding the TAPs allegation was not overturned until after the
recommendation for separation with recoupment was sent through the chain of command and up
to the brigade tactical officer.

I argue that the damage from the TAPs allegation was irreparable and was used against me in my
company and regimental tactical officers' final disposition regarding my separation from the
Academy with recoupment. CPT Eaton's and LTC. Cross's disposition was submitted (1 April,
2013) 4 days after my regimental board (28 March, 2013) for the TAPs allegation. This was
something that I was unable to properly emphasize at my conduct hearing given that the conduct
hearing was held the day prior to my regimental board for the TAPs allegation. I did, however,
notify my tactical officer, prior to my regimental board, that my tactical NCO's statement was
false. She then explained to me that if his statement was indeed false that the cameras in the
hallway would point out such a falsity. Coincidentally, the cameras for the night were either not
on, were not working, or my company tactical officer merely decided to not comb the hours of
time lapsed video footage. Despite the lack of camera usage, CPT Eaton-Ferenzi merely had to
ask him whether or not his statement was false. In the case of Philips v. 0 Marsh, the following
ruling was decreed: "Whether we call it a waiver or a failure to exhaust remedies matters not, for

2
    http://openjurist.org/687/f2d/620/phillips-v-o-marsh


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it amounts to the same thing. Had she [Philips] objected to the use of her statement, the Academy
might either have cured the alleged violation by independent evidence (which was ample) or
altered the charge to one of several others ( also ample). Instead, it took her at her word that there
was no factual, legal or constitutional issue involved". 3 This case shows where the Academy
would have taken action on behalf of Philips had she acknowledged the factual, legal, and
constitutional issues regarding her separation prior to being completely separated.

Documentation from my summarized conduct hearing denotes where I have consistently argued
the validity of my demerits and the actions of my company tactical team. Since the standard of
proof for administrative investigations consists of preponderance of evidence, I argue that there
is overwhelming evidence showing where the TAPs allegation was improperly initiated and used
against me in regards to my conduct investigation. 4Essentially, I not only called my tactical NCO
a liar by stating that it was a factual impossibility that he saw that I was not in my room, but I
also filed protected communication against him and CPT Eaton-Ferenzi. Given the volume of the
aforementioned, it seems unlikely that they would continue to be able to remain impartial.

d) Regarding the aforementioned matters of complaint, and given my situation of separation
from the Academy, demands for due process should have been greater than in normal
circumstances regarding disciplinary issues. I cite the following to support my claim:

"The demands of due process, however, are greater when the accumulation of demerits subjects
the cadet to the severe sanction of expulsion rather than a form of milder discipline, see Farrell v.
Joel, supra, 437 F.2d at 162. Cf. Opp Cotton Mills, Inc. v. Administrator, 312 U.S. 126, 152-153,
657, 61 S. Ct. 524,536, 85 L.Ed. 624 (1941) ("The demands of due process do not require a
hearing, at the initial stage or at any particular point or at more than one point in an
administrative proceeding so long as the requisite hearing is held before the final order becomes
effective.") Although the Court in Wasson declined to apply automatically the hearing
requirements set forth in Dixon v. Alabama State Bd. of Educ., 294 F.2d 150 (5th Cir.), cert.
denied, 368 U.S. 930, 82 S.Ct. 368, 7 L.Ed.2d 193 (1961) (expulsion of a civilian student for
misconduct from a tax-supported college) to the expulsion of a cadet from a military service
academy, it did make plain that a fair hearing would be required at some point before a cadet
could be separated". 5Essentially, the Academy needs to determine and clarify ubiquitous
language. What constitutes fair? Is fairness objective or subjective?

The informality of the conduct investigation hearing militates against the right to representation
at a formal, adversarial hearing to argue the grounds of separation, which is akin to the argument
made in the case, Hagopian v. Knowlton. I contend that due process would have afforded me the


    Ibid.
4
    "A Comprehensive Guide for Investigating Officers," 1) Obiective Test: The test is not whether you suspect the
individual but whether a reasonable IO, knowing the same things that you know, should have suspected the
individual of committing the crime.
5
    http://openjurist.org/470/f2d/20l/hagopian-v-know1ton

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opportunity to argue expulsion from the Academy with the presence of legal counsel; it would
have further enabled me to properly elaborate an<;l point out issues regarding violations of
procedure and protocol, army regulation, guidelines regarding commanders and investigating
officers, and lastly, violations of ethics, while avoiding the reprimand against my character for
doing so. The aforementioned should be considered both objectively and subjectively fair; it
passes the litmus test of whether or not this is the kind of treatment I would expect if I were in a
similar situation. Consider the implication it has for a Cadet who is already being accused of not
taking responsibility for his/her actions, and then expecting them to argue his/her own case to a
superior who has the power to determine the fate of his/her cadet career. For the previously
mentioned rationale, this is why a formal, adversarial board is essential.

2) At the conclusion of my conduct investigation, a conduct hearing took place to determine the
validity of charges in regards to my proficiency in conduct. The hearing that took place was in no
way a determinant for separation from the academy, and as such, was not a means for me to
argue my retention at the Academy. LTG. David Huntoon, former superintendent ofUSMA, was
not bound to the recommendations of my investigating officer, he chose freely and willingly to
separate me with recoupment; therefore, the basis for my claim that the conduct hearing was not
a determinant for separation is validated on these grounds. The investigating officer
recommended me to be a December graduate. More so, this hearing was merely an informal
procedure in accordance with AR 15-6, Chapter 4. "An informal investigation differs from a
formal investigation in that the investigating officer (IO) follows the informal procedures set
forth in Chapter 4 of AR 15-6 rather than the formal procedures specified in Chapter 5. In
addition, there are no respondents designated in an informal investigation, so no one is entitled to
the rights of a respondent, such as notice of the proceedings, an opportunity to participate,
representation by counsel, or the right to call and cross-examine witnesses. Because of these ·
differences, an informal investigation can be conducted more quickly than a formal investigation,
and it uses fewer resources". 6 A formal board proceeding is typically adversarial in nature with
the presence of counsel--such as an administrative separation board, or Academic Board, where
3 or more officers preside over the proceeding, lawyers for each side present evidence and
summations, and they make findings in a very controlled and marshaled environment.
Respondents in board proceedings are always afforded the opportunity to secure the presence of
a military attorney (from TDS or Legal Assistance) or civilian counsel. For the previously
mentioned reasons, I argue that this hearing was not sufficiently adequate in ensuring that I was
granted due process.

       a) Proper protocol was not followed regarding the use of witnesses at my conduct
hearing. Chapter 1, USCC Regulation 351-1, 111 (b.), "Witnesses testifying will be those who
have knowledge of the conduct of the individual under investigation. For witnesses that have
departed, written statement may be obtained and considered. Witnesses for character reference or



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to discuss the respondent's performance will not be called to testify at the hearing". Yet, LTC.
Hagen was called in as a witness to testify, not in regards to my conduct, but in regards to my
performance. Chapter 3, USCC Regulation 351-1, Figure 3-3, provides a certificate regarding
telephonic testimony. In my investigating officer's report, regarding my deficiency in conduct,
he used telephonic testimony from LTC (R) Jeffry Cunningham. Please refer to the Certificate:
Telephonic Testimony:




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                                                    Figure 3-3
                                      CERTIFICATE: TELEPHONIC TESTIMONY


                                                                        CERTIFICATE

                           On (date), I spoke telephonically with (title name), .located at
                           (complete address including zip code) , telephone number (inc!ude area
                           ~ ) . concerning matters pertaining to the Conduct Investigation which
                           is convening to hear the case of Cadet
                           (cadet's name here) . (Person called) provided sworn testimony
                           requested by (the deficient cadet's name). (The Conduct Investigation
                           Investigating OfficerPresident). Cadet (name here) (was present)
                           (waived right to be present) during the telephonic conversation, and
                           Cadet agreed to accept the telephonic communication as evidence.

                           I certify that the following is an accurate summary of the testimony
                           provided by (person cal)ed)

                           (SUMMARY)
                                                                        (Signature Block)
                                                                        Investigating Officer

                                I have reviewed this summary and do/do not desire to
                           question/crossexamine (the indjvidua1 called) further. (I was
                           present/waived right to be present during the telephone conversation and
                           asked all pertinent questions at that
                           time.)


                                                                     (Signature Block)
                                                                  (The deficient cadet)




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Figure 6 - NMMI Transcript cont. - In my final semester I earned a 3.53, yet I was recalled as only an average student




LTC (R) Cunningham further mentioned that part of the reason that I did not commission from
NMMI was because I was facing possible trouble regarding "Alumni Chatter," which was not
the case. My leave of absence from the ROTC program was initiated on 15 May, 2008; however,
that is not the reflective date of when I had learned that I would be attending USMAPS. What
LTC (R) Cunningham forgot to mention is that despite knowing months beforehand that I would
be attending USMAPS, I had decided to stay in the program and continue performing my duties
as the Master of Fitness trainer, and also as the Land Navigation CIC for the Spring field training
exercise, this was after being afforded the option to immediately begin my leave of absence. Two
of my classmates at the time, CDTs Temosky and Adamson, had been granted appointments to
the Merchant Marine Academy; they then initiated their leave of absence from the ROTC
program immediately. As already mentioned, I had that option as well, which would have
acquitted me of all of my duties as they related to the ROTC program. Records for US MAPS
will also indicate the date of my notification that I was appointed to USMAPS and verify what I
had mentioned previously. All of this is information that would have come out had I of been
afforded the right to cross examine LTC (R) Cunningham. This is information that would have
provided greater depth into my character, that despite being able to leave the program, I stayed
and continued to perform my duties in an above average manner (as reflected by my Military
Science and Military PT grades).


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b) Chapter 1, USCC Regulation 351-1, 112, the types of documentary evidence consists of
material pertaining to the conduct of the individual under investigation. In regards to figure 4, the
hypothesis of CPT Eaton-Ferenzi is neither pertinent nor proper to use as written testimony. This
is further supported in "A Comprehensive Guide for Investigating Officers," a guide released by
the Inspector General's Office at West Point. Presented here is a citation directly from said
guide: "a. Investigation - A duly authorized, systematic, detailed examination to uncover facts
and determine the truth of the matter. They are not criminal proceedings in which proof beyond a
reasonable doubt is required. Rather, the standard of proof that applies is proof by a
preponderance of the evidence. Investigations require formal collection of evidence, taking of
(sworn) testimony from complainants, witnesses and subjects, and documentation of the fmdings
in a report of investigation". It is almost an absurdity that my cadet career, my life, and the
issuance of a $203,000 debt are open to mere speculation that is hardly supported by any
evidence.

c) Chapter 5, USCC Regulation 351-1, g. Findings, states "The findings of the IO must be
supported by a greater weight of the evidence than that which supports a contrary conclusion,
that is, evidence which, after considering all evidence presented, points to a particular conclusion
as being more credible and probable than any other conclusion, The weight of the evidence is not
determined by the number of witnesses or volume of exhibits, but by considering all the evidence
and evaluating such factors as the consistency or inconsistency of various items of evidence, the
witness' demeanor, opportunity for knowledge, information possessed, ability to recall and relate
events, and other indications of veracity". Reflected in Figure 7 below is an excerpt from the
IO's report as it relates to CPT Eaton-Ferenzi's hypothesis, something based merely on
conjecture, and extremely damaging to my character.




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           hearing, 20 March.2013, CDT Doolen pr~vided a character witness statement from CDT -
           that fully suPP.Ort«l CDT Doolen and indicated that they -had been. dating.since November 2012.
           So, I believe CDT Doolen either led his.mother to believe that the break up·was harder on him
           than it really was,or that·slie 'in~ve some of her own perso~al feelings about the break up
           into how CDT Doolen was:baadling. it. Nor: do I feel this is an incident CDT Doolen in
           repressing. Therefore, it is msy detcanioation that the break up.is not a factor contributing to his
           sub-standard actions.          ·    ·
            Lastly, CPT Eaton-F~enzi articu1a:ted an interesting hypothesis with     me,      one that bo1h she and
            SFC Rowley forme<l based.on their previous and .curtent. experien_ce and e:itp.ei.1ise, one very
            similar to on.e that I fo.rmulated, .on m y own prior to their sharing. They have determined that
            CDT Doolen bas ,performed marginalfy·much longer than his record shows. They s ay that the
            recent -increase in, CD,T Doo1en'. ~·infractions is p~y due to the fa¢. that, since J a,nuary 2013,
            Company B I has a full TAC t,eam present in their resp~tive roles, together in authority .over
            rum: ·dPT Eaton-Ferenzi. mentioned' that in tbe·Fall of 201'2, s.he had been away on pregnancy
            and:JW!t~pregQancy leave, leaving all of the TAC du.ties to her then TACNCQ, SFC Boudreau.
            Additionally, she·mentioned that-in an earlier TAC experience, CDTDo.olen's TAC Officer had
           been    ~ay from USMA for part:'ofthe time due to ILE commitments, again leaving the.bulk of
            the company duties during that time to one person, the TAC NCO. She and SFC Rowley
            posnilate that if CDT Doolen had bad full TAC coverage during these earlier times, more of his
            poqr conduct and irresponsibility would have been eaTlier .identified and documented instead of
            just If few short months before.b is scheduled .co1mirissioning, CPT ~ton-ferenzi and SFC
            ~qwle;Y, i;u:rther assess that withi~i, ¢e timefr!IIIle and scope-of this investigation CDT Doolen' s
            infractions were not committed because·of·some recent, momentous change in his perspective or
            a.ttitude, say'as,the result of a major family or personal emergency or significant s1tuation. They
           .theoriz~, rathei:, that.ms .a ttitudes and·perspectives·have been more publicly revealed as a result
            of his being more frequently caµgbt and punished for 1:iis·sub-staodard actions. I agree with their
            theory.
           My assessment as a former SSG(P) and commissioned o'f:ficerwith nearly 20years·of combined
           experience is that CDT Doolen is ,n ot yet representative of the ldnd of leader read.y·to don the
           rank of Second Lieutenant in the United States Am:ny. I h ave a daughter in college and a son in
           high scho()L My son longs to ·g et tbrbugh high school arid .to enter military ser:vice. I cringe at the
           thollght of him .in the: P.latoon "-f an°unchanged 2LT Doolen. As a;father, I would .not want this
           'feality and would figllt;tc;> ensure that it did not happ~. I fear that should CDT OoolCl)
           commission before successfully completing the recommendations listed al;>ove, -his platoon's
           safety, :readiness,. training, and lives would be at risk. Ad&tionally, the toxic attitude he matter-
           of~facdy e,_pressed. against L TC (R) Cunningham from NMMT has no pl-ace in the Army and
           ~      ·be·reinediated before commissioning. I like CDT Doolen, and our conversations and
           meetings have beeri posi~v.e, but l cannot, nor will not, rate rum as pro1icient when basic leader
           principles are routinely violated and flagrantly resisted.
           From examination o.( 'the ey.idepce, verbal.and written testimony, -and-discussions with CDT
           Doolen and witnesses, I recommend that CDT Doolen be retaine<J atUSMApast his graduation
           date unfil December 2013 in ,ord.e r for him to undergo necessary anger ano emotional
          ·management trainix\g, and to .put into -practice these to~be-leamed behavioral techniques and
           procedures in a more demanding military role, much like one with which he will 'imm.ediately be

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Figure 7- C.PT Eaton's hypothesis used in my IO's conduct report

1broughout most of my cadet career I have had a full tactical team. A few months of collective
absence of my tactical officers are aberrational and do not support the hypothesis of CPT Eaton




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Ferenzi. Her hypothesis is non-sequitur, as I will point out. Please refer to Figure 8


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Figure 8 - Military Summary Report • Denoting that my military performance has been beyond marginal

My military performance has remained consistently above average; in fact, the report above will
reflect that there was a decline in my military GP A even when I did not have a full tactical team;
if her hypothesis were true, then it can be reasonably deduced that the inverse would occur. CPT
Eaton Ferenzi was away on pregnancy leave, yet she returned a couple of weeks before the end
of the semester, around the same time final grades were to be inputted into the system. Notice
that for the term period 13-1 my tactical team gave me a rating of a D. My only major offense for
the semester was on 15 September, 2012. The Tac letter grade of a Dis an extreme contradiction
to the letter grades recommended by my rater, intermediate rater, and senior rater. I will admit
that I am not aware of the amount of influence that she had or did not have in regards to my
grade that I received. At best, CPT Eaton Ferenzi's hypothesis accounts for, and I'am being
favorable towards her in regards to this estimation, 6 months total of not having a full tactical
team (12.5% of my time at the Academy). This kind of unsupported evidence should be moot in
its intent and purpose. She is arguing and questioning the evaluation of my prior tactical teams in

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regards to my ability to lead and become a commissioned officer. Furthermore, she is speculating
that at any given point throughout my cadet career, I would have exceeded my demerit limit, as
outlined in Chapter 1, USCC Regulation 351-2, Table 14 Demerit Allowance Table, had I of
had a full tactical team at all times. Her statement is trite given that the demerit limits for each
class changes, and given that my MILSUM report is relatively clean of any major offenses. The
investigating officer, and according to regulations, cannot merely make a statement such as "I
agree, with their theory;" his statement should have included "I find" (Please use the footnote for
specificity). 7




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    "A Comprehensive Guide for Investigating Officers" - b. Findings are clear and concise statements of fact hat
can be readily deduced from evidence in the record. Each finding must be based on the evidence and should
reference the exhibit (s) ( marked alphabetically in the order that they are discussed in the find that supports it.You
should fix dates, places, persons, and events, definitely and accurately. In developing findings, you may rely on the
facts and any reasonable inferences that may be drawn from those facts. Each finding must be supported by a greater
weight of the evidence than supports a contrary conclusion, that is, evidence which, after considering all evidence
presented, points to a particular conclusion as being more credible and probable than any other conclusions
(preponderance of evidence standard). Findings are no place for personal opinion. There should be no "I believe"
but rather there should be "I find."

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3) Generalities in regards to the overall write-up by my investigating officer sup~ort_m7 dibl
sentiments that I have had for a while, and those sentiments reflect on a system at is mere    Y
sacrosanct.




                                                                                                                           l
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                this particular supply issue. \\'hen CDT Doolen and his Company Supply NCO, CDT
                Bartkowski, attempted at the last minute to meet tlic suspense, the maintem,nce tracker document
                on editgrid was temporarily loi::ked because another user had opened it and was editing it. Thfa
                prevented. CDT Doolen from completing his task. CDT Heiliger te...tified during the CJ hearing
                thnt the maintenance section of editgrid has been fully operational since t.he time she took over
                her role nt tl1e start oCthe semester. She also testified that when this situation oc<.,'llrs and
                someone else is editing the maintenance track.er, the editgrid system. provides .that locked-out
                user with .a number of actions including identifying the name of the person currently on the




                                                                                                                               l
                system, t.he option to opell up an edit only version ot·the tracker, and the opportunity to wa;t or
               send a message to the person logged-on to the tracker. Lastly, CDT Heiliger stated tliat usually
               when this happen.s, folks walk down t11e hall to go a.~- each.othe,- to get o:ffthe system so
               someone else can use it. None of these options, it seems, were used by CDT Doolen to complete
               .his task. Instead, CDT Doo.len te,,tified to reponing the information prior to tlie suspense to his
               chttin of command, specifically SFC Rowley, but contirn1ed that bi.s actual task was to complete




                                                                                                                               I
               the tracker on. editgrid; tllis· he did not do. Had prior planning prevaile<l and had meeting the
               suspense been more of a priority for CDT Doolet.1 earlier in-the process.. given the details of the
               taski,'lg as I understand them and as witne$sed to me via multiple witnesses, he -would have been
               uble to 1neet the suspense.

               During testimony given by both CDT Doolen and CDT Heiliger during the CI !,earing, r learned
               that the task to update tho Battalion tracker was also not met hy tile Al Company Supply Offic.er
               CDT Micah Gunselman. I called A.1 and spoke with SFC Boudreau and learned that CDT
              Gunselman received a Cadet Observation Report and 5 demerits·for his :failure to meet t.he
              Batta! ion suspense in I l J anun.ry 2013 .. SFC Boudreau al...'<O .gave positive characte,: reference of'
              CDT Gunsehnan stating that h.e was a good and reliable cadet and that COT Gunselman had
              exhibited no other conduct ano1naJies, either behavioral or supply•related, prior to the incident or
              since. This is not· the case conceming CDT Doolen. l. have determined that even though tile
              pu11ishme.nt received by the Al Supply Officer for tile same i1tfra.ction was Jess than w.l::tat CDT
              Doolen received, i.t is my assessment that the Bl TAC team justifiably acted within .USCC
              regulation and without prejudice to enforce the tougher puuishinent against CDT Doolen.

              During our m.eetings together and during the CI bearing, CDT Dool t.'ll continued to accuse his
              TAC team of being excessive in their punishment for this infraction and that tbe.JllJl.uary boards
              were piled up01i'him to build a case against him. Having met personally with both CP"r' Eaton-
              Ferenzi and with SFC Rowley on 22 March 2013 to discuss the .issues of receiving supply data,
              the functionality of the editgrid system, the potemial excessive punishment for the 1 J January
              201:3 Company board, and the aUetged piliug on, it is my evaluation that th.e accusations and
              additional Information brought forth by CDT Doolen have no merit. These attempts serve only as
              examples of his tmwillingness to take responsibility for his 11ctions and of his tendency to place
              blame on <:>tiler for the situation-in which he finds himself.

              Testimony given by CDT Heiliger during the er ·hearin! showed that since the 1 l January 2013
              Company board, BI has been ranked between 2"" and 5 1 place (4 companies tied for 2"d place)
              out of·nine.co.mpanies for supPlY actions, and 2""·place t>ut-o:fnine companies for maintenance
              actions. She also stated that she felt compelled to assist CDT Doolen more than m1y other
              company staff ,nember to complete b.is supply and maintenance tasks, and that part of the

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   Figure 9 _ Depiction of maintenance tracker issue as viewed by the IO




   Figure 9 depicts the maintenance tracker issue as viewed by the IO and my tactical team; it
                                                         ·       f y punishments I have been
   shows that when I have attempted to argue the excessiveness o m                 ,
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accused of being unwilling to take responsibility for my actions. Once again I will emphasize the
following: arguing the excessiveness of a punishment and arguing the nullification of a
punishment are two completely different things. When arguing the excessiveness of a
punishment, I in essence acknowledge that punishment was necessary, therefore taking
ownership, but also acknowledge that the punishment was not necessary to the extent that it was
given. Anytime that I had been placed in a situation that involved my word versus the word of
my company tactical team, the prevalence went to the tac team. Often, as Figure 9 clearly
outlines, I was receiving punishments that were harsher than my peers, something my
investigating officer acknowledges. The use of excessive punishment was often validated based
on the fact that I was a marginal performer, or that I had committed prior infractions. However,
the offense for the maintenance tracker occurred on 11 January, 2013, only a week into the new
semester. On what grounds did I deserve such a harsh punishment; especially, considering that I
had submitted maintenance issues to my tactical NCO who was also the building commandant?

CPT. Eaton-Ferenzi denies double dipping me on demerits for the supply maintenance tracker,
yet figure 9 directly contradicts her claim (I received a harsher punishment). Please refer back to
pages 7 and 8 regarding the email I wrote to CPT Eaton-Ferenzi. Also, in a discussion I had with
CDT Ashli Carlson days after my conduct hearing, she mentioned that according to written
guidelines and company policy set forth for staff members, a failure to meet a suspense date, first
offense, was a counseling statement regarding the infraction, not the 20 hour and 20 demerit
punishment that I had received. Currently, I do not have a copy of this document; however, CPT.
Eaton-Ferenzi should have one.

a) My character, along with my conduct and performance, were all components that were
analyzed and ultimately used to recommend my separation from the Academy with recoupment.
I agree that I was given a hearing in regards to my accumulation of demerits in accordance with
AR 210-26, Chapter 6-17. Cadet Disciplinary System, section b. Conduct Investigations. This
section specifically states that "Conduct investigations will be convened by the Commandant
under the provisions of the Cadet Disciplinary system. Before separating a cadet for conduct
deficiency, he or she will be afforded a hearing to determine whether the cadet is deficient in
conduct. If after such a hearing a cadet has been found deficient in conduct, the Commandant
will review the report of the proceedings". Reading further into Chapter 6, and given the extent
to which my character and ability to manage my anger were questioned, I argue that I should
have been afforded another hearing, separate of the conduct hearing to defend my character and
my ability to manage my anger. Specifically, 6-23. Personality disorder or lack of qualification
for service became an issue regarding my potential to even serve as an enlisted soldier in the
Army following my separation from the Academy. According to AR 210-26, Chapter 6-23,
Section b. "Demonstrated lack of qualification for further service as a cadet or as an officer in the
U.S Army, based on factors such as, but not limited to, the following: 3) The cadet has
demonstrated character or behavior characteristics not compatible with satisfactory continued
service as a cadet or as an officer in the United States Army". Section c. "The fact that such

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behavior or characteristics, or manifestations thereof, may constitute or support specific grounds
for punishment or separation under other provisions of this regulations does not preclude
separation action under this paragraph. Section d. "Prior to forwarding a recommendation for
separation under this paragraph to the Department of the Army, the cadet concerned will be
afforded a hearing in the same manner as for cases of misconduct. This hearing will also
consider whether the basis for separation resulted from a willful act or omission on the part of
the cadet (7-9b)". Please see Figure 10.



                                                             DEPARTMENT OF TlfE ARI\IIY
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                                                                WEST POINT, NY 10996




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            MEMORANDUM THRU                        Cif1l                                                                                  ,..

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            FOR Commandant ofCru.ie1S~ 'Un,jt

            SUBJECT: Rec.o.mm.endation for Final Di.~p,osition on Cond1-K..~ lnvestigation Tor Cadet Isiah M. Ooobm,
            Company B~ First Regiment.-Clsss of 2013.


            l . l t-eCQJmnenc:t that C:Sdet Doolen be immediately st..copara-ied ftQm the Unite:d ~"'tales .Military Ae;:1;da.my nnd
            disc.bznged :froro the Army with :rcc-oupment. While t eoncUT "h"i.th muny of the findings of Cadet Doolcrts
            Co.nduet Invetitigadon,. I differ On the recommondations. This reco.rnmendat1ou is based on my· pei-sonal
            ob.s:~w\l'dtion.~ of"bis· ,comprehensive pe.riormance over the Jiall 2012 -Spring- 2013 academic yCW' a.,; the B1
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Figure 10 - CPT Eaton Memorandum




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CPT Eaton-Ferenzi's written memorandum appears to me to be more of a scathing ad hominem
attack rather than anything distinctly verified by facts. Figure IO confirms what I had mentioned
in section 3, subsection a. of this document. In my investigating officer's summarized report, and
contrary to CPT Eaton-Ferenzi, he stated the following: "CDT Doolen's mom's last comment to
me during our telephone conversation was a bit telling to me as it, I believe, revealed the true
man I have been ordered to investigate. She stated her belief that her son would always be the
one to defend the underdog regardless of the consequences, and that he would always jump in to
the defense of the weaker. The more I learn of CDT Doolen, the more I feel this statement fits
him to a tee ... making emotionally-driven decisions "regardless of the consequences" and
"jumping in" to his own peril". I believe that the outline of my offenses by my attorney, Mr. Eric
Mayer, address the situations that the previously mentioned apply. Lastly, I ask that you please
read the following:

                                                                 DEPARTMENT OF THE ARMY
                                                                UNITED ST.ATl!'.a MILITARY M:;ADDW
                                                                        Wl!STPOOlff,H't1-




             MACC-().. t -U                                                                                                      21 June 2013


             MEMORANDUM FOR Und",: Secretary of the Am1y. IOI Army f'entaeon, Washington, DC
             .20310-0101




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Figure 11 - Intro Memo to the Under Secretary of the Army


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 2. POC for this memorandum is the undersigned at 214-45 5-4907 or via email at
 idoolenl 3@icloud.com.

                                            d- 0                ;;::2------
                                            ISIAH DOOLEN
                                            CDT, 2013
                                             Company B,   1st   Regiment., USCC




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                                      OFFICE OF TiiE SUPERINTENDENT
                                UNITED STATES M1LITARYACADEMY
                                   WEST ?Oll~T. NEW YORK 10996-5000




MAJA-MJ


MEMORANDUM FOR Headquarters, Department of the Army, G-1 (ATTN: DAPE-MPO-AP),
Washington, DC 20301-0300

 SUBJECT: Separation of Cadet Isiah Doolen, Company B-1, Class of2013


 1. The record of proceedings of the Conduct Investigation (CI) and allied documents in the.case
 of Cadet Isiah Doolen, Company B--1, Class of 2013, are forwarded pursuant to AR 210~26.

 2. I have carefully reviewed the record of proceedings and allied documents in this case, and I
 have approved.the finding that Cadet Doolen is deficient in conduct for exceeding his six-month
 demerit-with-tour allowance.

 3. Based upon my review of the entire case file, I recommend that Cadet Doolen be separated
 from the United States Military Academy and discharged from the United States A.rmywith an
 Honorable Discharge certificate in accordance with AR 612-205. A call to active duty would not
 be appropriate in this cas~.                                                       ·      ·

  4. In accordance with AR 210-26, I request that you direct an AR 15-6 investigation to
  detennine if Cadet Doolen has breached his service agr~ent and Whether he should be required
  to reimburse his educational costs. Depending on the results of that investigation, I will
. recommend whether recoupment should be initiated.

 5. Cadet Doolen entered the Academy      from
                                             civilian status. He was. in the Army reserves from
 2008 to 2009. His service documents are at TAB 1. I have suspended ·cadet I)oolen from the
 Academy pending the final decision in his case. Pursuant to Title 10, Section 702, United States
·Code, and AR 612-205, Cadet Doolen's pay and allowances will be stopped upon his departure
 from West Point Cadet. Doolen' s status will then be: authorized leave of absence without pay
. andallowances pending separation.


                                                              .
                                                              ~
 Encls                                               ·D           H. HUNTOON, JR.
 as                                                   Lieutenant General, US Army
                                                      Superintendent




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                                          ACTION
                       Cadet Isiah Doolen; Company B-1, Class of.2013


The following actions are taken with respect to the findings of the Investigating Officer in the
Conduct Investigation of Cadet Isiah Doolen, Company B-1. Class of 2013:

   a. The fin.ding that Cadet Doolen is deficient in conduct for exceeding his six-month demerit-
with-tour allowance, is approved.

   b. The complete case file will be forwarded to Headquarters, Department of the Army, with a
recommendation that Cadet Doolen .be separated from the United States Military Academy and
discharged from the United States Anny with an Honorable Discharge certificate.

    c. A call to active duty would not be appropriate. Therefore, I will additionally recommend
that Headquarters, Department of the Army, direct that an AR 15-6 investigation be conducted to
determine if Cadet Doolen has breached his service agreement and whether he should be required
to reimburs~ his educational costs.

   d. Cadet Doolen is immediately suspended from the United States Military Academy until
final action on his case is taken by Headquarters, Department of the Anny.

  ·e. In accordance with Title 10, Section 702, United States Code, and AR 612-205, Cadet
Doolen's pay and allowances wUI be stopped upon his departure from West Point. Cadet
Doolen's status will then be: authorized leave of absence without pay and allowances pending
separation.




                                                                   TOON, JR.
                                                   Lieutenant General, US Army
                                                   Superintendent




                                                                                                   000738
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MACC


MEMORANDUM FOR Superintendent, United States Military Academy, West Point, NY 10996

SUBJECT: Recommendation for Disposition of Conduct Investigation for Cadet Isiah Doolen, Company
B, First Regiment, Class of2013


1. See attached Legal Review by SJA for background and legal opinion.

2. USCC Regulation 351-1. Procedures.for Conduct Investigations under the Cadet Disciplinary System,
requires you to make recommendations for final disposition to the Superintendent. Please indicate them
below.

 ~ I con~ur with the findings that the Respondent is deficient in conduct and recommend:
      _ _ that the Respondent be separated from the Military Academy and transferred to the U.S.
Army Reserve and ordered to active duty, with enrollment in the Academy Mentorship Program    ·

     _ _ that the Respondent be separated from the Military Academy and transferred to the U.S.
Army R~e and ordered. to active duty, but not be enrolled in the Academy Mentorship Program

 ·   (/_~_that the Respondent be separated from the Military Academy and discharged from the
Army

       _ _ that the Respondent be separated from the Military Academy, but have the separation
suspended until _ _ _ _ _ _ _ _ __

        _ _ that the Respondent be Turnback to a lower class _ _ __




     a
        _ _· that the Respondent be suspended from the Military Academy until _ _ _ _ _ _ __

              Enrollment in one of the following Mentorship Programs: _ _ SLDP _ _. ASAP

              With recoupment for educational expenses.

       --·_ Loss of Security Clearance
       _ _ Type of Discharge:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

    _ _ .I disapprove the finding of the Investigation Officer a.nd find the Respondent is proficie~t
in conduct.

3. POC is the undersigned at 938-3104.




DATE    2S//t;Z.                                          CHARD D. CLARKE
                                                        Brigadier General, USA
                                                        Commandant of Cadets




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                                     ·DEPARTMENT OF THE ARMY
                               UNITED STATES MILITARY ACADEMY
                                       West Point, New.York 10996


          REPLY TO
          A'ITENTION !)F

 MACC-RD                                                                             25 April 2013


 MEMORANDUM FOR Cadet Isiah Doolen, Company B, First Regiment, Class of 2013, USCC,
 West Point, New York 10996                                      ·

 SUBJECT: Commandant's and CoC Recommendations and Legal Review Regarding the
 Conduct Investigation on Cadet Isiah Doolen.

 I. The attached Commandant's and COC recommendations and legal review regarding your
 Conduct Investigation are provided to you for comment.


¥U1·                       .                                        .
 2. Should you desire to provide comment on the review, please do so by,{~hours, on
                                                                                         .__1jf3V
                                                                                                 n

3. I waive the 3 day prepar?,tion period to provide comment on the review, so packet can be
expedited to the Superintendent for final action. Date          Signature
                                                                           -------
4. Failure to provide comments by the above-stated time will be deemed a waiver of your right
to submit comment. You may request an extension to submit your request; any such request
should be in writing.

5. The Superintendent may consider matters from your personnel, disciplinary, and a~emic
records without referral to you for comment; you may review these files upon request to the
appropriate custodian at USCC and the Office of the Dean.




Encl                                              ~J;J~
                                                   Regulation & Discipline Officer




I herebi acknowledge receipt of Commaitdant' s and COC recommendations and legal review at
 {6otJ hours, on o?:S/'9~ l:JoJ?.


                                                 D/U a;..:--_ _
                                                  ISIAH DOOLEN
                                                  Respondent
                                                  Company B-1, Class of2013




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MACC~O


MEMORANDUM FOR Commandant, United States Military Academy, West Point, NY 10996

SUBJECT: Recommendation for Disposition of Conduct Investigation for Cadet Isiah Doolen, Company
B, First Regiment, Class of2013


1. See attached Legal Review by SJA for background and legal opinion.

2. USCC Regulation 351-1, Procedures for Conduct Investigations under the Cadet Disciplinary System,
requires you to make recommendations for final disposition to the Superintendent. Please indicate them
~~                                                                            .


   ~ concur with the findings that the Respondent is deficient in conduct and recommend:
      _ _ that the Respondent be separated from the Military Academy and transferred .to the U.S.
Anny Reserve and ordered to active duty, with enrollment in the Academy Mentorship Program .

      _ _ that the Respondent be separated from the Military Academy and transferred to the U.S.
Anny Reserve and ordered to active duty, but not be enrolled in the Academy Mentorship Program

   . ~ t the Respondent be separated from the Militar)' Academy and discharged from the
Anny          . .               .

       - - ·that the Respondent be separated from the Military Academy, but have the separation
suspended until _ _ _ _ _ _ _ _ __

       - . - - that the Respondent be Tumback to a lower class _ _ __

        _ _ that the Respondent be suspended from the Military Academy until
                                                                                  --------
        _ _ Enrollment in one of the following Mentorship Programs: _ _ SLDP _ _ ASAP

       ~ W i t h recoupment for educational expenses.

        _ _ Loss of Security Clearance

        _ _ Type of Discharge:_ _ _ _' - - - - - - - - - - - - - - - -

    - - I disapprove the ·rmding of the Investigation Officer and find the Respondent is proficient
in conduct.                    ·

3. POC is the undersigned at 938-6004 .



                                                . ·e7~
                                               ~OSEPHP. DEANTONA
                                                  Colonel, AD                       ·
                                                  Brigade Tactical Officer




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                                        DEPARTMENT OF THE ARMY
                                        UNITEO STATES MILITARY ACADEMY
                                             WEST POINT,NY 10996 ,




MACC-0-1-B                                                                                01 April 2013          / c.,'(AC--~
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MEMORANDUM THRU            ~Qtl'                                          .             / ;/                                           L)
Regimental Tactical Officer       Regiment, United States Corps of Cadets, WestPom('New York 10996             u         , t., fef 1
Brigade Tectlcal Officer, U       ~ of cadel,, West Point. New Yon I0996

FOR'Comiilandant of Cadets, Unit             Corps of Cadets, West Point, NY 10996
                                    .                               .
SUBJECT: Recommendation for Final Disposition on Conduct Investigation for Cadet Isiah M. Doolen,
Company B, First Regiment, Class of2013.


1. I recommend that Cadet Doolen be immediately separated from the Unite.<! States Military Academy and
discharged. fro_m the Army wi.thrcooupmenl While I concur with Diany of the findings ofCadetDoolen's
Conduct Investigation, l differ on the recommendations. This recommendation is based on my personal
observations of his comprehensive performance over the Fall 2012-.Spring 2013 academic year as the Bl
Company Tactical Officer.                                          ·

2. CadetDoolen's behavior is selfish. impulsive, and devoid ofaccountability and persona) responsihilicy_& :
consistently demonstrates a lack ofdesfrc t9 follow basic instroctions or take ownermip of his actions. His         _,,,,..,.--
reaction in each disciplinary situation bas been Qne of·apathy at a minimunl; often blaming his it!unediate peers ~
and supervisors for Jiolding him accowrtable to accepted standards. His accusations are often interlaced with
deceptiye ~onal agendas and attacks rather than valid claims. This demonstrates an unacceptable'Ievel of
maturity .fqr the officer corps, es~y since he is 24 years old ~ ~ aite:adY particip~ in approximately
8 years of officer development training at the New Mexico Military Institute, the United States Mililary
Academy Prepatatocy School. and the United States Military Acadei;ny. He often waits until consequences
escalate to a point that is personally intolerable to him before deciding to challenge or appeal. His individual
desires often trump his judgment to follo~ the rules and regulations of the Academy. 'When coupled with his
anger management issues, this equates to poor decision-making skills and impulsive behavior. Cadet Doolen          /
has been given multiple opportunities to rehabilitate himself through developmental counseling, yet lie remajns    ~
unreceptive. The aforementioned issues have stunted Cadet Doolcn's·ability to learn, grow, and mature as a            '-
cadet arul future officer. I finn.Iy believe.1hat Cadet Doolen lacks the 'fundamental ~ of a prof~onal
and competent officer.

3. Cadet Doolen has. committed more than one major error in-judgment from November 2012 thro'll€b
February 2013 resulting in a Conduc1 Investigation. During thi$ time frame his infractions, though seemingly
not egregious in nature, have revealed much deeper character and leadership flaws. .As a First Class Cad.et, bis
pattems ofselfi_ s h and immature behavior demonstrate that he is not prepared to be a commissioned officer.
Allowing Cadet Doolen to receive a commissi9n and lead Soldiers in coinbat would be a dereliction ofduty
that would surely endanger 1he liv.es of those he would be responsible fur. As a fomier company commander, I
would certai_nly not accept his behavior as a second lieutenant in my unit If Cadet Doolen were to serve as a
junior enlisted Soldier he would pose the same risks and contnlmte to a toxic environment within his wit. In
an era of fiscal .restraint coupled with the Army's d"esire to enact end-streQ.gth reduction while maintaining
quality persontu:l, Cadet Doolen should ~ separated f!'om the United States Mil~ Ac_ademy and disehargeil
from_ the Anny with recoupment.




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MACC-0-1-B
SUBJECT: Recommendation for Final Disposition on Conduct Investigation for Cadet Isiah M. Doolen,
Company B, First Regiment, Class of 2013.


4. POC is the undersigned at x2905 or eliz.abeth.eaton@usma.edu



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                                                        E~EIB $. EATON-FER.DiZI
                                                        CPT,AV
                                                        Tactical Officer, Bl, USCC




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                                     DEPARTMENT OF THE ARMY
                                     UNITED STATES MILITARY ACADEMY
                                          WEST POINT, NY 10996




MACC-0-1-B                                             0·                          03 MAY 2013
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                 .                          (W''\)-~~,,'3v~ tSi ·
MEMORANDUM THRU Tactical Officer, Bravo Company, First Regiment, United States Corps of
Cadets, West Point, New York 10996

Regimental Tactical Officer, First Regiment, United States Corps of Cadets, West Point, New York 10996

Brigade Tactical.Officer, United States Corps of Cadets, West Point, New York 10996

Commandant, United States Military Academy, West Point, New York 10996

FOR Superintendent, United States Military Academy, West Point, New York 10996

SUBJECT: Rebuttal to Separation from the United States Military Academy


1. SUBJECT: CDT Doolen's Rebuttal to Separation from the United States Military Academy

2. DISCUSSION:
 I understand that my behavior over tlie course of the past 6 months is what has warranted the
 recommendation of separation from the United States Military Academy. For the past 7 years, I
 have been completely immersed in a military environment. I have given time and effort and I
 submit this rebuttal, or rather, piea in an effort to ask for my life back. I wrfte this in ari effort to
 outline the road that I have taken thus far, and the road that I intend to take to become the kind of
.leader who can lead soldiers in a time of peace and in war. As someone who has loved running
for  as long as I can remember, the following quote encapsulates the drive I have to hopefully
 sway your decision about my future:
"The possibilities in racing tactics are almost unlimited, as in a gaine of chess, for every move
there is a counter, for every attack there is a defence.-.. The runner's greatest asset, apart from
essential fitness of body, is a cool and calculating brain allied to confidence and courage. Above
all, he must have a will to win." -Franz Stampfl
In 2005, I entered New Mexico Military Institute (NMMI) as a senior in high school. Despite
everything that I thought I wanted at the time, my parents knew that sending me to NMMI would
expose me to the best type of environment to enable me to develop into a true leader of character.
Over the course of the year at NMMI, I grew to appreciate the military lifestyle. After rriy
graduation from high school in 2006, and after a substantial amount of thought, I decided to join
NMMI's Early Commissioning Program via ROTC and attend for an additional two years of ·
junior college. As a young man who had entered NM:MI at the age of 17, I had become
completely enthralled and captivated by the splendor of military life.
Over the course of my time at NMMI and in ROTC, I underwent numerous positive changes. I
realized through multiple leadership laboratories and field training exercises that standing in




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 front ofa platoon as a phitoon leader was no easy task. I learned that to lead ~y peers was also
 no ~asy task; and there were times when uncertainties in my leadership reflected in my command
 presence and the amount of technical and tactical knowledge that I exhibited. In the summer of
 2007, I attended the Leadership Development and Assessment Course (LDAC) at Fort Lewis, .
 Washington. That summer was ·one of the best summers that I have had in terms of finally
 reconciling my ability to comprehend the tactical and technical components of leadership_y.,ith
 the command presence required.
  I knew that I had the ability to do well both in my military life and academic life, which is
  something my performance reflected. Although I gained more confidence in my leadership
  abilities, and while there was a dramatic improvement in my general performance at NMMI, I
  knew that I was nowhere close to being mature enough to become a commissioned officer. After
  applying to multiple schools (Baylor, TCU, Norwich, and USMA), and gaining admittance to
. these other universities, I turned down my commission two months prior to commissio;ning to
  attend USMAPS. I turned down my commission despite the fact that I did not know iflwould
  even be accepted to attend West Point. That did not matter because I knew that I wanted more
  than anything to. attend. I knew that if any institution on this planet would mold me into the kind
  of officer I wanted to be, it would be West Point. I went through USMAPS with prior experience
  in ROTC and simultaneous membership with the National Guard, which proved to be invaluable
  to me. Successfully completing USMAPS saw my entrance into West Point and has led me down
  the road I have traveled so far.
 When I entered West Point as a new cadet, I came in eager with desire to be the best I could be,
 and I believe that my military grade in_ Beast and my grade that 1st semester of Plebe year
 accurately reflected that desire. I helped my classmates out when I could, listened to my chain of
 command and abided by their orders despite being older than most of them (my attitude
 remained positive). My commitment towards development extended to me joining the Sandhurst
 team. I was also selected as the Battalion S3 for PPW. Even prior to then, at the end of Beast,
 every squad is tasked to pick a new cadet squad leader for the end of Beast challenge. As a new
 cadet during Beast, with two weeks left to spare; I exhibited that I could excel by passing off my
 knowledge, a feat surpassed only by CDT Sean Flint (Al). That motivation, coupled with my
 knowledge set, placed me in the position of new cadet squad leader. To me, even to this day, it
 was an honor that I was held in such esteem by my peers. Since then my performance has been
 less than desirable for which I accept full responsibility. I believe that was the result of an
 alcohol board that I had plebe year, a loss in judgment that cost me dearly.
 As Major Gade told my Leader's Challenge class earlier this year, character 'x' the moment= the
 outcome. Never has such a simple equation been more applicable. My character at the moment
 equaled the outcome of several of my friends/company mates/peers getting in trouble. At the
 time, I was 21 and able to buy alcohol, and instead of saying no, I chose the easier·wrong over
 the harder right. Never bad I felt such a feeling ofremorse. I saw where everything that I did
 from then on could be viewed through a negative lens. For rrie, it was the hardest thing to
 reconcile, all of the positive things that I had done prior to that incident had been completely
 nullified. All anybody could see was the cadet who lacked the character to do the right thing.




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Rather than act with the maturity of an adult and pick myself up off the ground, I allowed my
own attitude to keep me down.
I went into Buckner that summer with every intention to do as well as I had done in Beast, which
is a task I felt I accomplished, As a member of squad, I was an asset. I used my knowledge
gained through ROTC and the National Guard to aid my squad leader in guiding my squad. I was
able to take charge as a team leader, and lead my team with confidence because I knew what my
abilities were. Although reconndo events were not the most popular, I realized that the events
were required of me anyway, so I needed to do the best I could. At the end of the summer, I heard
my name called as one of the few cadets .who actually received the award. I felt pride because I
knew the award was something I had earned. I even ran the 1Ok over again so that I could receive
the award. Once Buckner was over with, and going into a new school year, there were many
issues that I had to deal with, including: completing my punishment for the alcohol incident,
managing a troubled plebe, and trying to maintain my grades. I overcame almost all of my
difficulties that semester, which shows a conviction towards overcoming adversity. While I did
not receive a passh1g grade in Physics 'I' that semester, I retook the class next semester and
passed withfl-1 believe that troubled times only made me stronger, and despite the adversity I
faced at.ffi.e time, I worked hard to remain at the academy. I showed that my resolve would not
be broken.
During Cow year, I struggled physically. A physical injury, in the form a broken hand, proved to ··
be a burden that whole year; as a result, I was unable to take an APFT or IOCT. One of the
biggest positives I had that year in regards to physical fitness was a decision to sign up for a 50
miler. From January to May, I spent time training. My finishing time was 12 hours and 5
minutes, and I finished I 05th out of 234 people. Finishing that 50 miler proved that hard work,
dedication, and motivation is enough to prevail over almost anything. During my 50 miler there
were two times I wanted to quit, during the 25th and during the 36th mile. I remember my body
completely shutting down and to continue running was onerous; however, despite wanting to
quit, I continued, I view West Point M a 50 mile ultramarathon. Right now I am on the 36th mile,
my body is shutting down on me, hope seems forlorn~ yet, I know that quitting is not an option. I
have given up so much to be at West Point (an ·earlier commission), and I have done so much to
remain at West Point. I give my assurance that even though I have hit a rough point in my
journey that I am taking the right measures to change and to remain at West Point. My emotions
have gotten the better ofme at times, but I am currently undergoing anger management to better
handle my emotions. I believe the following best describes the aforementioned:
"I claim not to have controlled events, but confess plainly that events have controlled me."-
Abraham Lincoln to Albert G. Hodges, April 4, 1864
Abraham Lincoln's remark accurately depicts how I have reacted to events. At all times, no
matter the situation, I am the one who controls my own actions, and ultimately, my own destiny.
I have been blatantly emotio.nal about numerous issues, those emotions have gotten me in
trouble, but those are the same kind of emotions and convictions that have urged me to help
others and to care about others. At every expense to myself, I have sought to help others because




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ultimately that is what is expected of Army officers and leaders of character. Perhaps, my
greatest fau1t has been an inability to gauge my emotions and to control events.
Sun Tzu wrote of creating a 'death ground' - a place where an army is backed up against some
geographical feature like a mountain, a river, or a forest and has no escape route. Often-I have
found inyself backed against the proverbial wall. I have been in situations where passing a class,
or overcoming a challenge such as running a 59 miler seemed almost unlikely, but I overcame.
When I am doing a physical event, being backed against the wall is not the answer; it's about
facing that wall and tunning through it. For instance, during Cow year I went in to my IT 305
TEE with a D, but my teacher LTC. Stoker, had more faith in me than I had in myself. He
showed me what it meant to be a leader, and provided me with the motivation to have faith in
myself. I have rarely encountered a teacher, with as-much determination to help me excel. My
Physics teacher, Maj. Godshali, was also a true motivator. At the time I was taking IT 305, I was
also talcing LG 362, which I was failing at the time. LTC. Stoker provided me with .information
as to how I-could improve my grade in that class as well. Ultimately, I passed both classes. My
grade in IT 305 went from a D to a C+ because I had gotten a 289/300 on my TEE. I don't think
passing those classes would have been an easy feat with.out his support.

I conclude with the following sentiments:

A. I am willing to endure any administrative measure short of separation in order to prove that I
am capable of being a leader of character in the Army. This includes graduation in December or
placement in the Class of 2014. I am not asking that you grant me additional privileges or
benefits, but I am asking that you give me a chance to prpve my worth, even if it is under greater
scrutiny and higher standards.

B. My conduct investigation contained references to my time at NMMI. While I do not purport
to have been a perfect Cadet there, I was not under investigation or suspension, and I was
scheduled to graduate on-time. Unfortunately, rny decision to leave NMMI in favor of placement
at USMA did anger members ofrny cadre and cause hard-feelings. I did not realize the extent of
those hard feelings until the interview by the investigating officer. For this reason, I ask that you
not consider those negative comments, as they have no bearing on my current status as a USMA
Cadet.

C. While I know my conduct has been subpar on occasion, the demerits I received. over the time-
period in question are not criminal, do not involve the use of alcohol, and are occasional errors in
judgment and innocent mistakes.by me. For instance, I know that I should have acted more
rationally with my CSM. However, I believed my classmate to be acting inappropriately at the
time, and I wanted to inform him of this fact at the time. Unfortunately, the situation escalated,
and I know I was part of that. Additionally, I made a mistake with.the maintenance tracker and
missed a suspense. This was largely due to procrastination, and I felt that I could still accomplish
the task at the last minute. Unfortunately, technical problems prevented me from doing so.
Knowing this, I have endeavored to be more proactive, and I learned from each of these events.




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   no
At time did my actions caus~ harm or place anyone in a position to be harmed. While I take
responsibility for my actions, please note the nature and quality of those actions along with the .
fact that I learned very valuable, hard lessons from all of this.

D. I know I can do better as a Cadet and future Officer. i know that my conduct since September
2012 carries consequences. However, I ask that those consequences still allow me a chance to
graduate from the school I love. .


3. Point of contact for this memorandum is the undersigned at 214-455-490 7




                                              ~/h·~
Encl.                                           ISIAH DOOLEN
1. Letter from Mr. Eric Mayer                   CDT, 2013
                                                Company B, 161 Regiment, USCC




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The Mayer Law Office
Military and Veteran Representation

9393 West 110th Street                                                               MilitaryAdvocacy.com
51 Corporate Woods, Suite 500, If: 5062                                               Office: (785) 262-9371
Overland Park, Kansas 66210                                                              Fax:(785)246-7052


                                               May 3, 2013

        LTG David Huntoon
        Via Mr. Delroy Patrick at delroy.patrick@usma.edu

                     Re: Cadet Isiah Doolen Conduct Investigation

        Dear LTG Huntoon:

        The purpose of this letter is to supplement the rebuttal memo submitted by Cadet Isiah
        Doolen for his Conduct Investigation that is currently pending final adjudication.

        We request that you take action in a manner that affords CDT Doolen a second chance
        at obtaining a commission from USMA This includes, but is not limited to, December
        graduation or placement in the Oass of 2014.

        Each individual instance of alleged misconduct that contributed to his excessive
        demerits constitutes an act of low-level misconduct.       ·

         1. He engaged in a heated argument with a classmate who happened to occupy a
            leadership position.(Cadet CSM). September 2012. 30 demerits.
         2. He was not present for a lunch formation. December 2012. 5 demerits.
         3. He did not sign his BRADSO contract by the posted suspense. 5 demerits.
         4. He failed to update the battalion maintenance tracker by the suspense. 20 demerits .
       . 5. He was out of his room after Taps while on restriction. 30 demerits.
                       .                             .




        The allegations of misconduct from September 2012 to January 2013 are minor, non-
        violent, and two of them indicate, at worst, forgetfulness or a bit of procrastination.

        The verbal altercation that occurred between CDT Doolen and the Battalion CSM was
        initiated because Doolen believed that the Cadet CSM was acting unprofessionally and
        unreasonably toward another cadet. Doolen intended to correct the situation
        immediately. Unfortunately, the discussion unreasonably escalated, but never turned
        physical.. However, we should not forget that this was, in essence, a heated discussion
        between two classmates. Fo.r this, he received a heavy punishment that included 30
        demerits.




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In December 2012, he failed to be present at lunch formation. However, he was working
with a lab group on a project that required his attention and absence from formation.
Unfortunately, he did not make the necessary coordinations because he forgot to do so.
This is not an act of blatant misconduct but a very minor miscommunication.

He accepts his failme to sign the BRADSO contract and makes no excuses for this
mistake.                                                                    ·

The matter involving the battalion maintenance tracker is a complicated one.
Essentially, CDT Doolen and his supply cadet NCO waited until the last night before
the suspense to update the tracker. At the time they attempted to update it with their
company information, the system was not available. Yet, every maintenance issue had .
already been submitted to the TACNCO for action, making the electronic maintenance ·
tracker a mere formality. While CD'!-: Doolen accepts responsibility for failing to
properly manage the time constraints of this project, the punishment is excessive for an
act that, in essence, constitutes si_mple procrastination that did not harm the wellbeing
and/ or comfort of others.

In his final misconduct of the period,CDT Doolen was away from his room after Taps.
However, the circumstances mitigate the severity of the conduct. At the time of the
misconduct, CDT Doolen received an emotional and frantic message from his recently-
ex-girlfriend. He was still emotionally attached to her, ~d she indicated that she was
presently harassed by other cadets. He immediately responded to the situation to
discover that it was not as she had communicated. Upon discovering this, he
immediately withdrew baq< to his room. Again, while he knows he was wrong, the
punishment is excessive considering the circumstances surrounding the und~rlying
misconduct.

The investigating o,fficer for the conduct investigation evaluated Isiah's conduct from a
neutral, dispassionate perspective. He clearly balanced the needs of the Army and
USMA with those of CDT Doolen. After evaluating Isiah's performance as a USMA
Cadet, prepster, and NMMI student, he concluded that CDT Doolen should be afforded
an opportunity to rehabilitate himself as a December graduate. The fact that this
opinion comes from an neutral fact-finder who personally evaluated the alleged
misconduct and engaged in face-to-face discussions with CDT Doolen should be given
the greatest consideration and weight in this matter.




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Separation from USMA will have a profound effect upon CDT Doolen' s future and
family. He faces an unbelievably-large debt to the government which he must repay for
years (possibly decades). This is a huge impediment to future success and quality of life.

As with most cadets, CDT Doolen's family is emotionally invested in his status at West
Point. Because of both the conduct investigation and possible separation, his parents
experience a great deal of stress and discomfort. For his father, a septuagenarian, this
has been particularly difficult as he faces this situation and the possible realities of
assisting his son with an extremely large debt to the federal government. In short, we
ask that you recognize that the serious second and third-order effects of this.decision
mandate the exhaustion of all possibilities short of separation. At this point, delayed
graduation and additional opportunities to succeed (or fail) have not been attempted,
but they deserve a i:h.ance.

As you know, every Army officer experiences adversity. The truly exceptional ones
learn from mistakes and become stronger. Isiah deserves a chance to show that he has
these qualities. If he does, he will be an unbelievable asset to the Army and a terrific
leader of Soldiers. All he needs is a chance.




                                                     Eric L. Mayer




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                              DEPARTMENT OF THE ARMY
                               UNITED STATES MILITARY ACADEMY
                                        646SWIFT ROAD
                                    WEST POINT, NY 10996-1905




MAJA-MJ                                                                          29 March 2012


MEMORANDUM THRU

Regulations & Discipline Officer, United States Corps of Cadets, United States Military Academy,
  West Point, New York 10996
Commandant of Cadets, United States Corps of Cadets, United States Military Academy,·
  West Point, New York 10996

FOR Superintendent, United States Military Academy, West Point, New York 10996

SUBJECT: Legal Review of Conduct Investigation - Cadet Isiah M. Dooien, Company B-1,
Class of 2013


1. Purpose. To provide a legal review.of the Conduct Investigation (Cl) of Cadet Isiah M.
Doolen, Company B-1, Class of 2013.

2. Discussion.

   a. The Investigating Officer (IO), MAJ Timothy R. Carignan, found Cadet Doolen
(Respondent) deficient in conduct for exceeding his six-month demerit-with-tour allowance. The
disciplinary awards affirmed by the IO are as follows:

    DATE OF                             DELINQUENCY                              AWARD
   OFFENSE
  mate of Award)
      15 .SEP 12       Art.7 -Error in Judgment (Disrespect of a Senior          30 demerits
     (17 SEP 12)       Cadet Non-Commissioned Officer).
     10 DEC 12         Art. 1, 3, 7 -Failure to comply with Regulations,         5 demerits
    (13 DEC 12)        Orders, Instructions; Delinquency in accountabi1:ity,
                       Error in Judgment (failed to report to lwich
                       formation and commemoration ceremony),
     10 JAN 13         Art. 1, 7- Failure to comply-with Regulations,            5 demerits
    (22 JAN 13)        Orders, Instructions; Error in Judgment (failed to
                       si® BrADSO contract by suspense).
     11 JAN 13         Art. 1, 7 - Failure to comply with Regulations,           20 demerits
    (16 JAN 13)        Orders, Instructions; Error in Judgment (failed to
                       meet a BN suspense).
     19 JAN 13         Art. 1, 3, 7 - Failure to Comply with Regulations,        30 demerits
    (24JAN 13)         Orders, Instructions; Delinquency in Accountability,
                       Error in Jud!Zlllent (left room after TAPs while on




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 MAJA-MJ
 SUBJECT: Legal Review of Conduct Investigation- Cadet Isiah M. Doolen, Company B-1,
 Class of 2013




                       I restriction).
    b. The CI was held on 26 March 2013. The Respondent reviewed the packet and did
 chal1enge, in part, the contents of the packet. After considering the Respondent's matters, the IO
 found that the disciplinary actions listed above were properly constituted, reviewed, and approved,
 and the IO affirmed the awards.

    c. The IO recommends that Cadet Doolen be separated from the United States Military
. Academy, but that the separation be suspended, that Cadet Doolen be turned back to graduate in
  December 2013; th.at Cadet Doolen be mandated to attend regularly scheduled anger and
  emotional management training with CPD, be assigned to a military position (PL) to showcase his
  improvements, and for the Chain of Command to provide robust, directed mentorship
  opportunities for Cadet Doolen.                                           ·

 3. Rules and Analysis.

    a. All demerit awards are within the limits established by USCC Regulation 351-1.

    b. There was no error that had a material adverse effect on the Respondent's rights.

    c. The conduct deficiency is supported by substantial evidence and by a greater weight of
 evidence than supports a contrary conclusion.

    d. The proceedings were conducted in accordance with law and regulation, and complied with
 legal requirements.

    e. You are not bound by this determination. You must reach your own conclusions based upon
 your independent evaluation of the record.

 4. Superintendent's Responsibilities.

    a. Review the entire case file, including chain of command recommendations and any m~tters
 offered by the Respondent, in accordance with AR 210-26, paragraph 7-3, before taking action in
 this case.

    b. You may approve the finding that the Respondent is deficient in conduct if you determine
 that it is supported by a greater weight of evidence than supports a contrary conclusion.

    c. You may disapprove the deficiency finding for any reason you deem appropriate.

    d. In making your determination, you may consider any relevant information, as long as the .
 information is provided to the Respondent for consideration and rebuttal.




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MAJA-MJ
SUBJECT: Legal Review of Conduct Investigation - Cadet Isiah M. Doolen, Company B-1,
Class of 2013


                                            ..            .
   e. If you approve the finding that the Respondent is deficient in conduct, y~u may:

       (1) Re~mmend to the Assistant Secretary of the Army (Manpower & Reserve Affairs) that
the Respondent be separated from the Academy, transferred to the US Army Reserve as an E-4 for
three years, and called to active duty for three years, with or without enrollment in the Academy
(Anny) Mentorship Program;                                                                  ·

      (2) Recommend to the Assistant Secretary of the Army (Manpower & Reserve Affairs) that
the Respondent be separated from the Academy and discharged from the Army, with possible
recoupment;

        (3) Direct a suspended separation (with or without enrollment in SLDP);

        (4) Tum the Respondent back; and / or

        (5) Suspend the Respondent from the Academy.

   f. A copy of the case file, including th.is legal review and the Commandant's recommendation,
will be provided to the Respondent.

5. Recommendation.

   a. Review the complete case file, especially the five disciplinary awards contained herein; and

   b. Withhold taking action on this case pending receipt of the Respondent's reply (if any). The
requisite documents for your action will be provided at the appropriate time.            ·

FOR THE STAFF JUDGE ADVOCATE:




Encls
as                                                CPT,JA
                                                  Chie~ Military Justice




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                             Cl - TABLE of CONTENTS
                             CDT Isiah Doolen, Bl/13


TAB      DOCUMENT                                   ACTIONBY:   (Initial when present)

A        ClPACKET:
         Transmittal of CI Proceedings                 IO
         Summary of Proceedings                        IO
         Convening Cl Memo                             IO
         Other CI documents                            IO
         10 Processing Checklist                       IO
         Investigating Officer Appointment Orders      R&D

B         CONDUCT REVIEW
          Deficiency in Conduct memo/                  R&D
          C~det Acknowledgment to R&D                  CADET

C         Cadet Referral to CI Memo                    R&D

D         Privacy Act Statement                        R&D

E         BTOMemo                                      R&D
          RTOMemo                                      TAC
          TACMemo                                      TAC
          Cadet COC Memos                              TAC
          ID Memo                                      TAC
          Cadet-CRB                                    TAC
          Demerits Review                              R&D
          Military Summary                             R&D

    F     5th Article                                  R&D
          4th Article                                  R&D
          3n1 Article                                  R&D
          znd Article                                  R&D
          1st Article                                  R&D

G         Evaluations: DMI, DPE, 0/Dean                 R&D




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                                    DEPARTMENT OF THE ARMY
                              UNITED STATES MILITARY ACADEMY
                                      West Point, New Yorlc 10996 .
               REPLYTO
               ATTENTION OF




MACC-P                                                                         25 March 2013


MEMORANDUM FOR Commandant of Cadets, United States Corps of Cadets, West Point,
New York 10996

SUBJECT: Transmittal of Conduct Investigation (CI} Proceeding, Cadet M. Isiah Doolen,
Company Bl, Class of2013


1. Transmitted herewith is the record of proceedings of the CI which convened on 26 March
2013 to hear matters pertaining to the conduct deficiency of Cadet Isiah M. Doolen, Bravo ·
Company, 1st Regiment, Class of 2013. CDT Doolen received two Battalion-level Article 10
boards, one Company-level Article 10 board, and two Summarized offenses resulting in 90
demerits within a 6-monther period, 18 more than the allowable 72 demerits over the same time
period for Firsties.

2. The CI investigated Cadet Doolen's pattern of behavior and finds him deficient in conduct.
For a detailed discussion of my rationale, please see the enclosed Summarized Report of
Proceedings.

My fl'nding is based upon reviewing the five documented infractions, witness statements from
instructors, peers, and others referencing CDT Doolen's performance and character, personal and
telephonic interviews, as well as discussions with CDT Doolen fu my office and with him and
called witnesses during the conduct investigation hearing itself.
           .                                                                      .

3. Based upon my review of all evidence, I recommend suspended separation through a delayed
graduation (DEC 2013):                                                                      ·

        a. Mandate regularly scheduled anger and emotional management training with CPD,

        b. Assign a military position (PL) to showcase his improvements,

        c. Provide robust, directed mentorship opportunities.

4. A Summarized Report of Proceeding is attached, as well as Cadet Doolen's conduct record.
All exhibits offered or considered as evidence in the CI are listed and indexed accordingly.




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· MACC-P
  SUBJECT: Transmittal of Conduct Investigation (CI) Proceeding, Cadet Samuel J. Doolen,
  Company B3, Class of 2013

 5. I authenticate and certify that the attachments to this transmittal of CI proceedings are
 complete and accurate and that the :findings and recommendations are correct.




 Encls
 1. Summary of Proceedings
 2. CI Appointment Memo
 3. Exhibits A thru G
      A. Written Character References from Cadets (9)
      B. Written Character References and Testimonials from Staff and Faculty at USMA (11)
      C. Written Character References from Outside USMA (1)
      D. Telephonic Testimony from TACs (3)
      E. Telephonic Testimony from References from Outside USMA (2)
      F. Personal Interviews with Cadet Chain of Command (2)
      G. Counseling Statements from CDT Doolen's TAC file (5)
      H. Center for Personal Development Authorization for Disclosure of Information (1)
 4. IO Processing Checklist




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         SUMMARIZED REPORT OF PROCEEDINGS
                         Cadet Isiah Doolen, Class of 2013, Co. Bl, USCC
                              Conduct Investigation, 26 March 2013



I. SUMMARY OF CONDUCT RECORD REVIEW. I reviewed two Battalion and one
Company Board / Article 10 actions and two Summarized actions for a total of 90 demerits,·80
tour hours (6 suspended, 30 granted amnesty), 66 days restriction, and 66 day withdrawal of
privileges. All disciplinary actions were awarded in accordance with the USCC Regulation 351-
2, dated May 2001.


II. ISSUES/ CHALLENGES BY THE CADET.

CDT Doolen challenged the ruling and punishment of his 11 January 2013 Company board
where he failed to meet a Battalion suspense (updating the maintenance tracker for his company
on editgrid) and thereby violated CDC Articles 1 (Failure to Comply with Regulations, Orders,
Instructions) and 7 (Error in Judgment). The punishment given was 20 extra duty hours (6
suspended), 14 days restriction, 14 days loss of privileges, and 20 demerits. I discussed the
details of his challenge during five separate meetings with CDT Doolen between 8 and 20 March
2013. I had telephone conversations about this incident with his TAC Officer CPT Elizabeth
Eaton-Ferenzi on 8 March 2013, his TAC NCO and current Building Commandant SFC Kellen
Rowley on 18 March 2013, and the former Building Commandant and current Al TAC NCO
SFC Daniel Boudreau on 21 March 2013. On 19 March 2013, I held two interviews with CDT
leaders to discuss the incident, one with CDT Lauren Heiliger, .the Battalion Supply Officer, and
the other with CDT Ashli Carlson, B 1 Company XO. I received written input from CDT Stephen
Bartkowski, Bl Company Supply NCO, on 19 March 2013. The issue was discussed at the CI
hearing held at 1600 on 21 March 2013 where CDTs Hunter Baudoindajoux, Ashli Carlson, and
Doolen provided additional information. I met with CPT Eaton-Ferenzi and SFC Rowley on 22
March 2013 to discuss this additional infonnation, after which I made-my final ruling on this
challenge.

Based on my review of the details surrounding this infraction, it is my determination that CDT
Doolen's challenge has no merit. CDT Doolen, as the Bl Company Supply Officer, failed to
meet this Battalion suspense due to his irresponsibility and failure to properly plan. Four of the
five witness statements provided concerning this incident detailed the repeated reminders and
forewarnings given to CDT Doolen by CDTs Heiliger and Carlson and his TAC team during the
5-day period leading up to the suspense date. CDT Doolen's own testimony to me on 18 March
2013 confirmed his receipt and complete understanding of the tasking from CDT Heiliger
approximately five days prior to the suspense date. Both he and CDT Heiliger could not recollect
what date CDT Heiliger had set for the suspense or what date the task was given to CDT Doolen,
buteveryone with whom I discussed this information indicated that the task was given early in
January 2013, approximately five days prior to the suspense date. The foW' aforementioned
statements also identified CDT Dool en's lack of responsiveness to their repeated reminders, his
failure to communicate troubles up the chain of command, and his irresponsibility concerning

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this particular supply issue. When CDT Doolen and his Company Su,pply NCO, CDT
Bartkowski, attempted at the last minute to meet the suspense, the maintenance tracker document
on editgrid was temporarily locked because another user had opened it and was editing it This
prevented CDT Doolen froin completing his task. CDT Heiliger testified during the CI hearing.
that the maintenance section of editgrid has been fully operational since the time she took over
her role at the start of the semester. She also testified that when this situation occurs and
someone else is editing the maintenance tracker, the editgrid system provides that locked-out
user with a number of actions including identifying the name of the person currently on the
system, the option to open up an edit only version of the tracker, and the opportunity to wait or
send a message to the person logged-on to the tracker. Lastly, CDT Heiliger stated that usually
when this happens, folks walk down the hall to go ask each other to get off the system so
someone else can use it. None of these options, it seems, were used by CDT Doolen to complete
his task. Instead, CDT Doolen testified to reporting the information prior to the suspense to his
chain of command, specifically SFC Rowley, but confirmed that his actual task was to complete
the tracker on editgrid; this he did not do. Had prior planning prevailed and had meeting the
 suspense been more ofa priority for CDT Doolen earlier in the process, given the details of the
tasking as I understand them and as witnessed to me via multiple witnesses, he would have been
 able to meet the suspense.

During testimony given by both CDT Doolen and CDT Heiliger during the CI hearing, I learned
that the task to update.the Battalion tracker was also not met by the Al Company Supply Officer
CDT Micah Gunselman. I called Al and spoke with SFC Boudreau and learned that CDT
Gunselman received a Cadet Observation Report and 5 demerits for his failure to meet the
Battalion suspense in 11 January 2013. SFC Boudreau also gave positive character reference of
CDT Gunselman stating that he was a good and reliable cadet and that CDT Gunselman had
exhibited no other conduct anomalies, either behavioral or supply-related, prior to the incident or
since. This is not the case concerning CDT Doolen. I have determined that even though the
punishment received by the Al Supply Officer for the same infraction was less than what CDT
Doolen received, it is my assessment that the Bl TAC team justifiably acted within USCC
regulation and without prejudice to enforce the tougher punishment against CDT Doolen:

During our meetings ·together and during the CI hearing, CDT Doolen continued to accuse his
TAC team of being excessive in their punishment for this infraction and that the January boards
were piled upon him to build a case against him. Having met personally with both CPT Eaton-
Ferenzi and with SFC Rowley on 22 March 2013 to discuss the issues of receiving supply data,
the functionality of the editgrid system, the potential excessive punishment for the 11 January
2013 Company board, and the alleged piling on, it is my evaluation that the accusations and
additional information brought forth by CDT Doolen have no merit. These attempts serve only as
examples of his unwillingness to take responsibility for his actions and of his tendency to place
blame on other for the situation in which he finds himself.

Testimony given by CDT Heiliger during the Clhearin! showed that since the 11 January 2013
Company board, B1 has been ranked between 2ru1 and 5 place (4 companies tied for znd place)
out of nine companies for supply actions, and 2nd place out of nine companies for maintenance
actions. She also stated that she felt compelled to assist CDT Doolen more than any other
company staff member to complete his supply and maintenance tasks, and that part of the

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subsequent B1 maintenance and supply success was due in part to her aggressive assistance in
the company supply process.

Lastly, the timing of th.is challenge is suspect. For nearly two months CDT Doolen chose not to
challenge the 11 January 2013 finding. His challenge, which is his legal right, came only after-he
was faced with the conduct investigation (1 March 2013). Based on my review, no evidence was
ever satisfactorily raised or claim sufficiently substantiated to warrant a determination that CDT
Doolen's challenge had anymerit..                                                     ·


III. WITNESS CALLED.

The following witnesses provided statements in person at the hearing on 20 March 2013. J1iey
are listed in order of their testimony.

         CDT Lauren Heiliger
         CDT Ashli Carlson
         CDT Hunter Baudoindajoux
    -    MAJ Franl( Scherra
    -    Lt Col John 0. Hagen
         CDT Justin' Adkins .

The following witnesses provided·written character statements for CDT Doolen. They are listed
in the ord.er they appear in the CI packet. .

From CDT Doole,i's peers (Exlu'bit A):

         CDT Stephen Bartkowski
    -    CDTHunter Baudoindajoux
    -    CDT Thomas Ankenbauer
         CDT Justin Adkins
    -    CDT Jeremy Madany
    -    CDT Mich~el Carrion
         CDT Thomas Dunn
         CDT
    -    CDT Edwin Lee

 The following personnel provided .written statements regarding CDT Doolen's character, from
 the perspective of an instructor (Exhib~t B):

     -   MAJ Josiah Grover, HI302
         Dr. Thomas Sherlock, SS375
         Lt Col John 0. Hagen, SS476 (2 separate written statements)
     -   Mr. Daniel Lorenzen, PE360
     -   LTC Tania, Chacho, SS486
         MAJ Rachelle Macon, PE450 (PE450 peer evaluation document on CDT Doolen)


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        LTC Geoffrey Stoker IT305
        MAJ Rutli. Mower, SS374
    -   Mr. Timothy Goetz, PEl 17
        MAJ Marschean, PH201

From references outside USMA (Exhibit C):

        Jan Olesinski, Cross Country Coach, NMMI

The following witnesses provided telephonic statements regarding CDT Doolen (Exhibit D):

        CPT Elizabeth Eaton-Ferenzi, Bl TAC Officer
        SFC Kellen Rowley, Bl TAC NCO, Lee Barracks Building Commandant
        SFC Daniel Boudreau, Al TAC NCO, Former Lee-Barracks Building Commandant

· The following witnesses provided telephonic statements regarding CDT Doolen from references
  outside USMA (Exhibit E):               .

        Mr. and Mrs. Carl and Connie Doolen - parents of CDT Isiah Doolen
        LTC (R) Jeffry Cunningham, PMS, New Mexico Military Institute (NMMI)

The following witnesses conducted a personal interview with me regarding CDT Doolen
(Exhibit F):                                      .

   • -· · CDT Lauren Heiliger
          CDT Ashli Carlson
          CPT Elizabeth Eaton-Ferenzi
          SFC Kellen Rowley

  Included in this summary report is CDT Doolen's additional counseling documentation that I
. requested of his TAC for incidents which occurred within the scope of the CI (Exhibit G).


 N. INVESTIGATING OFFICER'S DIALOG WITH THE CADET ABOUT HIS BEHAVIOR.

 After showing up to our first meeting with a grimy, oily patrol cap, and the worst of excuses for
 its condition, I had hoped that this was not a precursor of what I would find during my
 investigation. But, in some instances, it was. CDT Doolen and I met 1st hour during the
 compressed schedule of 8 March 2013 at 0630. We.met and talked about his case. We then
 agreed to meet back in my office during 3rd hour, which he had open starting at 0840, but CDT
 Doolen failed to show up. He had instead gone to his TAC and requested to go speak with the
 RTO without ever contacting me ahead of time to request a re;,prieve from our appointment. By
 0900 on day one of the investigation, CDT Doolen had not made a very good initial impression.
 After spending six sessions with him, I have determined that my initial impression of the man is
 a close representation to the demeanor, perspective, and character exhibited during his
 infractions and occasionally while discussing his case with me in my office. USMA grade

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records show that CDT Doolen is an average cadet. His instructor character references generally
show an average focus and a slipping potential.
His infractions, though, are not so egregious that recovery and learning from them en route to
becoming a productive, successful liemtenant in the U.S. Army is not a foregone conclusion. Yet
despite this collection of rather minor infractions over this short period of time, I find that he is
resistant, rather than totally committed, to taking full responsibility for his actions, as evidenced
by his recent errors in judgment, the rapidity of his most recent infractions, and his less-than-full
commitment to his responsibilities as noted in testimony by some of his peers and most of his
instructors. This is troubling, especially for a Firstie two months from commissioning. Troubling
still is that he has allowed his feelings towards the consequences of his actions, combined with
his self expressed "not-what-I-had-anticipated" USMAPS and USMA experiences, to jade his
perspective and, at times, taint his decision making ability with splashes of apathy, irrationality,
and carelessness. This is most witnessed when CDT Doolen is faced with a decision where he
allows Iris personal feelings to override the right, tough decision he knows he must make as a
leader. I do not believe that he has learned from his mistakes; he has expressed to me, and to
others including his TAC Officer, that he feels that this entire investigation is a farce and that he
is fully ready now to enter the force as a Second Lieutenant) expressions with which I do not
agree.


V. FINDINGS.
    (1) Much of documentary evidence, testimony, and statements indicate that Cadet Doolen is
 found to be deficient. The disciplinary actions were properly constituted, reviewed and approved.
.The actions were not in ~xcess of the guidelines established by the USCC Regulation 351-2.
   (2) I recommend that the chain-of-command talce the following actions: I recommend
suspended separation through a delayed graduation: (DEC 2013).
         a. Mandate regularly scheduled anger and emotional management training through the
Center for Personal Development for the duration of his time at West Point. This could include
any referral to on or off-post counseling that would help CDT Doolen recognize early when his
emotions start to cloud his judgment, regulate these emotions to normal levels) and eventually
learn to regularly make sound decision under duress.
         b. Assign CDT Doolen a military position over the summer and during the Fall
semester that will help him work through his weak areas and allow him to put into practice Iris
behavioral management skills. Perhaps assign him as a company PL to allow him to experience
a close approximation of what he will face upon commissioning. The PL role is filled with
opportunity to work through problems under duress, time constraints) conflicting personalities.
and with minimal resources. Establishing a good track record of handling such adversity will
indicate his readiness to enter the active force.
         c. Provide robust, directed mentorship opportunities to CDT Doolen. I recommend
 entering him into a weekly SLDP-type mentorship program to continue his leader development
 one-on-one with an active duty mentor for the remainder of his time at West Point.


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     (3) My rationale is as follows:

 To start, discussion must be heard of CDT Doolen's pre-USMA experiences and of his family
 background and upbringing in order to gain full understanding of my decision to find him
 deficient. CDT Doolen comes from a family heritage rich in service to our nation. His mother
 told me of CDT Doolen's uncles, grandparents, and other relatives who have served a number of
 honorable years in the active military, many during the time when CDT Doolen was still a young
 boy. This was how he fell in love with the idea of military service himself and pursued it in all
 haste. Since then, he has been involved in ·a military-type environment through a military high
 school, ROTC at New Mexico Military Institute (NMMI), USMAPS at Fort Monmouth, and here
                                                           to
 at USMA for roughly eight years. I was very surprised hear "eight years." Eight years is a lot
 of time in pur$Uit of a goal, the goal of officership. Eight years is a lot of time to learn the ropes
 ofleadership, duty, respect, selfless service, honor, integrity, and personal courage, and become
 a solid, confident future leader in the Army. Eight years provided a lot of time for CDT Doolen
 to put into practice the solid leadership he lived through, was the recipient of: and witnessed in
 the senior officers around him along every step of the way. But his actions captured in written
· form  over the past six months and attitudes expressed in my office and during the CI hearing
  reflect much less than what eight years of solid development can do for a future Anny leader
 bent on commissioning.

 Both CDT Doolen and his mother testified of CDT Doolen' s success and robust involvement in
  leadership opportunities while at NMMI. Both said he excelled while testimony from NMMI
  about this success was mixed. Of the four folks I reached out to at NMMI at CDT Doolen's
  request, only two responded, of which only one, his cross-country coach Jan Olesinski, had
  positive comments to share. She commented that he was one of the inost committed runners she
 has ever coached; this suggests great fortitude and commitment on his part. CDT Doolen told me
  early on of his deep interest in running and beamed with pride when he shared his training plan
  for his upcoming ultra-long races. Coach Olesinski also stated that he always smiled and always
  had an outstanding uniform. Thatlast part surprised me a bit as I recalled his dirty cap at our first
. meeting. Surely a pe~on with all that military-type experience, with· such exposure to the chain ·
  of command, and knowing the importance of acting like and looking like a leader as witnessed
  by Coach Olesinski, would have known how reporting with a dirty cap and failing to keep a
  scheduled meeting with a senior officer all on the first day of a conduct investigation would be
  viewed.
 The second witness from .NMMI, whose name was provided to me by CDT Doolen, recalled
 CDT Doolen as an average student who got into trouble from time to time. The testimony of
 LTC (R) Jeffry Cunningham, CUITent Professor of Military Science at NMMI, specifically tells of
 a CDT Doolen young, inexperienced, and of bad judgment. I engaged in a telephone
 conversation with LTC ·(R) Cunningham at 1300 on 19 March 2013 in my office while CDT
 Doolen was also there going through investigation documents. Admittedly, LTC(R) Cunningham
 was a bit off guard and had to take a minute to recall Isiah and his actions and performance there.
 Once on track, he stated that CDT Doolen did well enough academically to be in the top third of
 his ciass (this is in direct contradiction of Mrs. Connie Doolen's and CDT Doolen's testimony
 that he would have been the distinguished military graduate had he commissioned out of
 NMMI), but was otherwise unremarkable. LTC (R) Cunningham recalled distinctly that CDT
 Doolen had decided not to commission upon graduation from NMMI. The next part of the

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conversation was started with LTC (R) Cunningham stating something similar to "In order to be
completely honest with you, I need to be honest with you... " I really did not know what to
expect from that statement, but I quick assesses tap-dancing a bit, maybe a bit reluctant about
what he was going to share. As LTC (R) Cunningham continued, he gave details about "a bit of
trouble" that CDT Doolen had gotten himself into near the graduation timeline. He explained
that CDT Doolen, while at NMMI, was involved in what he tenned as "alumni chatter"
regarding the retired Navy Admiral who was serving as the Superintendent ofNMMI at the time.
The gist of the comments was that the alumni were not keen on this Navy Admiral as the
Superintendent. LTC (R.) Cunningham then went on to state that CDT Doolen had "jumped on
the bandwagon" online with this alum and with the statements made against the Navy Admiral.
CDT Doolen was counseled by LTC (R) Cunningham for his participation in this activity. At this
point, LTC (R) Cunningham wanted me to clearly understand that this was due to CDT Doolen's
youth and inexperience and then statement something to the effect that ''we all made some dumb
mistakes when we were young." But then he stated that CDT Doolen had taken the situation
even further by taking his counseling documentation and the details of the counseling meeting
with LTC (R) Cunningham to the same alumni group mentioned above and had the information
posted online. Some undetermined online, subsequent com,:nehts were made and information
was passed through the alumni group. LTC (R) Cunningham stated th.at the results of CDT
Doolen's further actions rose to such a level that the NMMI Superintendent decided to order an
Article 15-6 investigation into the entire situation, citing potential undue influence and possible
inappropriate counseling on the part ofLTC (R) Cunningham. LTC (R) Cunningham stated that
 a "colonel" from outside NMMI had to be brought in to adjudicate the case. LTC (R)
 Cunningham was ultimately cleared of all charges in the case. He lastly indicated that this was
part of the reason why CDT Doolen did not commission at NMMI. When I hung up the phone
 and confronted CDT Doolen about the information from LTC (R) Cunningham, he said
 something very close to, "oh, that colonel. He's just still upset over what happened. That's the
 only reason why he brought that up." I just about dropped out of my chair at the ignorance of his
 statement and the flippancy of his attitude. What made matters worse was that CDT Doolen
 acted as if he had no clue as to just how insulting and ill-mannered his comments were regarding
 this accomplished senior officer. This gave me what I later determined to be as an early glimpse
 of the true CDT Doolen and clearly displayed the nexus of his conduct issues, his at-times
 selfish, self-serving attitude. The claim that CDT Doolen did not commission partly because of
 this incident is the only part of LTC (R) Cunningham's testimony that CDT Doolen denies. Both
 CDT Doolen and his mother have testified that CDT Doolen simply decided not to commission
 two weeks before commissioning date because he felt he just was not ready and that he needed
 more time to train and mature.
Back to CDT Doolen' s family. CDT Doolen comes from a mixed family experience. Both his
mom (58) and dad (71) were married previously then divorced. His parents each had one son
already when they married each other, bringing their families together. His brothers were 9 and
28 respectively when CDT Doolen was born. His brothers are now 31 and 50 and he does not
have a close relationship with either, but he is very close with his mom and.dad. CDT Doolen
testified that while he was growing up at home, his father often lost his temper or had a lack of
patience when dealing with him. My own similar experience allows me to empathize with CDT
Doolen. He stated that he likely got his lack of patience and short-tempered responses from his
father.           ·


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Testimony from CDT Doolen's mother also told of how he lost focus when he moved from
NMMI to USMAPS and then on to USMA. She said that he had certain expectations of
USMAPS and USMA and that his experiences at both institutions did not match his expectations
- all confinned by CDT Doolen's own testimony. Mrs. Doolen stated that this tainted Isiah's
perspectives on preparing for military service. She told of his dissatisfaction when he was moved
from Company E4 to Company B1, and that he had a very difficult time adjusting to the                ·
company TAC leadership. She further reported that CDT Doolen had always had a difficult time
coping with change. She mentioned that he could be impulsive during training but that when he
was with real troops, like during Cadet Leadership Development Training, he felt comfortable
and felt like he finally fit in. According to CDT Doolen's military records, he did perform well at
CLDT. CDT Doolen's mom's last comment to me during our telephone conversation was a bit
telling to me as it, I believe, revealed the true man I have been ordered to investigate. She stated
her belief that her son would always be the one to defend the underdog regardless of the
consequences, and that he would always jump in to the defense of the weaker. The more I learn
of CDT Doolen, the more I feel this statement fits him to a tee ... making emotionally-driven
decisions "regardless of the consequences" and 'jumping in" to his own peril. During our fourth
meeting together, CDT Doolen agreed with all of the characterizations of him in the statement
provided by his mother.
CDT Doolen has indicated that he wants to learn from his mistakes so that he will be a better
Officer. But wan.ting to learn and actually committing to learn are two very different things. He
has verbally committed to. work on being more honest with himself, to work to overcome his
anger issues and emotional outbursts, and to be more accountable to those under his charge and
to leaders above him, but evidence to show this is short and will take time. As of this writing, he
has self-referred to the Center for Personal Development (CPD) for two sessions to work on
anger management with Dr. Hain, and he has met with Dr. Spiegel from CPD on two occasions
ovei: Spring Break, so he is seeking and receiving help. This was confirmed by Dr: Speigel at
CPD after securing a release of information memorandum from CDT Doolen (Exhibit H).
According to Dr. Spiegel, having only met with CDT Doolen on two occasions, it was still a bit
too early to give any type of evaluation of CDT Doolen or his progress.
When CDT Doolen and I met one-on-one, aside from around details of his case, our discussions
have.centered on overcoming adversity, leadership style and adaptability, others' perspectives of
our actions and their ramifications, and persistent professionalism. We have discussed the effects
on unit cohesiveness and troop readiness when leaders fail to emulate these attributes or demand
them of their troops. He does admit to having difficulty coping well with change, confirmed by
his mother's testimony, and that his inability to cope only fuels his resistance towards it and
towards decisions made against him with which he does not agree.
 CDT Doolen admits to being a perennially average student with occasional and recent academic .
 disappointments. He has only one semester at USMA, the Fall of his Plebe year, where he has
 not failed or earned a D in one of his course, yet he accepts where he is academically. He
 achieved the most academic success while at NMMI. But when asked about his weaknesses as a
 cadet, his academic performance was absent from his comments. Aptly, most of his stated
 weaknesses were relational in nature, confirmed by other testimony. This leads me to believe that
 he understands that he does have interpersonal problems. Testimony bears that he has the largest
·relational challenges when those in authority over him, press him, demand of him, or make

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judgments 9f decisions against him. Testimony also shows that he has a.habit ofallowing his
emotions to trump proper actions. He does say that he likes to work with people, which I assess
to mean he like to work with his peers.
    The feedback from CDT Doolen' s academic instructors is lop-sided. Some instructors, MAJ
Mower, MAJ Grover, and MAJ Scherra commend or have no issues with his class performance,
conduct, leadership, sense of duty, and potential. Other instructors, LtCol Hagen, LTC Stoker,
Mr. Goetz, Dr. Sherlock, Mr. Lorenzen, and LTC Chacho express that CDT Doolen is not fully
committed, was or is a marginal performer, does not follow directions well, a person they would
not want in their unit, or a person who should not become a Second Lieutenant. The irtstructors
that did provide negative comment also pointed out at ieast one positive attribute or rendered a
neutral sentiment towards CDT Doolen. CDT Doolen freely states that he is not the best student,
but he does find it easier to do the work for classes be most enjoys.                      ·
     What I also found very interesting was that CDT Doolen had provided to me name of those
·he would like to have submit character references on his behalf, yet three of these, Lt Col Hagen,
 LTC (R) Cunningham, and CDT Heiliger all provided testimony that did his character more
 harm than good. This calls into question his ability to make good judgment regarding
 interpersonal relationships, an assessment early identified in CDT Doolen and found in multiple
 instructor character references. ·
All nine of the peer character statements written in support of CDT Doolen speak positively
about his professionalism and potential for future service in the Army. One-third,. however, make
specific ackno~ledgement of his struggle in certain areas and of his efforts to overcome his
weaknesses. His 18 cadet chain of command evaluations on his CPR Profile have him rat¢ five
times as center of mass, eight as above center mass - lower ha!( and five as above center mass -
upper half. Yet only one character reference came from a cadet who was ever in authority over
him. His peer and subordinate evaluations on his CPR Profile send an even more mixed message.
Forty percent (6 of 15) of his evaluations from peers and subordinates rate him as either Below
Center Mass - Retain (4) 'or Below Center Mass - Do Not Retain (2), while nearly forty-seven
percent (7 of 15) rate him as Above Center Mass - Upper Half (3) or Above Center Mass -
Lower Half (4).
 Early on, while looking into CDT Doolen's experience outside USMA, his mother provided
 some information that I thought, at the time, would prove a much bigger contnbutor to CDT
 Doolen's poor decislon-making and frequent January infractions. His.mother told me that CDT .
 Doolen's back home girlfriend of five years had called off their relationship in January 201-3. His
 mother told me that this break up was very hard on CDT Doolen because it was a very serious
 relationship and because he and his girlfriend had once been engage.d. At the surface, this
 sounded to me like a significant family issue that could have been disruptive enough to get inside
 CDT Doolen's decision cycle and cause some bad decisions. So, I specifically asked CDT           ·
 Doolen about any significant hometown or other personal or family si~ations.or incidents that
 may have caused him problems over the past six ·months. I also aske.d him to provide.details .
 about any difficult relationship he may be having with family or friends. The only difficult
 relationSbips he mentioned were those between him and his older brothers. Surprisingly, he
 mentioned nothing about his old girlftiend. In fact, early on in our discussions, he voluntarily
 mentioned his current girlfriend, C D T - - She came up in conversation because she
 provided a sworn statement for his 19 ~ a t t a l i o n board. The day before the CI
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hearing, 20 March 2013, CDT Doolen provided a character witness statement from CDT-
that fully supported CDT Doolen and indicated that they had been dating since November 2012.
So, I believe CDT Doolen either led his mother to believe that the break up was harder on him
than it really was, or that she interwove some of her own personal feelings about the break up
into how CDT Doolen was handling it. Nor do I feel this is an incident'CDT Doolen in
repressing. Therefore, it is my detennination that the break up is not a factor contributing to his
sub-standard actions.
Lastly, CPT Eaton-Feret¢ articulated an interesting hypothesis with me, one that both she and
SFC Rowley formed based on their previous and current' experience and expertise, one very
similar to one that I formulated on _my own prior to their sharing; They have determined that
CDT Doolen bas perfonned marginally much longer than his record shows. They say that the
recent increase in CDT Doolen's infractions is partly due to the fact that, since January 2013,
Company B 1 has a Ml TAC team present in their respective roles, together in authority over
him. CPT Eaton-Fei:enzi mentioned that in the Fall of 2012, she had been away on pregnancy
and post-pregnancy leave, leaving all oflhe TAC duties to her then TAC NCO, SFC Boudreau.
Adclitionally, she mentioned that in an earlier TAC experience, CDT Doolen's TAC Officer had
been away from USMA for part ofthe time due ~o ILE commitments, again leaving the bulk of
the company duties during that time to one person, the TAC NCO. She and SFC Rowley
postulate that if CDT Doolen had had full TAC coverage.during these earlier times, more of his
poor conduct and irresponsibility would have been earlier identified and documented instead of
just a few short months before his scheduled commissioning. CPT Eaton-Ferenzi and SFC
 Rowley further assess that within the timeframe and scope of this investigation CDT Doolen's
 infractions were not committed because of some recent, momentous change in his perspective or
 attitude, say as the result of a major family or personal emergency or significant situation. They
 theorize, rather, that his attitudes and perspectives have been more publicly revealed as a re~t
 of his being ~ore frequently caught and punished for his sub-standard actions. I agree with their
 theory.                                 ·
My assessment as a former SSG(P) and commissioned officer with nearly 20 years of combined
experience is that CDT Doolen is not yet representative of the kind ofleader ready to don the
rank of Second Lieutenant in the United States Army. I have a daughter in college and a son in
high school. My son longs to get through high school and to enter military service. I cringe at the
thought ofhim in the platoon of an unchanged 2LT Doolen. As a father, I would not want this
reality and would fight to ensure that it did not happen. I fear that should CDT Doolen
commission before successfully completing the recommendations listed above, his platoon's
safety, readiness, training, and lives would be at risk. Additionally, the toxic attitude he matter-
of-factly expressed against LTC (R) Cunningham from NMMI has no place in the Army and
must-be remediated before commissioning. I like CDT Doolen, and our conversations and
meetings have been positive, but I cannot, nor will not, rate him as proficient when basic leader
principles are routinely violated and flagrantly resisted.
 From examination of the evidence, verbal and written testimony, and discussions with CDT
 Doolen and witnesses, I recommend that CDT Doolen be retained at USMA past his graduation
 date until December 2013 in order for him to undergo necessary anger and emotional
 management training, and to put into practice these to-be-learned behavioral techniques and
 procedures in a more demanding military role, much like one with which he will immediately be

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. faced as a Second Lieutenant. He has yet to develop the requisite leadership and relational skills
  that will help him successfully serve the Army and those under -his charge. This is where solid
  mentorship comes in. Once fully committed to meeting the standard and demonstrating
  consistent progress toward that end, he may then start to dis lay the potential to become a
  successful leader of Soldiers.




                                               .MAJ,
                                               DPE Instructor




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 Carignan, Timothy R MAJ MIL USA-USMA
 F'fi{m{'                   Bartkowski, Stephen R CADET MIL USA USMA
 "$~ht:                     Monday, March 18, 2013 6:31 PM
 Ti:>":•                    Carignan, Timothy R MAJ MIL USA USMA
 Subject:                   RE: CDT Doolen feedback



 MAJ Carignan,

 ~       am CDT Doolen's subordinate this semester and serve as the company
    supply/maintenance NCO for Bl. I was directly involved in the
   1ntident in question because· it w~s his and my responsibility as the
   ~upply team to complete the tracker updates for the BN. The reason we
    did not meet the suspense is bec~use there was initial confusion when
· . ~~g,~ing our responsibilities in the company. The requirements were
   'tt'dt""·'"'(:'learly communicated to our level and I was under the impression
 fl~~-          updates and work order requests needed to be submitted through
    tt)f/ TAC team rather than the BN 54. Additionally, the email from the
    Btlf:i.i5,4° requesting an update faile.d to provide a way for me to update
    the tracker. It. took more than one attempt to be given the network
    llo.cation of the tracker, and once CDT Doolen and I had access to it,
    it would only work intermittently. ·The problem with· .the tracker was
    eventually fixed, but it was not able to be saved while more than one
    us'.en ·had a copy of it open on their computer.

  @[iff,·.D0olen did not complete his duties by the .SN suspense due to
  do.mj:>l<ications in communication from the chain of command. After this
  ~~ttal failure, CDT Doolen and I have not had issues performing our
  ~1.:e:s as. the supply team·.· Often times he completes a tasking before
  t:tj:~t, to my computer and see that it was assigned to us.
  ~\:J~~:r~·~ ·-/
  ~ti'for.tunately, I do not hav_e copies of the emails between myself and
 ihe BN S4 because I deleted them weeks ago and never anticipated this
 1!'€t.. b~ an issue. If you have any questions about my remarks or need
 them submitted in ~nother format please contact me via email or phone
 ~412-657-0499). I have a rather busy day tomorrow and it is unlikely
 t~ill be able to c~ll or stop by your office during business hours,
 6ut Mill be available later in the afternoon and evening if you ne~d
 ariy1:hing or would like to meet or speak on the phone. Hope _this helps
 w~t:h the investigation.
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  ~iz,yr:Respectfully,

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i€OTStephen Bartkowski
lJSMA 2014, CO Bl
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~----Original Message-----
from: Carignan, Timothy R MAJ MIL USA USMA
,jnt: 18 March, 2013 15:32 .
~o: Bartkowski, Stephen R CADET MIL USA USMA
!,;4:§hject: CDT Doolen feedback
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l!W("Ba rtkows ki
{:Jf ·.                   ,
~:)·:·
't~lY''name is MAJ Tim Cc3rignan and I am the Investigating Officer for a
'c6nduct investigation of CDT Isiah Doolen. One of his infraction·was a
~6mpany board involving his failure to meet a B~ suspense on 11 Jan
2013. I.am writing to you about this particular incident and about
y·our, ·interactions with CDT Doolen and his general role in the supply
~-hafn. I am requesting that you provide me feedback (written,· via a
tiisit,to my office, or via phone call) today or tomorrow.so that I can
m,v,e   forward with this investigation. Thank you.
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 MAJ C
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 '.fim Carignan

 IYJAJ, MI
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 :t-0structor/Senior
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                     Recruiting Officer

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              of Physical Education
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 l!Jnited States Military Academy

 W~st Point, NY 10996

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                                     DEPARTMENT OF TIIE ARMY
                              UNITED STATES J\fl:LITARY ACADEMY
                                    WestPoint, New York 10996-1792
            REPLY TO
            ATTENTION OF




 MACC-0-3-D                                                                                27 February 2013



 MEMORANDUM FOR: Investigating Officer, United States Military Academy, West Point, NY 10996


 SUBJECT: Character Reference for CDT Isiah Doolen

 1. The purpose of this memorandwn is to provide a character statement on behalf of Cadet Isiah Doolen,
    company B-1, Class of 2013.

 2. I am currently 4th Platoon, Bravo Company, 1st Regiment, Platoon Leader. CDT Doolen is 4th Platoon
 Section Leader. As such, I work directly with him, while the Platoon Sergeant deals clirectly with the
 Squad leader. We meet several times during the week to discuss the needs and status of 4th Platoon's
 Section.

· 3. One part of Professionalism in the Army is the practice of knowing the right thing and doing it.
  Another part of Army Professionalism is owning up to one's mistakes and learning ·from them. CDT
  Doolen has made several mistakes over the past couple of months. There is no denying these facts.
  However, as my subordinate, I believe he has displayed professionalism. In his mistakes, he took full.
  responsibility and since then, has learned from them. When cliscussing various incidents, he admitted his
  guilt and has made clear efforts to do the right thing. As many officers have said, West Point is designed
  to be a laboratory for leadership. I believe that despite CDT Doolen's previous errors injudgment, he will
  make a good professional officer: He has learned from his mistakes and will be able to use the lessons
  learned in the future, whether for himself or his soldiers.

 4. CDT Doolen is very knowledgable as a leader. His leadership is very common sense based. From
 what I have seen, CDT Doolen shows care and consideration for his subordinates. I think that, like all
 cadets and· leaders, there is always room for development. CDT Doolen bas developed and will continue
 to develop in the future.

 5. I know that CDT Doolen' s personal life has been rough over the past year and he was ·dealing with a
                                                                                      to
 great deal. Considering the position he is coming from, it is understandable for him misstep at some
 point. I do not think that what CDT Dooeln has done warrants any serious reaction. I would serve with
 him any day here or in the big Army. I think that when CDT Doolen gets to the force, he will be a great
 asset to his soldiers and his unit.

 6. Point of contact for this memorandum is CDT Baudoindajoux at (850)-559-5558 or at e-mail at
 Hunter.Baudoindajoux@usma.edu.                     '



                                                      //Original Signed//
                                                      Hunter Baudoindajoux
                                                       CDTLT
                                                       USCC, Bl, Class of2013




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                                  DEPARTMENT OF THE ARMY
                              UNITED STATES MILITARY ACADEMY
                                  West Point, New York 10996-1792



MACC-0-3-F                                                                                28 FEB 2013



MEMORANDUM FOR Cadet Advisory Board, United States Military Academy, West Point, NY 10996


SUBJECT: Character Reference for CDT Isiah Doolen

1. The plllJ)ose of this memorandum is to provide a character statement on behalf of Cadet Isiah Doolen,
   companyB-1, Class of 2013.

2. My name is Cadet Justin Adkins and I am an Administrative, Community Service, and FCDT Officer
in Company F3 of the USCC. I have known CDT Doolen for almost a year; we met because we have
mutual friends.                        ·

3. Professionalism in the purview of an Army Officer means putting the needs and goals of the
organization of which one is a part ahead of one's own. CDT Doolen has never given me any reason to
doubt his dedication to selfless service.

4. While everyone can benefit from further leadership development, I believe CDT Doolen is ready to
lead this nation's most precious resource today.

  5. In my opinion, CDT Doolen's greatest asset is bis.unwaivering willingness to help those around him
  without asking for anything in return. Cadets at West Point are busy every second of every day; they
  don't have much free  time. Despite this fact, there are several occasions on which I have seen CDT
. Doolen give of bis time, the most valuable resource a cadet has. For instance, last May, one of our mutual
  friends was behind schedule closing out his room for summer leave. Despite having bis own tasks to
  complete, CDT Doolen went out of his way to help his classmate. This is but one instance in which CDT
  Doolen bas helped others without asking for anything in return.

 6. Point of contact for this memorandwn is CDT Adkins at (972)-489-6383 or at e-maU at
Justin.Adkins@usma.edu.



                                                      //Original Signed//
                                                      JUSTIN R. ADKINS
                                                       CDTLT
                                                       USCC, F3, Class of2013




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                                    DEPARTMENT OF THE ARMY
                             UNITED STATES MILITARY ACADEMY
                                   West Point, New York 10996-1792



MACC-0-3-A                                                                               26 FEB 2013



 MEMORANDUM FOR: Investigating Officer, United States Military Academy, West Point, NY 10996


 SUBJECT: Character Reference for CDT Isiah Doolen

 1. The purpose of this memorandum is to provide a character statement on behalf of Cadet Isiah Doolen,
    company B-1, Class of 2013.

  2. I am currently the Company Commander for Company Alpha, 1st Battalion, 3n1 Regiment. I first met
  Cadet Doolen during the summer of 2010 over Cadet Field Training when he was in my platoon. I see
· him occasionally around cadet area and talk briefly with him about twice a month.

 3. Professionalism in the Army is the ability to act in a mature manner and demonstrate the appropriate
 respect and cqurtesy due to both subordinates and superiors. In my interactions with Cadet Doolen, he
 generally exhibited the respect due to the officers and other cadets involved in our training. ·

 4. Cadet Doolen's performance as a rotational team leader during Cadet Field Training was solid, and
 demonstrated not only the technical and tactical competency expected ofus as PFCs, hut also made
 certain to look after the other PFCs on bis team and their wellbeing.

 5: In all my experiences and interactions with Cadet Doolen,·I have never seen any behavior or attitudes
 that would lead me to question Cadet Doolen' s ability to lead soldiers in the Army.·

 6. Point of contact for this memorandum is CDT Thomas Ankenbauer at 845.667:9651 or at e-mail at
 Thomas.ankenbauer@usma.edu.



                                                    //Original Signed//
                                                    THOMAS G ANKENBAUER
                                                     CDTCPT
                                                     USCC, A-3, Class of 2013




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                                 DEPARTMENT OF THE ARMY
                             UNITED STATES MILITARY ACADEMY
                                 West Point, New York 10996-1792
          Rl!PLYTO
          ATTEMTIOl't OF




                                                                                          27FEB 2013



MEMORANDUM FOR: Investigating Officer, United States Military Academy, West. Point, NY 10996


SUBJECT: Character Reference for CDT Isiah Doolen

1. The purpose of this memorandum. is to provide a character statement on behalf of Cadet Isiah Doolen,
   company B-1, Class of 2013.

2. I am currently a the 4th platoon platoon leader in B2. Cadet Doolen and I have had two classes
together-one last semester and one this semester. Last semester, we worked on the EV450 term project
together, and because of the extensive amount of time I spent working with him, I feel qualified to
accurately assess his character.                                        ·

3. Cadet Doolen has always demonstrated professionalism by striving to improve not only himself. but
also those around him, especially those on his team. Cadet Doolen seeks constant development, and from
working with him, achieves:this through competency. Professionalism entails this level of dedication, as
well as a the ability to actually apply motivation towards practical ends. Cadet Doolen's critical thinking
skills and logical thought combined with motivation produce significant developmen~l results.

4.   Cadet Doolen will be a good Army officer, and has demonstrated this potential by displaying his
leadership abilities inside and out of the classroom. For example. He spoke confidently and in an
informed manner during class briefs, to include the project presentation to our instructor, CPT
Sotosanchez last semester. He also successfully led a class discussion in our Security Seminar, taught by
LTC Chacho, on a difficult subject.

6. Point of contact for this memorandum is CDT Madany at Jeremy.madany@usma.edu.



                                                     //Original Signed//
                                                     Jeremy Madany
                                                      CDTLT
                                                      USCC, B2, Class of 2013




                                                                                                      000774
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                                 DEPARTMENT OF THE ARMY
                             UNITED STATES MILITARY ACADEMY
                                 West Point, New York 10996-1792
          REPLYTO
          ATTENTION OF




MACC-0-1-G                                                                                 28 FEB 2013



MEMORANDUM FOR: Investigating Officer, United States Military Academy, West Point, NY 10996


SUBJECT: Character Reference for CDT Isiah M. Doolen ·

1. The purpose of this memorandum is to provide a character statement on behalf of Cadet Isaiah
   Doolen, companyB-1, Class of 2013.                                      ·                   '

2. I am currently Company Commander for Company G-3. I initially met Cadet Doolen during Cadet
Candidate Basic Training at Fort Monmouth in 2009. CDT Doolen and I have been good friends ever
since our time at the prep schooL Over the past five years I have gotten to know CDT Doolen very well.

3. Professionalism in the Army is held in higher regard than in other professions. Due to the nature of
chosen profession we must adhere to strict standards to ensure that we have the full trust and confidence
or our superiors, subordinates, and our peers. A profession can be defined as a calling, and I find that to
be more true in our chosen profession than in others due to the nature of the tasks we will be one day
called to do. Cadet Doolen has always been committed to becoming a commissioned leader in the
profession of arms. He has always been one to go further than what he is asked to do, which is a hallmark
trait of every great officer that I have known.

4. After seeing Cadet Doolen's demonstratedleadership among his peers I have felt fully confident in
believing that he will one day develop into a great leader. He bas the ability to motivate his classmates to
do things that are unpopular among the majority, even though the majority knows it is the correct thing to
do. This is possibly one of the more difficult things for a leader at this Academy to accomplish, and the
fact that Cadet Doolen can do this speaks volumes of the position he holds among his peers. When it
comes to Cadet Doolen's potential for development the sky is the limit.                                 ·

S. Cadet Dooien is fully aware of his own shortcomings, and he has committed himself to developing his
character and proving that he can become a fine officer once he graduates. He has shown the ability 'to
motivate his peers in a way that not many Cadets can since bis time at the prep school. He bas been one to
take full responsibility for his actions. This is an important trait for any officer, because it demonstrates
the ability to analyze one's own behavior and make improvements even when others are not there to make
corrections.                                                                                         ·

6. Point of contact for this memorandum is CDT Michael Carrion at (254)-371-7493 or at e-mail at
michael.carrion@usma.edu.


                                                      //Original Signed//

                                                      CDT Michael Canion
                                                      USCC, G-3, Class of2013




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                                      DEPAR™ENT OF THE ARMY
                           UNITED STATES MILITARY ACADEMY
                                         West Point, New Yolk 10996

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           ATTI!NTION OF



 MACC-1-B                                                                 1 March2013


 MEMORANDUM FOR: , Investigating Officer, United Sta~ Military Academy, West Point,
 New York 10996

 SUBJECT: Character Statement for CDT Isiah Doolen, Company B-1, Class of2013


 1. CDT Isiah Doolen and I met through two mutual friends in my company. This was early
 November of 2012. We began dating shortly after and have been ever since.

  2. A leader has many qualities which can easily be seen and developed at West Point. At this
  institution, we are taught that throughout our four years, we are to learn how t6 lead through a
· process oflea,ming in every manner. The three pillars which are the basis for this learning are of
  academic, military and physical means: Cadet Doolen is fit in all three areas;predominantly
  physically and militarily. His physical prowess is shown specifically by his avid and skilled
  running. Cadet Doolen has participated in countless races and runs throughout his time ·at West
  Point, along with a test of mental and·physical fortitude, the 50 Mile Bear Mountain run. Cadet
  Doolen spent all of winter and spring of 2012 training for this race, and he competed in May
  2012. His determination and desire to run it even faster has ·driven him to enter the race again for
  2013; he has been training for months. Cadet Qoolen's military leadership began when he !Jtarted
  school at the New Mexico Military Institute for high schooi and for two years of college. He was
  offered an early commission in 2009, but tumed it down·so that he could attend West Point His
  dedication to this institution is evident              ·


  3. Cadet Doolen possesses many of the attributes which show his wdeniable ability to be an
  offi~. He is constantly trying to improve himself in every way, while he is simultaneously
  balancing the challenges that West Point gives him. He looks at all of these challenges and uses
  them as a means of becoming a good-officer. His road to becoming an officer has been longer ·
  than the average person's, so he has seen numerous qualities ofleadership which are both
  admirable and undesirable. A few ofhis own qualities include his clear dedication, constant
 ·desire to improve, respect for othe;r people and himself: and the possession of the personal
  fortitude required to recover from detrimental events.



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  4. Point of contact for this memorandum is the undersigned a t ~ m a . e d u or 813-
  394-1240. .                                                                           · .
                                                               ,      .
                                                        USCC, Company C3




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                                        DEPARTMENT OF THE ARMY
                                   UNITED STATES MILITARY ACADEMY
                                      . West Point, New York 10996-1792
                REPLYTO
                ATTENTION OF




      MACC-0-3-D                                                                                27 FEB 13



     _ MEMORANDUM FOR: Investigating Officer, United States Military Academy, West. Point, NY 10996


      SUBJECT: Character Reference for CDT Isiah Doolen

      1. The purpose of this memorandum is to provide a character statement on behalf of Cadet Isiah Doolen,
         companyB-1, Class of 2013.

      2. I am currently a CDT LT in Company B2. I met CDT Doolen; during a Plebe ~th class and have
      been acquainted with him since.

      3. Professionalism in the Army requires three key attributes; character, competence, and commitment.
      To my knowledge CDT Doolen has always been exemplary in these three areas. I have never doubted
      CDT Doolens character. Once l got to know CDT Doolen, he struck me as a guy who knew what his
      convictions were and would stand by them. I have seen these convictions correlate strongly to the ~even
      Army values. CDT Doolen has been a loyal friend and I have always seen him help those around him.
      CDT Doolen is a competent leader and has always given me good advice when I needed it. CDT Doolen
      is also very commited to the Army profession. He has told me- stories of bis time at the New Mexico
      Military Institute and at the Prepetory School, and they all speak to his commitment to officership.

      4. The primary interaction between CDT Doolen and myself has been in the classroom. CDT Doolen is
      a natural leader who peers are quick to follow, and a strong teammate. His leadership ability was
                                                                                                      very
      noticeable during class exercises. He has been decisive when he needed to be and supportive of his
      classmates when they were in charge. We all have room for future development and learning and I believe
      CDT Doolen has internalized this moto of life~long learning;

      5. One such example ofCDT-Doolens commitment to his fellow peers and charcterto go above and
      beyond came when we shared the same Economics class during Yearling year. Economics was a very
      difficult class for me and CDT Doolen noticed this, yet he still chose me as his partner for the culminating
      course project worth a large percentage of our overall grade. CDT Doolen took the time to make sure that
      I understood all of the concepts applied to the project. His additional time spent aiding me contributed
      towards my passing the project and the class. I would consider it a priviledge to serve along side CDT
      Doolen in any unit.

     ·6. Point of contact for this memorandum is CDT Dunn at 701-771-8682 or e-mail at
      Thomas.Dunn2@usma.edu.


                                                           //Original Signed//
                                                           Thomas Dunn
                                                            CDTLT
                                                            USCC, B2, Class of2013




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                                  DEPARTMENT OF THE ARMY
                              UN1TED STATES MILITARY ACADEMY
                                  West Point, New York 10996-1792



MACC-0-3-D                                                                                 1 FEB 2013



MEMORANDUM FOR: Cadet Advisory Board, United States Military Academy, West Point, NY 10996


SUBJECT; Character Reference for CDT Isiah Doolen

1. The purpose of this memorandum is to provide a character statement on behalf of Cadet Isiah Doolen,
   company B-1, Class of 2013.

2.   What is your current position in the Corps and how do you know CDT Doolen?

Currently, lam a 1•t Platoon Sergeant; in company B 1 and CDT Doolen was my first line supervisor
during the l.ast semester as the training officer. I have been observing him closely since the second
semester in my Yuk year as a fellow company mate and worked closely as we had to supervise parades,
drill, march~on and details.

From my observation, neither he is the best or very consistent cadet I ever met. After realizing his
inconsistency in the beginning of semester, he made a significant improvement on communication and
handling all tasking on time. He empowered me to provide full support when I needed exact numbers for
parades and takings. With his support, our company won the best brigade review on 13 OCT 12. As.the
result, the training staff was rewarded with PMI and TAC NCO personally recognized our achievement.
More importantly, he was aware.that I had put more effort than he did and he was humble enough to
refuse tlie ·reward.. Rather than taking advantage of it, he recognized me and offered his reward to me.
This shows his character and personal courage to accept humility. They are fundamental aspects that.oui:
institution strives inculcate to every cadet.

Even though he was not consistent all time which puthim troubles, he cared about me as an individual.
Knowing that I am a weak writer, he was available for help to proofread. With his dedication to make
corrections on my writing assignments, I was a,ble to earn \iery high grades in two of my classes in DS3 l 0
and SS307.

                             as
3. Define professionalism it relates to the Army. To the best of your knowledge has CDT Doolen
ever given you cause to doubt his professionalism or future professionalism as a commissioned officer?

Professionalism in the Army is very wide definition, but the foundation is based on the seven army values
and soldier's creed. The seven army values describes characters every individual should strive for while
soldier's creed explicitly layout individual's responsibility as a professional solider.

  My initial assessment on CDT Doolen was pessimistic. However, over a year of assessment on him, he
  has potential and qualification to become a commissioned officer. There are some areas that he lacks
  especially consistency on completing tasking on time, but his approach to complete tasks is innovative.
  He attempted to establish better commmlication as the first line supervisor by having a meeting prior to
. sending tasking and parade roster to the company. Furthermore, he also incorporated some features in
  technology using share point website to allow staffs in company to utilize for updating information. He
  has an aspiration to lead and learn from his mistakes. His hwnbleness and aspiration to lead troops will




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eventually develop him not to repeat same mistakes. I believe he.is aware the consequence of not
completing tasking on time. Because of his self-awareness, he has potential to learn and develop as a
commissioned officer.

4.   Please describe CDT Doolen's leadership ability. Do you see room for future development to learn?

His leadership ability is described in the second paragraph from statement 3.


5. ls there anything else important that you want to add? Are there any stories you can recall that
demonstrate CDT Doolen's character?                                                ·

I personally observed the incidence which result him a battalion board during the lsr semester. From my
perspective, his argument with BN CSM was not a respect issue. He attempted to defend my classmate
who tried to inform BN CSM why our company fall out and returned to the barrack for company activity.
BN CSM's response on my classmate was negative that my classmate was defenseless because ofCSM's
position and authority. CDT Doolen approached professionally, but his approach provoked BN CSM to
put him a tTOuble

6. Point   of
         contact for this memorandum is CDT Edwin Lee at (845)667-9539 or at e-mail at
Edwin.Lee@usma.edu.



                                                     //Original Signed//
                                                     Lee, Edwin
                                                     CDT SGT
                                                      USCC, Bl, Class of2014




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                             DEPARTMENT OF THE ARMY
                        UNITED STATES MILITARY ACADEMY
                                   West Point, New York I 0996




                                                                         20 February 2013


MEMORANDUM FOR RECORD

SUBJECT: Evaluation for Cadet Isiah D~olen, Company B-1, Class of 2013

1. Performance: CDT Doolen's perfom1ahce in the classroom thus far has been adequate. His
   grades place him slightly above the average in his section.·

2. Conduct: CDT Doolen has conducted himself in accordance with USCC regulation and
   instructor policies in the classroom.

3: Leadership: CDT Doolen has contributed in a positive fashion in the classroom.
   .      .                    .                                          .

4. Teamwork and Selflessness: CDT Doolen participates as an active contributor while doing
   group work.

5. Interpersonal Skills: CDT Doolen seems to get along well with his classmates-I have seen
   nothing to suggest otherwise.
               .                                                              .


6. Sense of Duty: CDT Doolen generally shows up to class having done the work expected of
   him.                                                    .

7. Appearance: CDT Doolen's appearance and bearing have been in accordance with USCC
   regulation and my expectations.                                               ·

8. Potential: I have seen nothing to suggest that CDT Doolen would not serve with distinction
   in the Army and consequently would raise no objection to having him serve in my battalion..

9. The POC for this request is the undersigned at: (845) 938-4820 or josiah.grover@usma.edu.




                                            JOSIAH T. GROVER
                                            MAJ, FA-59
                                            Department of History




                                                                                          000780
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                                DEPARTMENT OF THE ARMY
                         UNITED STATES MILITARY ACADEMY
                               WestPoint, New York 10996




MADN-SOC                                                                      20 February 2013


MEMORANDUM T.HRU

LTC Heidi Urban. Executive Officer, Department of Social Science
LTC Tania Chacho, Director, Comparative Politics Program

F9R Mrs. Katrina Stamp, Regulations and Discipline Assistant

SUBJECT: Evaluation ofthePerfoxmance of Cadet Isiah Doolen, CompanyB-1

   1. P~rfonnance: Cadet Poolen was enrolled last semester in my course, ss475, Democracy
       and Democratjzation. Re rec6ived a· "B" in :the course and did not have any academic,
       respect, or disciplinary issues. Cadet Doolen is now enrolled in ss375, my course on .
       Russia and its Neighbe>rs. It is relatively early in the semester, so my assessment is
       incomplete. Cadet Doolen's major problem thus far in the class was his failure to submit·
       a graded .event on time without appropriate notification.· He has since ·submitted the
       assignment. I have counseled him on this issue.

   2. Condt!ct: A~ta,ble levels of performance in the classroom

   3. Tew;nwork and Selflessness: Average levels ofperforman~e in the classroom

   4. Interpersonal Skills: Average· levels of performance in the classroom

   5. SenseofDufy: Adequme

   6.. Appearance: Professional

   7. Potential: CDT Dooien has significant potential w'hich oft~ remains latent. He must
      consistently apply him.self to reach his full potential. For example, he must enga$e in
       substantive classrQom discussions more:frequen.tly that is now the case.


2. POC for this memorandum is the undersigned, x2864




                                                 THOMAS SHERLOCK. PH.D.
                                                 Professor of Political Science




                                                                                                 000781
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                                DEPARTMENT OF THE ARMY
                            UNITED STATES MILITARY ACADEMY
                               WEST POINT) NEW YORK 10996


· MADN-SOC                                                                      22 Febniary2013

MEMORANDUM FOR RECORD

 SUBJECT: Evaluation of Cadet Isiah Doolen, CompanyB-1, Class of 2013

  1. Performance: Cadet Doolen is a. cadet in the LI section of my SS476 Confljct Analysis and
  Resolution course. This course is structured as a seminar in which cadets are expected to
  actively participate in the guided discussion: As of the 6-week grade point, Cadet Doolen's
  performance in my class has been satisfactory but not remarkable. He engages in the
· conversation when directly addressed and appears to actively follow the discussion, but very
. rarely does he initiate ideas or questions. Cadet Doolen received a "D 11 on the analysis paper
 Which was assigned for Lesson 8 (section average was C+). The low grade was the result of a
  Jack of application of course material to the .provided case, an indication that Cadet Doolen is not
  as familiar with the course readings as he should be. I do not believe the low grade will be
  reflective of future performance by Cadet Doolen. My personal assessment is the he will be able
  to successfully complete this course .

. 2. Conduct and Appearance: Baseg,!-pon my observation ,of C.adet Doolen during classes and
  a recent academic trip, I find him to bl:(a professional cadet who appropriately conducts himself
  in academic settings and who maintains a professio~al appearance. I have not noted any
  behaviors or indications of unprofessionalism.

 3. Leadership and Interpersonal Skills: I recently assigned Cadet Doolen as the CIC for an·
 academic all-day trip to the UN that included two sections ofmy course plus a class section from
 a different course. Prior to the trip, Cadet Doolen and I discussed his responsibilities for
 maintaining accountability and handling ration money. His perfonnance as CIC For this trip was
 satisfactory but not remarkable. Cadet Doolen used section marchers to assure accountability at
 each stop and he submitted required ration forms. However, he took a passive approach to
 leading the trip, requiring me to approach him to get status or to initiate actions. Consequently
 he came across more as a helpful member of the trip section that as its CIC. I would have been
 more impressed had be regularly sought me out to let me know status or how he was handling
 the problem with the missing ration slip (an administrative problem that he is still resolving).
 Finally is did observe that he interacted with other members. of the trip in an appropriate
                                                                                      .      and
 professional manner.

 4. Sense of Duty: I have not observed any behaviors nor seen Cadet Doolen in any situations ·
 that provide me with an assessment of his sense of duty) either positive or negative.
 5. Potential: Based upon my limited experience in working with Cadet Doolen, I find him to be
 an average cadet who has the potential for solid service as an officer in the Anny. He has not
 stood out in my assessments as being exemplary or as being significantly deficient in the




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        Case 7:16-cv-08606-VB Document 47-5 Filed 01/26/18 Page 65 of 109




characteristics of an officer. I would not have a problem with him serving as a lieutenant in my
squadron or group but I would not be actively seeking him out to serve with me.

6. If you have any further questions concerning Cadet Doolen's performance in my class, please
contact me at either iohn.hagen@usma.edu or 845-938A001.


                                                                            //signed//


                                                             Lt Col John 0. Hagen, PhD;, USAF
                                                             Asst. Professor of International Relations



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Carignan, Timothy R MAJ MIL USA USMA
From:              Hagen, John O LTCOL MIL USA USMA
Sent:              Tuesday, March 12, 2013 12:40 PM
To:                Carignan, Timothy R MAJ MIL USA USMA
Subject:           RE: VIEW IN HTML - conduct investigation on CDT Isiah Doolen


Hello Tim,



I might have spoken too soon on my assessment of Cadet Doolen when I
spoke with you this past Friday mo~ning. On Friday,· Cadet Doolen had
a paper due to me at 1600 that was worth 15% of his grade. On a
previous paper assignment, he had been 2 days late in his submission
that resulted in a failing assignment ~rade due to points lost for
poor quality as well as for being late~ Since that previous
assignment Cadet Doolen and I had spoken about his performance in my
class and at West Point in general, and as I mentioned to you on the
phone, I believed he recognized his situation and would be putting
forward the needed effort to successfully finish the semester. Well,
it is Tuesday afternoon and I have yet to.see Cadet Doolen's paper
that was due this past Friday.      Despite rep~a:ted emails to remind him
that he risked failing this assignment, Cadet Doolen never contacted
me after Friday to inform me as to when he would turn his paper in.
As of today, with only 60% of the possible grade points still
avai,lable to him on this P.a.per, I called CGR and Mr. Doolen answered·
the phone~ He said he would turn the paper. in today but was able.to
provided no rationale for why it was delinquent. If this is a
harbinger of his remaining performance in this semester, I do not see
him successfully passing my course and I am having serious doubts as
to how committed he is to successful completion of his course of
study.



I am also writing to RSVP and say will be attending the hearing on 20
March.



Regards,

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JOH·




Lt Col John 0. Hagen, PhD., USAF

Dept. of Social Sciences

Rm 209, Lincoln Hall (Bldg 607)

US Military Academy at West Point



O: 845-938-4001 (DSN: 688)

M: 334-546-5466




From:· Carignan, Timothy R MAJ MIL USA USMA
Sent: Friday, March 08, 2013 9:58 AM
To: Goetz, Timothy R CIV USA USMA;,McVan, John T CIV USA USMA;
McKenna, Laura L MAJ MIL USA USMA; Macon, Rachelle MAJ MIL USA USMA;
Grover, Josiah T MAJ MIL USA USMA; Lorenzen; Daniel K CIV USA USMA;
Chacho, Tania M LTC MIL USA USMA; Scherra, Franklin B MAJ MIL USA
USMA; Vargo, Steven P CPT MIL·USA USMA; Sherlock, Thomas Dr CIV USA
USMA; Hagen, John O LTCOL MIL USA USMA
Subject: VIEW IN HTML - conduct investigation on. CDT Isiah Doolen



Ladies and Gentlemen,
                                       2


                                                                      000785
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                                DEPARTivfE:NT OF THEAR..MY
                         UNITED STATES MILITARY ACADEMY
                               West Point, New York 10996
          REPLY TO
         ATTENTION OF



Department of Physical Education                                          February 22, 2013


MEMORANDUM FOR RECORD

SUBJECT: Evaluation for Cadet Isiah. Doolen, Company B 1, Class of 2013 ·


1. Performance: CDT Doolen currently has a C in the course. He earned an F on his pop quiz
and a C+ on his midterm exam. in the course. He is currently 6% points below the course
average.

2 .. Conduct: CDT Doolen has been well mannered and respectful in class this round. I also had
Cadet Doolen last round. He was supposed to drop the course around lesson 6 for his illness and
finally dropped the course on lesson 17 after two .consecutive COR's for Failure to perform his
duties;

3. Leadership: I have not evaluated CDT Doolen in this area

4. Teamwork and Selflessness: CDT Doolen worked diligently with his peers and stayed on
task when the.class was given training time.

5. .Interpersonal Skills: I was not able to observe much about CDT Doolen in this area other
than he asks pertinent questions when appropriate.                 ·

6. Sense of Duty: CDT Doolen understood that his place of duty was in the classroom. He
reported to class as performed to standard while there.

7. Appearance: CDT Doolen 's manner of appearance was in accordance with USMA standards.

8. Potential: CDT Doolen is simply .another student in my class. He's neither stellar nor a
problem. However, based on my experience with him last round and his failure to drop the class
despite repeated emails to him and one to his TAC my observations of CDT Doolen lead me to
.believe that he may not follow instructions all that well.




                           Daniel Lorenzen, Instructor/Director of Combatives
                           Department of Physical Education




                                                                                              000786
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                                      DEPARTMENT OP THE ARMY
                               UNITED STATES MILITARY ACADEMY
                                         WestPoint.NewYork 10996

           REPLYTO
           ATicNTION OF


 MADN-SOC                                                                        22 February 2013


 MEMORANDUM FOR RECORD
 SUBJECT: Evaluation for Cadet Isiah Doolen, Company B~ 1, Clas.s of 2013


 1. Overall, Cadet Isiali Doolen has not demonstrated an impressive performance thus far in
 SS486, the capstone course     for
                                  his major (Comparative Politics). Academically, at the six week
 grade point, he ranks last out of the 13 cadets currently in the class, and his performance as the
 CIC during a recent class trip left room for improvement.

  2. Performance: Over the last 15 lessons 1 Cadet Doolen has participated in class discussions on
                          is
  three occasions. He quiet, which makes it hard to know his grasp of the material. He stays
  alert during the discussion,·but is not a regular contributor to the seminar. On several occasions,
  I have observ~ that he just has a pen and a blank piece of paper in class; he neglected to bring
  the required readings, or. any notes that he tookpreviously. This limited his ability to participate,
  and made me question whether he had done the preparatory work needed to engage in our
  seminar disqussion. His only graded event thus far in the·course is a s)lort (2-page) paper on his
  desired country and topic, worth orily 5% of his overall course grade. His submission did not ·
· fulfill the requirements laid out in the syllabus and discussed during our class sessions, so he
  earned a 33 out of 50 points (66o/o) on this assignment. He came to see me for AI on 22
  February, and after our discussion, said he would resubmit the assignment to ensure that he was
  on track for the 7 March paper submission.

 2. Conduct: k!, mentioned above, Cadet Doolen .is quiet in class. There have been no issues
 with his in-class conduct, although I have spoken with him about his need to participate more
 during class. He has assured me that he will do so in the future, and I look forward to this.
 Consistent, informed seminar participation constitutes 20% of his grade, and thus far, his three
 comments have not earned many points.                                         ·

  3. Leadership: Cadet Doolen was the CIC for two classes during a daylong academic trip to
  the United Nations that occurred on 13 February 2013. In three separate lessons prior to the trip,
  I offered him the opportunity to address the class in order to provide administrative information
  about the trip, but he said he had nothing to discuss. He did email the class the day's itinerary,
  which he received from Lt Col John Hagan, the SS476 instructor on the trip. In class, I
  discussed the day's events, including the CGR meeting time. Lt Col Hagan also met with Cadet
  Doolen the day prior to the trip, to go over all of the details. At about 0600 on the morning of
  the trip, I received atextfrom Cadet Doolen asking me what time to meet at CGR. Coming
. from the CIC, this surprised and dismayed me; clearly, he had not rc,membered or copied down
  the information from me or Lt Col Hagan. When asked, Cadet Doolen performed headcounts to




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provide us with accountability. ·Cadet Doolen did not have the rations money available to hand
out on 13 Feb; he said. that there was a mix-up at the disbursement point, and he is working to
rectify this. As of 19 February, he·did not have a rations roster available for cadet signatures,
but promised to bring it to our next class on Thursday, 21 February. All in all, whil~ there.was
nothing egregious about his perforrmmce as CIC that affected the trip, there was certainly
opportunity for improvement.                                           ·                    ·

4. Teamwork and Selflessness: In class, there have been a few opportunities for group
work, and Cadet Doolen's perfonnance has.been unremarkable.

5. Interpersonal Skills: From my observations, Cadet Doolen has no issues interacting
with·his classmates. His dealings with me have been professional; I have no issues with
his attitude or interactions.

6. Sense of Duty: Based on his class performance thus far, CDT Doolen could improve in
this area. He has not provided consistent evidence of class preparation, and needs to work
on taking initiative when placed in a, leadership role.        .

7. Appearance: Cadet Doolen has always been in the correct uniform, and I have not
noticed any negative issues with his appearance.

 8. Potential: Unfortunately, at this time, Cadet Doolen has not shown me evidence of
 potential for service as an exemplary officer. My obsei;vations of both his academics and
.leadership performance as a trip CIC do not offer grounds for many positive comments. Based
 on this, I would hesitate to see him as a lieutenant in my battalion. To be fair, I have only had
 the opportunity to observe him.for six weeks, and he certainly has the time to develop further as
 the semester progresses. But,. based strictly on what he has shown. thus far, I do harbor doubts
 about his potential for future distinguished service.




                                               ;i?a /)/. (!/6a,l
                                                . TANIAM. CHACHO,Ph.D.
                                                  ~TC, MI/FA47
                                                  Academy Professor ·
                                                  Director of the Comparative Politics Program




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                                   ···- PE450 - Army Fitness Development (-::·..
                                   eer Evaluations and Instructor Feedback .




 SECTION I. Assign Q grade to each member of your group for the categories listed below.
Remember that ~udents with ~CUSED absences should not be penalized for class absences out of
their control, but all students were specjicia/ly briefed that it was their responsibility to work with
their group to ensure that they would make up for the work missed in other parts of the Jab or
UPTP project in order to contribute equally.
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Military Bearing and Professionalism in Briefs
                                                         5
and Lab Execution                                                   5         s        4      4      5
Attendance for Group Meetings/Discussions
                                                         5
Outside of Class                                                    2         2        3      5      5

Contribution to the Overall Workload                     5
                                                                    2         3        3      2      4

Timeliness of Work Submitted to the Group                s          2         3        3       2     5

Quality of Work Submitted to the Group                   s          2          5       4       3      5

Teamwork and Cooperation                                 s           4        4        3       3      5
Leadership Qualities and Level of Initiative   in        5
Regards to the Group Projects                                        2         2       4       2     4
Overall Attitude While Participating in Group
                                                         5
Projects and Meetings                                                4         5        3      4     4

                                                        40          23       29       27      25     37

                                                                                     28.20


SECTION JI. Add any comments of significance to ensure that I have an accurate picture of how
each team member contributed to the overall success of the group. Feel free to use specific
examples from Lab or UPTP group meetings that you encountered throughout this course. Please
use this space to recognize lndividual{s} who went way above and beyond, as well as group
members who might not have pulled their fair share of the weight throughout this course.
                     NAME:                                                 COMMENTS:

Doolen, Isiah                                       Often difficult to reach, did not contribute as much.




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                 PE450 - Army Fitness Development
              Peer Evaluations and Instructor Feedback


                           He did.. the least amount of work for the group. He
                           also didn't show up sometimes, and he didn't tell
                           anyone that he wasn't going to be there.

                           Was willing to help, but lacked initiative to
                           contribute: While I understand he did not have a
                           laptop for the first few lessons, he could have made
                           the difference up later on

                           Contributed to the group, but maybe not as much as
                           others. This, however, I don't think is because of
                           not willing to help, but because others took initiative
                           and completed a lot of the work



                           Had a good attitude




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 Carignan, Timothy R MAJ MIL USA USMA
 from:                                Mower, Ruth A MAJ MIL USA USMA
 ·sent:                               Monday, March 18, 2013 3:07 PM
  To:                                 Carignan, Timothy R MAJ M1L USA USMA
 ,subject:                            RE: VIEW IN HTML. conduct investigation on CDT Isiah Doolen


  Hello Tim,
 .}

  q would be glad to talk to you as well over the phone (I tried to call
 b!,;lt you were out of the office), but my written comments·are below (as·
 i<:)f now I will not. be able to make· the 1600 hearing on 20MARi3):

  f}iPe.r-formance:
       ·-f . ·
                    Isiah performed well in 55374 (Politics & Governments of
  ~-~ah' & The Koreas) where I had him for class. He almost always came
   ,r...r-{{.~ o v-




  ftt[tlass with the readings completed (and freely admitted when he had
  biQT done the readings/could not answer the questions I asked which is
  ~'9:'scf noteworthy), and actively answered questions without having to he
  called on.

   ~Conduct: Isiah always stayed awake in class, which is noticeable
   Sin:oe many cadets at times even fall asleep in spite of their best
   tli1iter;itions depending on if they are having a Thayer week or not (plus,
   1inH1<rtow this is also noteworthy b/ c Isiah would train for very long
   ~istance runs and still remained awake for class). Also, he always
   fi~1(ised his hand, waited to be called on, and let others complete their
   ~~WIBt:nts before answering or countering what they had to say.
   tn~~efore, he was always professional in his decorum and behavior .
. .,,t,-,-;:.i·: ·,                                                     .
   ij[i£adership: Isiah was a junior when I had him for class, and since
   iiiifst of the other cadets in SS374 were seniors., I did not explicitly
   v.iew him in a leadership position. However, I could tell the_
   potential for leadership was there because he stood up constantly in
   Glass.for what he thought was the right answer even if those who
   ~JJ.t1'.'.-anked him did not believe in ·what he did (i.e. he has the
   ®~llingness to not follow blindly).

    eieamwork: But though Isiah would not let others sway his opinion., he
    @idswork quite. well with his fellow classmates and always was
    l~;fif:ssional and courteous towards them.
        :,.~J ·.   . •.• , :                                                .




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?. ./ .

·[Selflessness: Isiah would frequently admit whe~ he had mis-spoken or
 ~as wrong on an exam; quiz, etc. Therefore, he did not place pride
i'at,Jead of his duties in class/his studies., which attests to his
~~lfle~s nature. Plu~, when he thought he was not observed I heard
~1~-h~lping other cadets with what the right answers were during group
:~i\ti1dy time periods, which also attests to his selfless nature and the
 if:act that he did not have to be the one to gain credit for the right
 tH1'swer when the group(s) presented the answers .
•or-t ., ...:
',,< 01,l: .

~!!hi'erpersonal Skills: As indicated in my answers above Isiah works
wells with others, actively listens, and then personally responds to
those around himi ·

-Sense of Duty: Isiah in class knew what was expected of him and
P:erformed.accordingly; he was never absent from class without official
ceas.on, and always let me know in advance where he was going to be
e\i-era ··.if he could not make class/knew when and where his sense of duty
wa·s, hegarding class.
~Appearance: Isiah always appeared for class in a serviceable uniform,
~hd,,:did not noticeably ever appear that he needed to shave, shower,
-e~t. which is not always· the ·case with some of my cadets.
;.;Potential: Based ori my time· in class with Isiah, and even when I see
ltli.m ·.now out of class/around West Point in general, he has unlimited
potential. He always takes the time to greet and talk to me when.we
~ass each other (instead of crossing the street to· avoid contact,
£taluting, etc.), and while he might not have received the highest
21:c'C1demic grade in 55374 I absolutely would be glad to have him as one
®~":my subordinates one day. That being said, I understand he is young
a<lrl.d yioung cadets can and do make mistakes (I am not entirely sure why
:hr:tis;·.·conduct board is being held· for based off of what you wrote in
Y~-~,-'e-mail). Hopefully, if Isiah is found to be in the· wrong he can
 ~a.ad-I believe will) learn from his mistake and will become a better,
'fltlrture officer for it.
 '!}r/·
 •',
         .. ·},·
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 J;?ilease let me know if you have any other questions, or would like
 ~dditional clarification.on any of the answers that I provided above.

 Respectfully,
 i~th.:_A. Mower
~AJjj, EN
 ~.··    ....                                   2



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                                      DEPARTMENl' OF THE ARMY
                                  UNITED STATES MILITARY ACADEMY
                                          West Point, NY 10996
          RULYTO
          JI.TTF.NTION O.F




MADN-EECS                                                                                     18 March·2013


MEMORANbUM F'OR RECORD

SUBJECT: Evaluation of Cadet Isiah M. Doolen, CompanyB-1, Class of 2013 ·


  1. Performance. Isiah earned a C+ (77;04%) in AY12-2 IT305, Theory and Practice of Military
  Informatibn Technology Systems. He started poorly, eammg a C, F, and F on the first three graded
  assignments, so that he had an F (57.75%) after the first 35% of the course was complete. Prior to the
'itfEB his grade was a D (69.29%). To his...-redit, Isiah applied tremendous en-ort and achieved, an A"
}(9033%) on the comprehensive TEE (82.97% course· average).

:2. Conduct. Isiah conducted himself ·appropriately during class periods. While not quick to engage
 during every class, he was always willing to attempt a reasoned. response and th.ere were times. that he
 contributed greatly to the topfo of discuss.ion.

3. ·Leadership. I did not observe his leadership ability in class room activities.

4. Team.work and Selflessness, Isiah's demonstrated IT305 teamwork was a bit below average. My only
basis to judge teamwork is from tl1e grou:p-rq,orted percentage ofeffort during the two group projects.
Teams of 3 collectively submit a work break-out per partner totaHng 100%, Assigning 33 .33% to each
member would indicate ~ual Work. !stab was assigned 20% for the firm: team project and 30% for the
second team project.                                                                                   ·

5. Interpersonal Skills. Isiah has good interpersonal skills. He displayed no difficulty interacting with
hls classmates and me during ,each class meeting.

i~. Sense of Duty. Despite his poor start, Isiah demonstrated with e-ma:il com:1nunications, AI attendance,
and suhmissiori. of an extra credit assignment, that he cared about successfully completing IT305 and was
willing to·work hard to do it                                                                         .

7. ·Appearance. Isiahpresent.ed a proper military appearance during all IT.305 .lessons.

8. Potential. I believe Isiah has the ability to complete USMA. requirements and serve successfully in the
Army as a commissioned officer.                                                ·



                                                       b1v-1~
                                                       GEOFFREY M. STOKER.
                                                       LTC, FI (FA53)
                                                       Instructor, EECS




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         me: DOOLEN, ISIAH MATTHEW                                                                                                                                                           Date: 05 Feb 13
                                                                                                        FOROFFICIAL USE ONLY-PRIVACY ACT DATA
         MAJMIIJ'Scl=n
                                                                                                                                                                                                 05 Jan 2011
         Date: Hen II NAME: Poolen, l E4.2013
         MAJOR: ComJ181111ivc Politics
         Reason for,uhmission: failed PH201
         Rccommcmlation: Retain, repeat PH201

         Potential: CDT Doolen has the potential to do well here at USMA and as an officer in the Anny. While bis maturity level has improved relative to the beginning of the
         s_emesrer, be could stand to heighten ii fur1her. !Om cermin that with a bit offocuscd effort that he OU be able 10 achieve a level ofma1Urity that will carry him far. He should
         be affimled the opportunity to repeat PH20 L                                                                                                                             ·

         Performance: End 1enn l M: ACOM-UH (5), ACOM-ill (S), COM (4), BCOM-rtn (2),BCOM-ooRtn (OJ. CDT DoolcnO~ overall performaoce has improved considerably
         since the star1 of the semester. His subordinate was • true leaden;hip challenge and be worked with him to help himO bring mos\ of his grades up. According 10 his squad
         leader be was one oftbe best Team Leaders my squad Additionally. he WBS failing multiple classes at the beginning ofthe semester and was able to pull all of them up by t\ic
         end of the semester c.'<cept for PH201.                                                                                                                                                                ··~~'1
         Conduct: Average. CDT Doolen generally conducted him.'!elfwell !his semester. While serving room restriction for an offence from AY 10-2. CDT Doolen igoorcd the rules of
         his rc.striction and bad lo be conected by his chain of commeml lo ensure he fully understood the SOP reganling room restriction, Once he was corrected he abided by the
         rules. Additionally, his ADAPT counselor provided the TAC Tm with positive feedback regarding the.ir counseling sessioos and his progress.

         Leadership: Average. Despite CDTDoolenOs academic struggles, he always fonnd time 10 work with hls subordinate who was a leadership challenge and help hiin to bring his
         Owtl grades up. Witholll CDT DoolenOs gllidllllCe and assislruJ<;e bis Plebe might ha;"' chosen to.quit or failed out onlic Academy.


         Teamwork and Selflessness: Average. One of his peers noted that CDT Doolen gets easily frustrated al others and lends to blame them for his problem.,. He complains and
         often gets so fiustral1!d that lie cannot respond to adversity well. He needs to work on bis patience, which will come wilh time. The time he .SJl"nl working with his Plebe is
         indicative of his selflessness during a time when be too Wl<I struggling.        ·

         Interpersonal Skills: Average lo Below Average. CDT Doolen has a tendency to ,;Jose himself off to tho~c who hold him a~bfe. An imm,ase in his mat1mty level. as
         noted by a peer, would ce11ainly help him to inlemct and respond to everyone in a more Rdul!-like and professional manner. A peer also noled he needs lo understand tfial
         everyone works diflerently end tlmt no one type of leadership is right. Although h~ haH1<perienced many different types ofleadership he needs to be more open minded lo
         what might not be the way he would do things.

         Sense of Duty: Average. CDT DoolenOs sense of duty with respect to his subordinate is strong. On occmrion however, he railed lo notify .his chain of command and an
         inshuctor ofllis whereabouts ifhe was not able to make a scheduled hard time.

         Appearnnce: Ave,:agc. CDT Doolen is generally an average Cade! in appearance. He did receive demerits/punishment for what his PL referred to a.s deplorable room standards
                                                                                                                                                                                                               -,,,_·1
                                                                                                                                                                                                                   ,I
         and for and -~~atisfactory uniform during an inspection. When told to correet the issues, he corrected thetn in.a timely manner.

         Major Conduct Violatio~ NONE
         Minor-None
         FLAGS D completing SLOP-A program
         RTO Cominents
         Concm with TAC... Rctain, repeat PH20l.                                                                                                                                                 05 Jan 2011
000795
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                                                       :·- ... - -······_,____ ,,______,, ___ --·-·-····.. ·--·-·-. .,,. .. ,,,_,__ _ ......,_ ---·--· 1 Search Mail I (-~:;; ~e~""':                                 n
        M:!OX            ClONTAC'fS   CALBWAA         r    RE: USMA Cadet lats...                  l
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                                     Today this morning l found an email about cadet Isiah Doolen. I hope
    ....FQHJER&··
                                      that this is not too late to write few words about Isiah.
         doctorate corresp ...
                                      Cadet Doolen was one of my student athletes here at New Mexico
         Drafts                       Military institute. I had an opportunity to coach him for one year. Isiah
                                      ran cross country and track. During the cross country season he did
         orders
                                      outstanding job. He was my second runner and leader of my team.
    ... ·APPUGATIONS·                 When    I said outstanding, I am not talking about the times or places
                                      during races, I am talking about his personality and character. He was
                                      one of the most committed runners I have ever coached. His dedication
                    Internet Expli to the sport was observed not only during sport activities, but also during
                                      his free time. To become a better runner b_esides giving 110 % during
                                      practice he really studied the science of running. He would watch
                    What you can tr   movies, read books try to do as much as possible so he could improve
                                      his running techniques and reduce his times.
                     •· You are not
                                      As a cadet. he was one of the sharpest cadets at NMMI To this day l
                                      remember his uniforms being outstanding. Every time when I saw him
                                      on the campus he was smiling and he was very optimistic about school
                                      and his future.
                                    · When l found out that he would be attending the United States Military
                                      Academy I was very happy for him and I was sure that this was the right
                                      place for him. I don't know what happen or why he is in trouble, but I
                                      believe that he deserves a second chance. I have coached and taught
                                      at NMMI for over 25 years and I realize being at Military school we must
                                       hold students to higher levels of right and wrong. l do not nor would not
                                      do this for just any student however I do believe he is worth saving. I
                                       hope this letter will carry some consideration for this young man. If I
                                       can be of any further assistance in this matter please feel free 'to contact
                                       me at 575-624-8284. Thank you for your time.

                                        Jan Olesinski
                                        NMMI Cross Country Coach

                                        ,·----......................._________ ,,____________ ,, __,_____.____ ,,__,_,_,. ___ ,_,,___,________·--··-·---..·····--·""---"·---·-·---··--·--·--·1
                                        ;iarom: tim carignan [mailto:thecarignanclan@yahoo.com]                                                                                                                   i
                                        :Sent: Monday, March 18, 2013 5:23 PM                                                                                                                                     ;
                                        [f o: Olesinski, Jan; Cunningham, Jeffty                                                                                                                                  '
                                        Cc: Timothy R MAJ MIL USA USMA Carignan
                                        'subject: .USMA.. Cadet .. lsiah..Doolen...............-....._............._, ____ ..............· .. ---·-----·-·-····--........_..............-.................... .

                                         LTC(R) Cunningham and Coach Olesinski,




    http://us-mg6.mail.yahoo.com/neo/1aunch?.rand=2b5qi93inicrf                                                                                                                                       3/20/2013

-     --       _    ..   ____________________                                                                                   ~
                                                                                                                                                                                                          000796
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Telephonic interview with CPT Elizabeth Eaton-Ferenzi at 1240 on 8 March




I engaged in a telephone call with CPT Eaton-Ferenzi at 1240 on 8 March reference CDT Doolen and his
meeting with her mid-morning that day. This unscheduled meeting with CDT Doolen and his TAC
conflicted with an appointment CDT Doolen had previously sched.uled with me to meet and further
discuss his case. According to CPT Eaton-Ferenzi, CDT Doolen met with her to try one last time to appeal
to the RTO to let him go on Spring Break. After having talked with CPT Eaton-Ferenzi, CDT Doolen
wanted to go to the RTO to plead his case, but by the time he and CPT Eaton-Ferenzi got to the RTO' s
office, CDT Doolen had changed his tune and, rather than plead his case for Spring Break leave, he
reiterated to the RTO that he was working hard to make things right (or something to that effect).

CPT Eaton-Ferenzi indicated that CDT Doolen has made a series of mistakes in quick succession in
January that really led him to the conduct investigation. She stated that CDT Doolen still has a lot to
learn to be a successful leader in the Army. She was obviously frustrated having committed so much
fime to assist him in his development yet h                         anner unbecoming of a Firstie.




                                                  Investigating Officer




                                                                                                          000797
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 SFC Rowley phone call on 3/18/2013 at 1540




· SFC Rowley stated that CDT Lauren Heiliger came to him to let him know about CDT Doolen's difficulty in
' meeting the SN supply suspense (as described in the 11JAN2013.Company board). SFC Rowley then
. ·stated that CDT Heiliger again reminded CDT Doolen to get the task done, but it still did not get done.
 SFC Rowley then decided to speak with CDT Doolen about the suspense and highly encouraged him to
 get it done. The next_ day SFC Rowley· reported that CDT Doolen stated that the computer program used
 to meet the suspense was down (not working) ... which led to his company board. SFC Rowley views CDT
 Doolen as irresponsible when faced with meeting suspenses and. often pushes blame on otherswhen
 things go wrong for him. SFC Rowley further states that CDT Doolen is driven by emotions and "flies off
 the handle" rather than dealing with difficult situations calmly .. SFC Rowley states that over his 5 months
 of experience in interacting with CDT Doolen that CDT Doolen goes through peaks and valleys of
 ~motional outbursts. Lastly, SFC-Rowley feels that CDT Doolen is hot a lost cause, but that CDT Doolen
 heeds more development such as entering irito a mentoring program, more anger management training.
 SFt Rowley also recommended CDT Doolen be placed in a new leadership position (supervised) that
 would require him to daily work and interact with seniors and subordinates i.e. Pit ldr position. SCF
 Rowley recommends this occur over the ·summer of during the Fall of 2013. Once development is
·· shown, CDT Doolen could graduate in Dec 2013.




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    SFC Daniel Boudreau phone call on 3/21/2013




    SFC Daniel Boudreau was theformer Building Commandantfor lee Barracks. At the change of the
'                                                                            -··   .
_semesters between Fall 2012 and Spring 2013, SFC Boudreau relinquished the role to the Bl TAC.NCO
·. SFC Kellen Rowley. At the time of the 11 January 2013 failed Battalion suspense by CDT Doolen, SFC
    Boudreau was still in the process of training-up SFC Rowley as his replacement. When CDT Heiliger came
    to SFC Boudreau to guidance, he told he to write CORs on the two company·supply officers who failed to
    meet the suspense. SFC Boudreau had no direct contact with CDT Doolen about the incident aside from
    attending his Company board about the issue. I talked with SFC Boudreau about the Al company
    punishment for their supply officer who had failed to meet the Battalion suspense ·like CDT Doolen. Al
    TAC leadership gave CDT Gunselman a Cadet Observation Report and 5 demerits for his failure to meet
    .the Battalion suspense in 11 January 2013. SFC Boudreau also gave positiv~ character reference of CDT
    ?unselman stating. that he was a good and r.eliable cadet and that CDT Gunselman had exhibited no ·
    other conduct anomalies, either behavioral or supply-related, prior to the incidentor since. I attempted
·: to contact MAJ James McGee, Al TAC Officer, but he was in the hospital and then placed on two weeks
. quarters. I felt that the information provided by SFC Boudreau waqufficient to.help me make               my
,.c\lecision regarding CDT Doolen's challenge.                     ...                 ,/   l   ·

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                                      -~--~.,,.,___._..,~-,,_._.-~.......-

                                                            MAJ Tim Carignan
                                                            MAJ, Ml
                                                            Investigating Officer




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 Telephonic interview with Mr. and Mrs. Carl and Connie Doolen at 1430 on 13 March 2013

 I called CDT Doolen's parents and ended up speaking with his mother mostly. His· mom has 39
 year in civilian federal service of some kind. She is in charge ·of 600 personnel division at her
 work. Neither she nor her husband has any military service, but Mrs. Doolen spoke highly of
 their rich family heritage of military·service (CDT Doolen's uncles, grandparents, and some
 other relatives) and how this service inspired CDT Doolen to also serve his country and extend
 the family legacy of military service. The questions below were posed to his mother during the
 phone conversation.

· -What was Isiah interested in growing up? Sports? Activities?

 Mrs. Doolen stated that CDT Doolen was always. very interested in running and that he did high
 school track and cross country, and competed regionally and in state-wide competitions.
 CDT Doolen attended a military high school high school and then two years junior college at
 New Mexico Military Institute (NMMI). He was very active in leadership and served as a master
 ofphysical fitness; he really enjoyed NMMI. One week away from commissioning from NMMI
 CDT Doolen determine that he was still not ready to commission and instead elected to attend
 USMA (via USMAPS), According to his mom, he would have been the distinguished mHitary
 graduate at NMMI decided to graduate there.

   After answering this question, Mrs. Doolen extemporaneousJy started discussing why she
   ihought CDT Doolen was having difficulties. She stated thaf when he had to move from
   Company E4 to BJ, he started having more difficulties. She indicated that the company change
   in leadership was difficult for CDT Doolen to take. She stated that CDT Doolen has historically
   had a hard time coping with change. She mentioned that he can be impuJsive during training and
   that he has been working in this military-type setting for eight years. She stated that when he
·· went to CLDT, the real Army, that he finally felt comfortable and fit in and performed very well,
   but that the process of getting through US MAPS and USMA was wearing on him so close to the
   finish line.

 -How is his relationship with both mother and father? Brothers?

 Mrs. Doolen considered CDT Doolen an "only child''. from a close-knit family. His next oldest is
 9 yrs older and he has an older brother in his 50s .

 ..Have any of these relationships ever or recently been significantly strained?

  There has been no recent significantly disruptive activity in his -immediate family to cause him to
  have this recent stint of misconduct. However, his mother shared with me that.his girlfriend of
 ·five years just broke up with him in January. His mom stated that the relationship was very
  serious and. that CDT Doolen and his girlfriend had once be engaged. The break-up hit CDT
  Doolen very hard. Mrs. Doolen stated her son has been dating his current girlfriend, CDT Natalie
  Daly, for 3 months.              ·                                                              ·




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~How would you characterize his character or demeanor as a teen, while at college, at prep ·
school, and at West Point and has there been much change between these timeframes?

Mrs. Doolen stated she noticed that her son lost his focus when he went to USMAPS and
USMA. She said that he had certain expectations for both USMAPS and USMA and that his
experiences at both institutions did not equal his expectations. This has tainted his perspective on
preparing for military service; in her opinion.

~Is there anyone you know of locally who could talk with   me about Isiah? Maybe a coach or HS
teacher or other mentor?·

Mrs. Doolen gave me the names of two folks from NMMI, Professor Hensen and a retired CPT
Stiles, who was in charge of prep program at NMMI. Both of these individuals are no longer on
the staff at 1\!MMI and I could not find these personnel to contact them.

Mrs. Doolen is obviously concerned about the results of this CI and stated so to me. In an effort
to show her concern further she stated that her son would not be able to survive it if he had to
stay until December.

fi:er last comment to me was one that indicated her bellef that her son would always be the one to
''defend of the underdog" regardless of                       the would always jump to the
defense of the weaker.




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Telephonic interview with LTC (R) Jeffry Cunningham, PMS at New Mexico Military Institute at 1300 on
19 March 2013




                                                        , l engaged in a telephone conversation with
Given his name as a character reference from . CDT Dool~~,
LTC (R) Jeffry Cunningham, PMS at New Mexico Military lr\stitute (NMMI) at 1300 on 19 March 2013.
Admittedly, LTC(R) Cunningham was a bit off guard and had to take a minute to recall Isiah and his
actions and performance there. He stated that CDT Doolen did well academically and thought he was _in
the. top third of his class (this is in direct contradiction of Mrs. Connie Doolen's and CDT Doolen's
testimony that he would have been the distinguished military graduate had he commissioned out of
NMMI). LTC (R) Cunningham mentioned too that CDT Doolen had decided not to commission out of
NMMI, The next part of the conversation was started with Fl statement similar to "in order to be
                                                              ~     .                            .
completely honest with you, I need to be honest with you:" I really did not know what to expect from
that statement. But as LTC (R) Cunningham continued, ~i·gave details about "a bit of trouble" that CDT
Doolen had gotten himself into. He explained that CDT otolen, while at NMMI; was involved in whc1t he
termed as "alumni chatter" regarding the retired Navy Admiral who was serving as the Superintendent
of NMMI at the time. The gist of the comments was that the alumni were nqt keen on this Navy Admiral
as the Supe. LTC {R) Cunningham then went on to state that CDT Doolen had "jumped on the
bandwagon" online with this alum and with the statements made against the Navy Admiral. CDT Doolen
was counseled by LTC (R} Cunningham for his participation in this activity. At this point, LTC {R)
 Cunningham wanted me to clearly understand that this      was due to Isiah's youth and inexperience and
 then statement something to the effect that "we all-made some dumb mistakes when we were young."
 He then stated that C'j.lT Doolen had taken the situation even "further by bringing his .counseling
 document_ation to the alumni group and that this information was posted online and subsequent
 comments were made. LTC (R) Cunningham stated that the results of this further activity was that the
 NMMI Superintendent ordered a 15-6 investigation into the entire event, citing potential undue
 influence and inappropriate counseling on the part of LTC (R) Cunningham. The LTC was ultimately
 absolved from the case.   He lastly indicated that this was part       f the reason why CDT G>oolen did not
· commission at NMMI, a claim that CDT Doole




                                                    MAJ,MI

                                                    Investigating Officer




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          Personal interview with CDT Lauren Heiliger, BN S4 Officer, at 1251·on 19 March 2013

          CDT Heiliger indicated that she had sent to her Company Supply Officers the time to update the
          battalion maintenance tracker on editgrid.com some five days before the suspense date. She shared
          that one features of the editgrid program is that if one user (a company supply officer or NCO) is online
          and working in_ the program, the rest (all other company supply officers) are locked-out until the logged
          on person logs out of the program. For this and other reasons, suspenses are given days in advance to arr
          time for company supply o~cers to complete their mission         of meeting the suspense. She also shared
          that the program shows which user fs logged if you try to log on but you find the system locked. She
          indicated that CDT Doolen could have simply gone to the person who was logged into the program and
          asked them to log out so that he could get his work done. She stated that she sent three reminders to
          CDT Doolen specifically about meeting the BN suspense. Since she could not get.in touch with CDT
          Doolen after repeated atterf!pts, CDT Heiliger coordinated with CDT Bartkowski to try to help him get it
          done. SFC Boudreau was acting BN TAC NCO at the time. CDT Heiliger explained th_e situation to him
·~             d SFC Boudreau also tried to et into contact with CDT Doolen but could not SFC Boudreau then


          Battalion suspense, Companies Al and B           She did this. She let me know t at er recollection of the




.• l . ~'\ ,,p•\
          incident above is the est          at s e can remember, and that in general terms, a responsible, proactive
          company leader would have had enough time to get this suspense completed by the due date .




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Personal interview with CDT Ashli Carlson, Bl Company XO, at 1351 on.19 March 2013

CDT Carlson cites two issues which led to CDT Doolen failing to meet this battalion suspense: 1) a
failure. to update superiors on the lack of progress in trying to complete the mission until after the
fact, which left them with. little flexibility, and 2) a general lack of responsible and failed basic
leadership. She did indicate the his overall performance as the Bl Company Supply Officer was
average to above average at Qest, but that missing this suspense was not indicative of a senior cadet
in a lead role. She attributes part of the Bl success, however, to her self-interjection into the
company's supply process to ensure task completion...: more than she has to do for other
companies, and more then she thinks she should for Firstie in this position and for a leader two
months from becoming a Second Lieutenant. Lastly, she assesses that CDT Doolen quite often thinks
and acts "in the moment" and does not reflect on or consider of the effects of his actions long-term-
a statement CDT Doolen has even admitted to himself.




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                                                     DEVELOPMENTAL COUNSELING FORM
                                              fQr us~ of Uris form, see   FM s-22: the proponent agency is TRAooc.·
                                                      DATA REQUIRED BY THE PRIVACY ACT OF 1974
AUTHORITY:                     5 USC 301, Departmental Regulations; 10 USC 3013, Secretary oftheAITlly.
PRINCIPAL PURPOSE              To assist leaders In conducting and recording courn;ellng data pertaining to subordinates.
ROU11NE USES:                  The DoD Blanket Routine Uses set forth at the beginning of the Anny's compilation or sysU,ms. or rai:ords notices also
                               a~P,lY to this system.
DISCLOSURE:                    Disclosure is voluntaiy.

                    --
Narne {Last First, Ml}
                                                               PARTl •ADMINISTRATIVE DATA


                                                                                               IRank/Grade.               I
                                                                                                                          Oete of Couneellng

                    -                DOOLEN, ISIAHM.                                                    Cadet                    04 February 2013

                                                                                         l
Organization                                                                              ·Name anc! Tille of Counselor                            ·
Company B, 1st Ret'         _)1tt,   United States Corps of Cadets                        EATON-FERENZI.El..JZAJ3EniS., CPT /Bl TAC Officer
                                                          ·PART 11 • BACKGROUND INFO~ATION
                   ·--
·Purpose Qf Counr.olin . (Leader states the reason for the counsellng, e.g. Performance/ProfessionBI or Event-Oriented counllElling, snd Includes
the Jea:ditr'f/ facts E!fl::/ C ; 'Vations prior to the coun~.}
l!vent-ciriented c:ouu '; :ng: Exceeding 6-month demerit limit




                            ___________P_AR
                                         ___t_t_D_-s_u_M_M_AR_'Y_O_F_CO_U,...N"'·s-EL-IN_G
                                                                                         _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __...


                    -
                                          Complete this eectlon duii11g· or Immediately subsequent to counseling.
Key Points of Dis.cuss,
.Purpose ofCounseli         , Conduct Investigation notification

You currently ha~e 1 :.:merits, which exceeds the 6-month demerit limit for your olass and grade. This automatically triggers a
conduct tevii,w imd 1 ,ibfe conduct investigation as per USCC Regulation 35M.

Yom continued pntt, · . of misconduct has beffl indicated by multiple negative CORs. Article 10 boards, and inatten'tion to detail or
ability to follow in:;t ctions.




                      -
        This form v. I b(
                              ---------------------------------------,OTHER INSTRUCTIONS
                             · ::royed upon: reassignment (other then rehabllitaflve transfers), separation at ETS, or upon retirement. ForG!!parallon
                               requirements and notfflcation Of loss of beneffts/conaeq.uences ~- local ~ and~ 63s.200.

 DA FORM 485•;, A :; 2010                                       PREVIOUS EDITIONS ARE OBSOU:TE.                                                  APO PE YI.OOES




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 J>la.1.'1 of Action. (O,n i. -~s a~lioos th.at the subordinate will do after the counseling session to reach the agreed tlpOII goal(.s). The actions must be
 specific enougti to m·,. '1 or maintain the suborainate's behavior and include a apecffled time line for /mp/emeniatlon Qfl(I esseument (Patt JV below)
An MFR will be Sl: 1· i'iitted. from the TAC Team to the R'IO recommending a Conduct Review for exceeding the 6-month demcrlt
limit. This may rt·~::'! io. a Conduct Investigation. Ifso, I highly suggest you delve into 351-1 on the Regulations and Discipiine site
to read yotir right~.




  Session Closing: (Tlit leader summarizes the key points of the session and check$ if the subordinate understands the plan of action. The
  subordinate agi'easlditc ; ·ees and provides f8marlcs if appropriate.)
  Individual c:ounseied:
  Individual couhselad re-, ,arks;
                                       r:!};jJ.J.
                                   agree                        O diaagret" with· the information above.




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  Leader Responsibifftic s: (Leader's rsspons/billt/es In implementing tht!,-plen of action.)




  Slgnatura ot Counse•, •

1------ -·-                                           PAR.T IV• ASSESSMENT QF THE PLAN OF ACTION
  AssNsmerit: (DiCJ the ~,l of adion achieve the del!irad results? This section Is completed by both the leader and t/19 lndfviduat counseled
  and provides useful irJfo ration for fol/ow•up _C{)unsellng.)




.._   ____
   Counselor:
                      ----
                                   .. ----------------------------------~
                              ______
                                 -------                             Individual Counseled:   ' - - - - - - - - - - - Date of Assessment




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                       ....._.
                      Note:          B,,, the counselor and the individual counseled should retain a record of the counseling.                                     I
   REVERSE,.DA FORM                        ·:sli, AUG 2ll10                                                                                           APD PE v1,DOES




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                                                                                                                                                                       -
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                                                          DEVELOPMENTAL COUNSELING FORM
                                                  For use of this form, see FM 6-22; the proJ)Onent agency is TRADOC.
                                                           DATA REQUIRED BY THE l'RIVACY ACT' OF 1974
 AUTHORITY:                          5 USC 301, Departmental R119ulallons; 10 USC-3018, Sectetary of the Army.
 PRINCIPAL PURPOSE:                  To assist leaders in conducting and recording coun~ling data pertaining to subordinates.
 ROUTINE USES:                       Tl'le DoD Blanket Routine Uses set forth at the be9inning of the Army's compilatlon of systems or records notic,es also
                                     apply to this system.
 DISCLOSURE;                         Dlsclosl.!re is "'.OIUnlary.


 · Name (Lttst, First, Ml)
                                                                   PART I -ADMINISTRA;TIVE DATA
                                                                                                   I RankfGrade              IDate of Caul1llfllin9

 Organi:cation .
                                        DOOLEN, ISIAHM.

 Company B, 1st Regiment, United States Corps of Cadets
                                                                                             I               CMet
                                                                                              Name and TIiie of Counselor
                                                                                                                                        28 January 2013

                                                                                              EATON-FERENZ!, ELIZABETH S., CPT / Bl TAC Officer
                                                   ·PART D • BACKGROUND INFORMATION
 Purpose of Counseling: (Leader states the 188SOn for the counseling, e.g. PertoTfn8!1oelProfessiansl or Even.t-Onented counseling, 81/d ino/ucles
 tile leader's facts end observetions pr/orto the cqunseling;.)
 Event-oriented counseling: pattern of behavior and lack of discipline within the first 3 weeks ofth.e 13-2 Academic Year at USMA
 l. missed S4 suspense given by BN S4 (llJAN) - COR &. resultant Company Board
 2. missed BRADSO signing suspense given by MAJ Cheatham; Annor branch rep (1 OJAl\1} OR & resultant summarized Company
 Boati:I
 3. wrong· 'i.irtifonn; sweater as on the spot corrected by the Commandan\ an~ 1st REG RTO (lSJAN) •. verbal counseling
 4. cadet (femi!.le) in bai;aoks rooin. without door open; OCffAC Officer caught this (061AN) - verbal' couns~
 S. unexcused absence from class (06JAN)
 6. out after TAPS while on restriction (20JAN) - BN Board pending

                                                                 PART 111- SUMMARY OF COUNSEL.ING
                                              Complete this section during or lrnmelllately si,lbsequent to .c:ounseling.
  KIi)' Point'II   of Discu,111on:
 Purpose of CounseU1.1g: Review your c;,omluct and behavior from the PMt three weeks. Review the expect.at.ions of you as a Carlet
 and fut11re Leader. Additionally, discuss upcoming r,otentiai repurcussions and consequences of your cond\)ct. ·

. Your pattern of conduct has resulted in a series of Company boards; 2 x. summariz.ed, 1 x ComJ?any grade. You have received several
  walking hours and demerits as. a consequence. Your latest inti'aotion happened on 20 JAN end you are awaiting a BN Board, Yo\ir
  BN board is for being out after TAPS. You were and arc flagged (meaning you are at a loss of privileges as per the USCC SOPf ·

 You currently have 60 demerits. 72 demerits is the maximum number o.f demerits that if you are at or exceed, automatically
 triggers a conduct, investigation. The maximum punishment for a BN Board is 30 demerits, 30 walking hours,. 30 days. withdrawal of
 privileges, and '30 days restriction.                                                                                   -
 Bottol,'D Line; Your behavior and OQnduct has been unacceptable. As a Firstie, you should be setting the example of what right looks
 like in actions, words and deeds.

 Areas of Focus for Expectations of an Officer:
 Leadership; BE, KNOW, DO. Set the example for others to follow
 Time management
 Taking ownership for any issues that a.rise individually or with your unit
 Communication with your chain of command; _'including meeting suspense dates




                                                                          OTHER INSTRUCTIONS
           This fom\ "'111 be destroyed upon! reaS8ignment (Other than rehabllltatlve transfer$). separation at ETS, or upon retirement. For separation
                                raqui111ments and notification of loss of benefitalconsequences see loeel dli:ectives and AA 635-200.

  DA FORM 4856, AUG 2010                                             PREVIOUS EDITIONS ARE OBSOLETE.                                                    APO Pe v1 .ooe:s




                                                                                                                                                         000807
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Plan of Action (Outlines aclions that the subordinate will do aflerth& cxiunseling aess/ori to maeh the agreed upon goal(s). The actions must be ·
specific enoug/1.to modify ormalnhlJn the subordinate~ behavior and Include a specified time l!1Je for Implementation 11nd asseument (Part IV below)
NLTOS February 2013 complete the following (tum in a 3 to S page typed documenttotheTACTeam):.

1. Answer the question - what does talcing ownership of your actions and responsibilities as a leader mean to you?
   - How do you perceive your role and responsibilities as a Firstie?
   - How. <\,you perceive your role and responsibilities as the company S4?
   - What does taking ownership of your roles and responsibilities look like? What actions are manifested?
   - Have you ever bad to lead a subordinate who did not take ownership oftheir actions? If so, how did you react to them? What
was your perception of them as a Cadet and a leader?




Session Closing: (The leader summarizes the key points of the .session· /Jlld checks If the suborct/nstrt understands the plan rJf ea/ion. The
subordinate agrees/disagree, end provides remarl<6 If appi'opriele.) ·                                                         '

Individual counaeled: ~ -
lhdMdual counseled remarks:
                                          D disagree
                                                ·
                                                     with        the Information above.




 S~ature of lndhlidual Coun~:             -2~.=·===-L0!::.~t2:::::=:'.::"=:-=-::______                                 0ate:




 Signature of Ccilll)&alor:

                                  /                   PART IV •ASSESSMENT OMHE             PLAN OF AbW)N
 Asses~ (Dlfl the plan of         action achieve the dN/red results?       Tht~an fs completed by both the leader and tile Individual oounseled
 and provides useful informalfon for folloW:--rJp counseling.)                                 .                           .




 Counselor: _ _ _ _ _ _ _ _ _ Individual Counseled:
                                                                            - - - - - - - - - - Date of Assessment


             Note: Both the counselor and the individual counseled should retain a record ofthe·counselin9.

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                                                  DEVELOPMENTAL COUNSELING FORM
                                          For use ofthi_s form, see FM S-22; the proponen~ 11g!lney is TRADOC,
                                                   DATA REQUIRED BY THE PRIVACV ACT OF 1_974
 AUTHORITY:                 5 USC 301, Departmenla! Regulations; 10 USC 3013, Secret111y of the Army.
 PRINCIPAL PURPOSE:         io assist leaders in C?Onducting and recording counseling data perteinlng to subordinates.
 ROUTINE USES:               The DoD Blanket Routine Uses set forth at the beginning of the Army's compllatlon of sysi&ms or records notices also
                             apply to thls system.
 DISCLOSURE:                 Disclosure fs voluntary.


                                                                                                                    I
                                                        PART I • ADMINISTRATIVE DATA
 Name (Last. First, Ml}                                                                      j Rank/Grade                 Date of Counseling

 Organization
                                DOOLEN, ISIAHM.

 Company B, 1st Regiment, United States Corps of Cadets .
                                                                                     I           Cadet/2013
                                                                                      Name and TIile of Counselor
                                                                                                                                    22 JAN2013

                                                                                      EATON-FERENZI, BUZABETH S., CPT I Bl TAC Officer .
                                                                                                                                        .


                                                          PART II • BACKGROUND INFORMATION
 Purpose of Counseling: (Leader states the reason for the counseling, e.g. Perfonnance/Pro~/onal or Event-Otiented counseling, and lnG/udN
 the leader's tacts and obsefvations prior to th& counseling.)                           ~




 • Initial counseling Spring Tenn (First Classmen): expectations and areas of focus
 • Graduation and Commissioning: requirements and e~ectations




                                                        PART RI• SUMMARY OF COUNSELING
                                      Complete' tills section during or lmmedlataly $.ubsequent to counnUng. .
  ~ ~ o f Discussion:
 As a i\ltlll'e officer~~ U!l#ed States Anny, I expect you to start trunking like an officer' now. That. means-planing ahead end
 trunking abot¢2nd, 3rd, and 4th order effects- of decisions you make. You have less 1han S months remahiing·at j:he academy. Know.
 and be the standard. Woi;-k hard, be safe, and have fun.

  As the Company S4 you are in charge of logistics to include rations; uniforms, maintenance, and resour-cing the company to name a .
· few. This job can be as impactful to the Company as you make it.

  Non-Negotiables:
  L Cominimi.cation and Accountability -'ensure you are copmtunicating with your CoC. Use f!.ppropriate tools to sign in and out.
  2. tive an honorable life; integricy, ca4et honor code, doing the right thing even when no one is·looking.
  J: Treat everyone with dignity and respect; golden rule, zero toleration for hazing,
  4. Study' like your fife depends on it; time DJlll]agemeD.t, utilize resources, ask for help whea/ifneeded.
  s. Adhen: to and ei$r.ce standards; unifonn and appeiltali.ce. rooms, customs and courtesies.
  ~- Have a positive attitude; approiwb. each challenge with a "can do" attitude. Your subordinates will mimic you.
  7. Discipline and Fitness; take ownership. of your physical. :fitQess, be disciplined. set goals, track your progres~ and ensure you
. push yourself daily in Y.Our workouts. DO NOT LET nm IOCT, APFT, or AWCP come between you and graduation/commissioning.
  You have additional privileges as Firsties, but yo'IJ are still responsible for your physical. fimess.
  8. Read and be intimately familiar with the USCC SOP, USMA Policy letters, and rule$ and regulations of the Academy.

 It is your respollSl"bility to be professional, timely in your assignments and taskr.s, and have a great Firstie year, I charge you wjth
 training ?\le ~ s and Yearlings tQ ~ssfully take the reins after your departure. i also charge you witb. leav,!ng the ~mpany in a
 better state than when you an:ived. Ensure you pay close attention to the sensing session conducted in the Fall and put a plan of
 action into motion ti> help assuage some of the problem areas and reinforce the strong areas.
                                                                                                                     ,'
 we·will meet in person at. least once a sem~i: for more in-depth and personalfaed counseling.




                                                                  OTHER IN.STRUCTIONS
        This form will be destroyed upon: niaAlgnment (othar than rehabJJltalfve tr&n$1'e/'$), separation at ETS, or upon retirement. Fer separation
                            raquiremems and notification otloss otbenefflll/consequences see locel dlrec;iive& and.AR eas.200.

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                                                             .
Plan of Action (Outlines actJons that the aubordinete wHI do affer lhe counseling sessf.on It> reach the r,!llff(i upon goal(a), The actions must be
spr,ctfic er,oug,x to modify or mBlntaln tl:te subOntlnete's lJehevfor and Include B specified time line for lrripl6mentatlon and &$Se$Sln8nt (Part IV below)
NL'.I' 01 March 2013. ~m.plet-e the following (turn in a typed docum~t, double..$J>aoed, 12 Times New Roman font, no iess than 1
page. no more than 3 pages):

1. A list of strengths and weaknesses (sho~d have a minimum of two in each category) and a plan of action to reinforce strengths
and to work on your weaknesses ..

2. Write down what you have e.Qjoyed most about USMA as well as one thing you have struggled with or disliked.

3. ldentlfy oae area you're unsure about reg~ding entering active duty service an~ also. identify what you ~ most looking forward
~                                                           -            .                                     .


4. Describe the wa~ in .which you haye grown and ~eveloped the most while he at the Academy; what area(s) did you grow in
(moral1 physiqal, academically, maturity). and who helped you .the rnost {professors, coaches, TACs, your peers)? How has that
impactc;d the type of leader you have become and ·hope·to be when you enter 1he officer profession of ~e United States Army?




 Seesron Ci°*ing: (The Jeeeitir summarlzes the key points of tne session ·end checks if the subordfriate understanc:18 tire plan of action. The
 BUbotriinateagree~s l!llld providSs remarlcs if appropriate.)
 lndMdua.l counseled:      "1&.J ·I agree Q         ~sa9ree 'hi~ tl1e lrifonnation above.
 lll(frvidual oounse~ ttllnliifk!I:




                                                                                                                          lil~.:

 l,.c!ader !bisponsfbltltles: (Leadei's·TNponslbllltiea In Jmp/emeriting the plen of er::tion,)




                                                                                                                          Date;        .'J ? .A - ·- ;,,j ,n ~
                                        1                 PART IV• ASS1i!S$MENT OF THE Pl.,AN OF ACTION                            •
 .Asnssment: (Did the pkm of fJCtion achieve tlut dsslred ,esu/ts? This lleCfion la completed by both the leader Bnd /he lndNiduel counseled
 and prt:Nides useful information     for   folloW-up tounSBllng.)                                                                            .




 Counselor; _ _ _ _ _ _ _ _ _ lndMdual Counseled:                            _ __;.._ _ _ _ _ _ _ Date of Aasesament



              Note: Bo~ the counselor and the l_ndividual counseled should retain a record of the counseling.
 REVERSE, DA FORM 4856, AUG 2010                                                                                                                       APO PE \11.001:S




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                                                    OEVELO.PMENtAL COUNSELING FORM
                                            For use of this fo"!'l, se~ FM fl.22i   the J?ropon~t agency ls TRAOO(?.
                                                     DA.TA REQ~ BY THE PRIVACY ACT OF 1974
 AUTHORflY:                    5 USC 301, Departmental.Regulations; 10 use 3013, secretatY of the Army.
 PRINCIPAL PURPOSE:            To assist leaders in conducting and recording counseling data pertaining to subordinates.
 ROUTINE USES:                 The coo Blanket Rr>utlne Uses set forth at tt,e beglrmlng of the Amy'& compilation of systems or records notices also
                               apply to this system.
 DlSCLOSURE:                   Disclosure ls voluntary.

 Name (Last, First. Ml)
                                                             PMT 1• ADMINISTRATIVE 04TA
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 Organization
                                  DOOLEN, ISIAHM.

 Coi:npa.ny B, 1st Regiment, United States Corps of Cadets
                                                                                          I             Cadet
                                                                                           Naine·and ntte of Counselor
                                                                                                                              17 Dece~ber 2012.

                                                                                                                              S.,
                                                                                           EATON-FERENZI, ELIZABE'IH CPT 1Bl TAC Officer
                                                 PARTU•BACKGROUNDINFORM.ATION
 Purpose of Counseling: (!.Bader states the rea60ll tprthe coun$81/ng, e.g. Perfon:nance!Profe8sional or Event-Oriented counseling, and includes
 the /eader'e facts and obseivatlons prior lo the COUn$Sling.)
 Event-oriented counseling: pattern ofbehavior and lack of discipline

 L missed ~andatory 1.unch formation on 10. December 2012

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                                                                            '
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                                                              PART Ill• SUMMARY OF COUNSELING
                                        Complete tbls aei:tlon during or Immediately subsequent to counseling.

 Key· Pol~ ·of. DisC11S$IOn:
 Pl,fq)os-e of Co.W1$Cling; l_leview the e'.xpectatio~ of you a& ft Cadet r:egatd.ipg ma,ndatoey forinati.otls and evc¢.9. You did, not-attend
  rpa:ndaloi:y lunch :formation on 1ODecem.Qer 2012. You have been late in the                   past
                                                                                       tb fpnnation and Y-Olll' Chitin of Commana has
  ltdd?$sed it with you. This time you are receiving a summarized Article 10 from your Tactical Officer; 5 demerits ancU!SeXt(a-dufy
. {hours.). You are already flagged, with lo!is of privileges as a result ofyour·academic performance

 As a Cadet, not showing up to mmdatozy formation is unacceptable. As a Firstie, you should be setting the example of what right
 looks like in action$, words and deeds. This jncludes being at the right place at the right time.

 Non-Neeotiables as per your initial counseling included:
 L.. Communfoafion an() Accountability - ensure you are communicating witp your CoC. Use appropriate tools ~ sign in and out.
 2. t.ive an bonorahre· lift:; integrity1 cadet flc;mor oode, do:i:ilg the right thing even when n~ one is looking.
 ~- 'rreat, lM!ryane with w.gni;y and tespect; golden rule, 7,eto toleration for b.azi.pg.          ·            ·
 4, Study like y0ur life depends on i4 time-DUtllll&,WlClit, utilize resources, ask for help when/'ifneeded.
 5. Adhero to 111!,d enforce sandards; uniform an~ app-eanmce, rooms, customs and courtesies.
 (j. '.!{ave a positive attitude; approach each challeff$e with a ~(lall do" attitude. Your subordinates wiU mimic you.
 7. Discipline and Fitness; take ownership of your physi~al fitness, be disciplined, set goals, track your prt>gress, and ensure you.
 push yourself daily in your workouts. DO NOT LET. THE IOCT, APFf. or A WCP· come betw~n .you and graduation/.commi.ilsioning.
 You have additional privileges as Firsties, but you are still responsible for your physic~! fitness.
 8. Read and be intimately famil!ar with the USCC SOP, USMA Policy letters, and rules and ~gulations ofthe Academy.

  .Areas ofFoous for Expectations ofan Officer:
  Leadership; BE, KNOW, DO. S¢ the example for others to follow
  'lime.management                     ·
· Taking ownership for any issues that arise individually or_with your unit
  Communication with your chain of command; including meeting suspense dates




                                                                      OTHSR INSTRUCTIONS
        Thi$ fonii will be destroyecl upon: reassignment (other than tehabilltative transfers), separation at ETS, or upon retirement. For separetion
                              requlramenta and notlficallon of loss Of benefitlllconsequences aee IOcal diNICtivee and AR 835-200.
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        Plan of Action (Outl/MIS action:, that the suborclfnate will do after the counseling 8eSSion to reach the egreed upon goal(s). The aeuo,,s must be
        sf)$Clfit? enpugtr.t~modlfy or maintain the suborclfnate~ behavior and includes. spfldfi~ time lirte for lmplamentetlon and assessment (Patt IV belov(}
        NLT 21 December 20.12 complete the following (tum in a typed document to the TAC Team):

        1. 2 page paper as to what type of leader you hope 'to be as a 2LT in the United States Anny. How do discipline and timeliness tie
        into that on an individual basis and as a unit?




         -Sesillop CIQfllng:
                          (The l~c,ier llummsriz,s ilia kcty pair/ts otthe sent@ and Checks it the subOl'dinate umlerstands (tie plan of ection. The
         sllblmlimite agrees..tii~ and provides nimams ff app,opriam.)            .
         ln~al cou.nse18'l~ I agree                O dfsagcee wltt,. the infol:mati;n above.
         lildlyiduaf counselec:1 remarks:




                                                                            . r h ~ - .- .. ~ -                               [).ate:
         L:aadar RDSppilstbftlttn: (Leader's respons!bllftfes In Implementing the plan af scl.irm.)




         Sl9nak.lre of Counaelor:


         Asseaament: (Qid the i,lan of aC/,tipn achieve the !iff/red rvsutts? This uctlon Is completed by   both the leader end tJie indivfdus/ covnssled
         and provides useful lnfoqnation    for follCWHJp counli&ling.)          ·               ·




         Counselor:
                      ---------                          lndhridual Counseled:
                                                                                 ----------                       Date of Aaseumant


                      Note: Both the counselor and the individual counseled sh91,lld retain a record of the counseling.

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                                                      DEVELOPMENTAL COUNSELING FORM
                                           For use of this fonn, see FM 6·22; ihe l)rcponent a~ency_ls 1RADCC.
                                                          DATA REQUIRED BY THE PRIVACY ACT OF 1974
 AUTHORITY:                  5 USC 301. Departmental Regulations; 10 USC-3013, Secretary of the Army.
 PRINCIPAL PURPOSE:        · To aGisl leader& in conducting and recording counseling data pertaining to subordinates.
 ROUTINE USES:               -The OoD Blanket Routine Uses set forth at the beginning of the Anny'$ compilation of systems or records notices also
                             apply to this system.
 DISCLOSURE:                 Disclosure is·voluntary.


 Name (Last, First. Ml)
                                 DOOLEN, ISJ:A$ M
                                                                PART I • ADMINIS1RATIVE DATA


                                                                                             !
                                                                                                Rank/Grade ·
                                                                                                       2013
                                                                                                                       IDate of Counseling .
                                                                                                                                     19 NOV 12
 Organl~tfon                                                                           I Name and 11tle of Counselor
 COMPANY B-l, USCC                                                                     !EATON-FERENZ~EIJZABETH,CPT/TACOFFICER
                                                             PARTII-BACKGROUNDlNfORMA.TION
 Purpose of Counseling: (Leader states the reason for the counseling, e.g. Performance/Professional or Event-Oriented counseling, end includes ·
 the laaaets tacts and observations prior to the counselln/1.)                                                                      ·
 Notification of Academic Program Deficiency. 10 Weok Grade: Fin EV450 and SS377




                                                              PART'lil. SUMMARY OF COUNSEU~
                                       Complet.e this section during or immediately subsequent to_ coun~ellng.
 ~Polnts'of ElJscuss11111:                                               .                  .
 You are. past the 10 week point for academics, this means that           any failing grades will result in an Acadertnc }:lag and reduction in
 carrent privileges.                          ·       ,                      ·

 You. should notice a flag appear on your CIS (within the next 24-48 hrs). 'i.1te restrictions wifh this :(lag are as follows:

 Your passes are now restricted. You are no longer able to take pass (to incl~de walking privileges) in accordance wifh the USCC
 SOP.

 Special Passes will only be allowe4 under emergency comtitions.

 'Y'ou no .longer have Ol>Ps.

 You will also have to comply with- the Company Acad«:l[llic Policy £'or additional studr requirements and supervision.

 Additionally,

· Your chain of command can help ybu.l There are tutuors, Cente:r for Enhanced Performance, Bl Academic staff, and Ats with
  instructors. Seek help, but no one will hold your hand- you must put in effort. I recommend that you immediately seek help from
  the team around you and make academics the singular focus of your existence, at least temporarily until your head is above water.
  This flag is not necessarily as much punitiv6 (to punish you for getting a bad grade) as it is protective (to av1.>id you ruining YQur
  academic ~ding by o:verwhelmin; yourse-lfwitluooial and extracurrjcular activjties). .

 You owe me a plan. of action to,ill):prove this gracfo.




                                                                         OTHER INSTRUCTIONS
        This form \\rill be destroyed upon: reassignment (other.than rehabilitative trans/en;), separation at eTS, or upon retirement. For eep11ra1lon
                               requlram11nts and notification c,f loss of benflfits/oonsequeJ'!ce& see local dire~a and AA 635-200 •
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                                                                   CENTER FOR PERSONAL DEVELOPMENT.
                                                                      UNI.TED STATES MILITARY ACADEMY
                                                                        WEST POINT, NEW YORK 10996

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 ~~F()RMATION TO SE RELEASED (.,no restrictionsH i:. all that is required if you do not wish to describe spe.clfic Information):
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1!    t .?'." .· ~-the right to revoke this authorization at any time.                     My revocation n'u.Jst be .in writing and provided to CPD. I am aware that
 1·     ef revoke this authorization, the person(s) I herein name will have disclosed my protected information on the basis of this '
 k ~oi\ization.                                     ·

·1!liif!~laJihorize- my protected h~altr; information to be di~losed to ~meone who is not required to comply with federal prlliaey ....
f ~t~cJ:iori regulations, then such information may be re-disclosed and would ho longer be protected.
IT;i~~v~    the right to inspect a~d receive a                         ~opy
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-~; r~9uirements of the federal privacy protection regulations found m the Privacy Act an-d 45 CFR §164.524.                 ·

t1   (re~uest and authorize the-named provider(sYorganization to release the information described above to the named
':; ir,dividual(s)/organization indicated.                     ·                                   .                             .                          ·
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 '.: Cad~ Signature:                                                                                   Date {YYYYMMDD)
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                            INSTRUCTIONS
                    CONDUCT INVESTIGATING OFFICER

Investigating Officer ·Checklist


   1. Receive the following material from Regulations and Discipline Officer:

       I   MEMORANDUM, Deficient in Conduc~ w/all endorsements and Ends.

      -:t:_MORANDDUM, Conduct Investigating Office,: APPQintment Orders.

      j_}opies of all pertinent Disciplinary Actions, Letter fc, Reprimand, Evaluations etc.

      _J_AnAny other pertinent documents       ·


   2. Meet with the Cadet to determine the following:

       V:  Whether the cadet will challenge the IO for cause. Notify the Regulations and.
      Discipline Officer immediately of any challenge.

      _ilmalize list ofissues to Discuss with the Cadet    and orwitness(es).
   3. Complete the following:

       hstablish a date, fun~ and place to convene. ·

      _ _Arrange for tape recording of the proceedings with th.e Regulations and Discipline
      ·Officer.

        ~tablish a list ofwinesses to be called (see Fig 3~6).

        ~esolve any objections to material that has been reviewed by the cadel
            (Reconduct after the cadet has reviewed all peformance evaiuations'.)

        /u      necessary, arragne a meeting wi~ the cadet to resolve quesitons co~c~ing .
        availability of witnesses, acceptability of statements in-lieu of appearance before CI,
        objections to material, etc. (See Fig 3-3 for Written Testimony and Fig 3-4 for
      · Telephonic Testimoney).




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                                       INSTRUCTIONS
                                                Continued

    4. Notify the cadet in writing of the following:

     / "Date; time and location the CI will convene; unifonn _to be worn (see Fig 3-5).

·     J~itnesses to be called by the IO (see Fig 3-6).

     /p~ovide the cadet with letter notifying his or her witnesses of the date, time, place, and
    uniform for _the hearing (see Fig 3-2). It is the cadet's responsibility to deliver the letter and
    ensure the presence of the witnesses that he/she requested for the CI. The IO must deliver letters
    addressed to witnesses that he/she fs calling to the CI.

    · /~ceive and act on any requests from the cadet that ma; result in a deiay in convening the
     hearing. Such requests will be made and answered in writing (see ·Fig 3-7). Notify the
     Regulations and Discipline Officer prior to any changes in the schedule.

      /:ensure the presence of witnesses to be called by the IO.

      /coordinate with the ~adet Concerning the order in which 'Witneses will testify.

      ~~eek with the Regulations .ail.d Discipline Officer for   ~ update on the cadet's conduct
    -record.

      ~~pare the meeting place

     L a n ~ that all documentary evidence to      be considered is abailable and that the cadet has
     reviewed it.

       ~~sure that the cadet and any witnesses are excused from the roo~ during all cl~sed
     sessions (deliberations).                            .         .
            .                   .


      /Announce the recommendation.that will be made to the-chain of command regarding the
     Cadet's status and disposition.

    .·~epare a Transmittal of Conduct Investigation Pro.ceedings (see Fig 3-8), original and two
      copies, with enclosures.




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                                  INSTRUCTIONS
                                             Continued

4. Notify the cadet in writing of the following (continued):

  /~ave the cadet report to the Regulations and Discipline Officer to receive his/her copy of
the transmittal letter with enclosures. Do not send this material through distribution.

 /~fonn the cadet to submit, in writing, to the Commandant, any rebuttal to perfonnance
evaluations submitted in conjuction with th.e CI to the Regulations and Discipline Officer. The
Regulations and Discipline Officer will attach any rebuttal to the CI and evaluations going to the
Commandant for decision/recommendation.

 \/"".Return all CI documents and materials to the Regulations and Discipline Office when

complete.                          \       -----1t--tt------·



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                                   OFFICE OF THE COMMANDANT
                            UNITED STATES MILITARY ACADEMY
                                 WEST POINT, NEW YORK 10!>96-1602



MACC-S                                                                        19 February2013


MEMORANDUM FOR SEE DISTRIBUTION

SUBJECT: Conduct Investigation Officer Appointment


1. In accordance with paragraph 114f, Chapter 1, USCC Regulation 351-1, dated 15 May 2001,
the following officer is appointed to serve as the Investigating Officer (IO) for a Conduct
Investigation (CI).

                      MAJ Timothy R Carignan
                      Agency: DPE
                      Phone: x5634

2. The purpose of the CI is to make findings concerning the reported conduct deficiency of
Cadet Isaill M. Doolen, Company B, First Regiment, Class of 2013.




DISTRIBUTION:
Regs & Discipline Officer
CDT Doolen
MAJ Carignan




                                                                                             000819
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                                   DEPARTMENT OF THE ARMY
                         UNITED STATES MILITARY ACADEMY
                                      West Point, New York 10996
         REPLY TO
         ATTENTION OF



MACC-0-RD                                                                            21 February 2013



MEMORANDUM FOR

Regimental Tactical Officer, First Regiment, USCC
Tactical Officer, Company B-1, USCC

FOR Cadet Isiah M. Doolen, Company B, First Regiment, USCC, West Point, New York 10996

SUBJECT: Notification of Deficient in Conduct Status


1. As a result of exceeding six month demerit allowance,the Brigade Tactical Officer has detennined
that you are Deficient in Conduct. Furthermore, the Commandant has referred you to a Conduct ·
Investigation. This·action is being taken in accordance with USCC Regulation 351-2, The Cadet
Disciplinary System, dated 15 May 2001, and the status is effective immediately.

2. A copy of all relevant disciplinary actions is enclosed. A copy of this endorsement will be provided
to your·Regimental and Company Tactical Officer. Please inspect these enclosures with your Company
Tactical Officer for concerns pertaining to your Conduct Deficiency.

3. POC is the undersigned at x4702.

FOR THE COMMANDANT:




                                                                                            000820
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                                DEPARTMENT OF THE ARMY
                          UNITED STATES MILITARY ACADEMY
                                      West Point, NewYork 10996

           Rl:PLYTO
           ATTENTION OF




. MACC-0-RD                                                                         21 February2013


 MEMORANDUM THRU

 Tactical Officer, Company B-1, USCC
 Regimental Tactical Officer;First Regiment, USCC

 FOR Regulations and Discipline Officer, USCC

 SUBJECT: Notification of Deficient in Conduct Status


 I have been informed of my Deficient in Conduct Status on this date and I have been provided
 a copy of this memorandum with enclosures.




                                                 _Q     .r-,. Q___
 .Encl.                                          ~M.Doolen
                                                  Respondent ·
                                                  Company B-1, Class of20I3
                                                  United States Corps of Cadets




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                                       DEPARTMENT OF THE ARMY
                            UNITED STATES MILITARY ACADEMY
                                          West Point, New York 10996
          REPLY TO
          ATTENTION OF



.MACC-0-RD                                                                               21 February 2013


MEMORANDUM FOR Cadet Isiah Doolen, Company B-1, Class of 2013, USCC

SUBJECT: Referral to a Conduct Investigation


I. You are hereby notified that you are being referred to a conduct investigation (Cl) which will make
findings concerning your reported conduct deficiency for Exceeding six month demerit allowance.

2. You have the right to request that the CI convene, or to waive appearance before the CI. If you waive
appearance, the Commandant of Cadets will maintain your deficient in conduct status and take action or
make appropriate recommendations with regard to your retention or separation. If you elect to appear
before the CI, you have the following rights:

   a. To receive written notice of the reported conduct deficiency and a list of all offenses and awards of
demerits that resulted in the deficiency being reported. Your regiment should already have accomplished
this; notify this office if you do not have these documents and $ey will be provided.

  b. To have a reasonable period of time to prepare a defense; that is, about five working days during the
academic year and about three working days during periods when there are no academic attendance
required. As there are no other major actions concerning you at this time, the CI will convene on or
about 21 February 2013.                                                ·

   c. To seek advice and assistance oflegal counsel in the preparation of your case. Counsel may be
civilian legal counsel at no expense to the government, or a militarylawyer assigned to the Defense
Section of the Office of the Staff Judge Advocate, USMA, or both. Legal counsel will not be present
during the CI hearing.                                                   ·

  d. To be present during the hearing, except during deliberations.

  e. To testify or remain silent. Remaining silent does not preclude introducing evidence, questioning or
cross-examining witnesses, but does preclude your having to answer questions.

  f. To challenge the investigating officer (IO) for cause. The IO will rule on challenges.

  g. To examine all records and documents to be considered by the CI, including the TAC File.

  h. To object to evidence. Subject only to certain limitations which you should discuss with legal
counsel, anything which in the minds of reasonable persons is relevant and material to an issue may be
accepted as evidence. These proceedings are administrative in nature and therefore the CI is not bound by
the rules of evidence prescribed for trials by court martial. The IO will make determinations concerning
evidence.·                                                                               ·




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            Case 7:16-cv-08606-VB Document 47-5 Filed 01/26/18 Page 105 of 109



     MACC-0-RD (351-17e)
     SUBJECT: Ref~ to a Conduct Investigation

       i. To raise any issues related to your conduct histoiy. You may not challenge any punishments under
     Article 10 because you have had the opportunity for a hearing on each individual disciplinary case.

       j. To call reasonably available witnesses to support the challenges or issues related to your conduct
     history.                              ·

       k. To question and cross-examine witnesses.

        l. To present relevant written evidence in support of challenges or issues related to your conduct
     history.

       m. To present your own oral and/or written argument in support of challenges of any boards and case
     for retention.

       n. To receive a complete copy of the CI report of proceedings, with the letter of transmittal and all
     enclosures.

       o. To be notified of witnesses who will be called by the CI.

     3. Your witnesses may include cadets, officers, or other reasonably available persons with knowledge of
     the demerits you intend to challenge. Government funds are not authorized for the appearance of civilian
     witnesses. The CI IO will assist you in notifying your witnesses to be present; however, it is your .
     responsibility to ensure that they are present. The IO will provide you with additional assistance if you
     request it in this regard.

     4. Witnesses will not be called either by you or by the CI with regard to whether you should be retained
     or separated, nor will witness statements be introduced. This issue will be resolved by the Commandant
     on the basis of your overall cadet record and on the basis of wri.tten evaluations obtained by you and by
     the CI. See Chapter 5, USCC Regulation351-1 dated 15 May 2001, for information concerning these
     evaluations.

     5. YOU may waive any, all, Or none of the above rights.

     6. If you intend to raise issues or challenges related to your conduct histoiy, indicate so on the attached
     endorsement form which has been prepared.for you. Also indicate that you do or do not waive
     appearance before the CI; that you will or will not seek legal counsel; and the names of any witnesses you
     desire to appear in support of challenges of demerits. Re             ne copy of the endorsement form to the
     Regulations and Discipline Officer not later than                            . Retain the other copy of this
     letter and the endorsement for your records.                 •. 4'.,f t° {~

     7. If you desire legal counsel, caJl extension 4541, Office of Defense Counsel, Office of the Staff Judge
     Advocate, USMA, to make an appointment.

     FOR THE COMMANDANT:


     Encl
     Endorsement




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                                   DEPARTMENT OF THE ARMY
                             UNITED STATES MILITARY ACADEMY
             REPLY TO               WEST POINT, NEW YORK 10996
             ATIElfflON Of




MACC-0-RD


.MEMORANDUM FOR Commandant of Cadets, ATTN: Regulations and Discipline Officer, USCC ·

SUBJECT: Referral to a Conduct Investigation


1. I acknowledge receipt of the basic letter. I understand         my rights as explained in the basic letter and
have made the following decisions:

  a.   { d o n ~ (waive) appear~ce before a conduct investigation.

  b. . (will) (will not) request legal counsel to assist in the preparation of my case.

   c. (intend to raise the following issue/challenges related to my conduct hist~r.yj (I will not raise any
issues a out my conduct history :


DATE OF OFFENSE                              DESCRIPTION OF OFFENSE                                    DEMERITS
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                            PRIVACY ACT STATEMENT

AUTHORITY: IO USC section 3013 and Regulations, USMA

PURPOSE: The requested information will be used in evaluating your challenge to the
disciplinary awards in question, and will form a basis for recommendations concerning disposition
of this matter.

ROUTINE USES: Used by the Investigating Officer, appointing authority, and reviewing
authorities in determining the facts in this matter, and in determining the facts in this.matter, and in
determining the appropriate action to be taken based on those facts. This information may be
disclosed to members of the Department of Defense who need access to the information as part of
their official duties. This information may be incorporated into your official personnel files, and ·
may constitute th(i basis for adverse administrative or punitive action.

Disclosure is voluntary; failure to provide the requested informatfon will result in decisions being
made in this matter without the benefit of this information.

I hereby acknowledge being informed of the foregoing information concerning the Privacy Act.




                                                       (Signature)
                                                      ·Isiah M. Doolen
                                                       Respondent




                                                       ----
                                                       Company B-1, Class of 2013
                                                       United States Corps of Cadets


                                                       (Date)




                                                                                                   000826
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MACC-0-RD                                                                                    13 February 2013


MEMORANDUM FOR Brigade Tactical Officer

SUBJECT: Conduct Review Options for CadetisaihM. Doolen, B-1, Class of2013 (Exceeding six month demerit
allowance).             ·


1. IAW USCC USCC Regulation 351-2, Chapter 5, Conduct $taros and Investigation, you have the following
options regarding conduct reviews that are required under conditions set forth in paragraphs 502-505.

        _ _A. You may approve a CoC recommendation of; or personally determine, Proficient.

        _ _B. You may approve a CoC recommendation of, or personally determine, Deficient
              in Conduct, and direct formal remediation by the CoC. (Please write in any special
              terms for the remediation in the "comments" section below.)

        _ _C. You may approve a CoC recommendation of, or personally determine, Deficient in
              Conduct and forward recommendation to the Commandant for Conduct Probation in Lieu of a
                 Conduct Investigation.

       ~ . You may approve a CoC recommendation of, or personally determine, Deficient in
            Conduct and Refer to Conduct Investigation. If you feel efforts at remediation are not
                                                       a
           considered appropriate, you may forward recommendation to the Commandant to convene a
           Conduct Investigation to review the deijcient c.onduct and recommend disposition to the CoC.


2. Comments/Special terms for Remediation:




                                                  KATRINA N. STAMP
                                                  Regulations·& Discipline Assistant, USCC


Encl
Conduct Review Packet




                                                                                                         000827
